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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

-------------------------------------------------------------------- x
PEGGY ROIF ROTSTAIN, et al., on behalf of                            :
themselves and all others similarly situated,                        :
                                                                     :
                                                                     :
                                    Plaintiffs,                      :
                                                                     :
and                                                                  : Case No. 3:09-CV-02384-N
                                                                     :
THE OFFICIAL STANFORD INVESTORS                                      :
COMMITTEE,                                                           : (Oral Argument Requested)
                                                                     :
                                                                     :
                                    Plaintiff-Intervenor,            :
                                                                     :
                            -against-                                :
                                                                     :
TRUSTMARK NATIONAL BANK, HSBC BANK                                   :
PLC, THE TORONTO-DOMINION BANK,                                      :
                                                                     :
INDEPENDENT BANK F/K/A BANK OF                                       :
HOUSTON, SG PRIVATE BANKING (SUISSE)                                 :
S.A., and BLAISE FRIEDLI,                                            :
                                                                     :
                                    Defendants.                      :
-------------------------------------------------------------------- x

         DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
        CERTIFICATION, FOR DESIGNATION OF CLASS REPRESENTATIVES
                           AND CLASS COUNSEL




                     CONTAINS CONFIDENTIAL MATERIAL PROTECTED
                         BY AGREED CONFIDENTIALITY ORDER
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         Defendants The Toronto-Dominion Bank (“TD Bank”), Trustmark National Bank

 (“Trustmark”), HSBC Bank plc (“HSBC”), Independent Bank, successor by merger to Bank of

 Houston (“IB”), Société Générale Private Banking (Suisse) S.A. (“SG Suisse”) (collectively, the

 “Banks”), and Blaise Friedli (together with the Banks, the “Defendants”) respectfully submit this

 opposition to Plaintiffs’ Motion for Class Certification, for Designation of Class Representatives

 and Class Counsel (the “Motion”).1

                                       PRELIMINARY STATEMENT

         This Motion presents the Court with an unusual situation: the investor-Plaintiffs ask the

 Court to certify this case as a class action, yet the same Plaintiffs previously argued that a suit by

 the Receiver is better than a class action and that a class action is plagued by various drawbacks,

 uncertainties and costs. In Adams & Reese and BDO, Plaintiffs argued that class certification

 would be “duplicative” of the Receiver action; certification would cause “uncertainty and delay”;

 and it would be “far more efficient and save substantial costs” not to pursue class claims.2 This

 Court has also questioned whether “the individual class actions [are] duplicative of efforts by the

 Receiver or the Investors Committee to seek recovery.”3 While Defendants have significant issues

 with the Receiver-assigned claims asserted by The Official Stanford Investors Committee

 (“OSIC”) in this case,4 Defendants agree that the Court should not certify a class.

         On top of Plaintiffs’ statements regarding the inferiority of a class action, Plaintiffs cannot

 meet their required showings under Rule 23. Plaintiffs indisputably bear the burden of proving

 1
          HSBC, SG Suisse and Blaise Friedli submit this opposition subject to, and without waiving, the defense that
 they are not subject to personal jurisdiction in Texas.
 2
          Motion For Order Approving Proposed Settlement with Adams & Reese LLP, BSW, Cordell Haymon and
 Lynette Frazer (“Adams & Reese Settlement Mot.”) ¶ 21 (emphasis added), SEC v. Stanford Int’l Bank, Ltd., No.
 3:09-cv-00298 (N.D. Tex.), Dkt. No. 2134; Expedited Request for Entry of Scheduling Order and Motion To Approve
 Proposed Settlement with BDO USA, LLP, To Approve the Proposed Notice of Settlement with BDO USA, LLP
 (“BDO Settlement Mot.”) ¶¶ 38-39 (emphasis added), OSIC v. BDO USA, LLP, et al., No. 3:12-cv-01447-N-BG (N.D.
 Tex.), Dkt. No. 52.
 3
          Appendix in Support of Defendants’ Opposition to Plaintiffs’ Motion for Class Certification, For Designation
 of Class Representatives and Class Counsel (“App.”) at 1272 [Excerpt of Aug. 21, 2014 Status Hr’g Tr. at 4:6-8].
 4
          Defendants do not waive, and expressly preserve, their arguments that OSIC lacks standing to assert tort
 claims on behalf of individual investors in this Action. See Dkt. Nos. 154, 157, 159, 162, 172, 174, 176, 177.
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 that certification of a global class of investors from more than 100 different countries spanning

 every continent (including Antarctica) is appropriate. Plaintiffs come nowhere close to carrying

 that burden. Defendants submit expert reports from thirteen renowned scholars, practitioners,

 arbitrators, and foreign judges affirming that key Latin American, European and common law

 countries would not recognize, enforce or give preclusive effect to a judgment in this Action

 against absent class members. Plaintiffs do not even contest Defendants’ proof with respect to

 five of these countries. For others, Plaintiffs have designated experts who address the wrong

 question—namely, whether these foreign jurisdictions would enforce a judgment against

 Defendants, not the absent class members. Plaintiffs’ experts fail to examine whether, if

 Defendants win in this Action, class members unhappy with that outcome could simply bring new

 claims in their home jurisdictions. Conversely, Plaintiffs’ experts do not address whether, if the

 class prevails or settles, dissatisfied class members could sue elsewhere for more. The Court

 should not certify a global class because this Court’s adjudication of claims will not preclude class

 members from relitigating the same issues in another forum and Defendants would face the

 potential for duplicative litigation around the world.5

         The Court should also refuse to certify a nationwide class given the material differences

 among the applicable state laws. Tellingly, only Defendants present a fifty-state comparative

 analysis, which demonstrates that substantial differences among the state laws applicable to

 various members of the class hopelessly compound the disparities among class members’ claims.

 Even for a class limited to U.S. investors, this Court would potentially have to instruct a jury on

 four different countries’ banking laws as applied to common law claims under the unique



 5
          For example, TD Bank is already the subject of duplicative litigation brought by the Antiguan Joint
 Liquidators in Canada seeking even greater damages for losses related to the same conduct alleged by Plaintiffs here.
 See Fresh as Amended Statement of Claim, Joint Liquidators of SIBL. v. TD Bank, No. CV-12-9780-00CL, May 16,
 2014 (Can. Ont. Sup. Ct. J.), attached as Exhibit 5 to the Appendix in Support of TD Bank’s Supplemental Opposition
 Brief To Plaintiffs’ Motion.
                                                          2
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 substantive laws of fifty states.6 The jury instructions could involve hundreds of issues and

 sub-issues. The Fifth Circuit presumes that the impact of material variances in state law will

 create “insuperable obstacles” weighing against class certification. Cole v. Gen. Motors Corp.,

 484 F.3d 717, 724 (5th Cir. 2007). It was Plaintiffs’ burden to address this conflict of laws issue,

 but they made no attempt to do so.

          A host of individualized fact issues further defeats predominance, making certification of

 any class improper. Plaintiffs fail to make their required showing that common evidence can

 support the putative class’ claims and that individualized questions of reliance, causation, and

 damages will not overwhelm common questions. Unlike traditional 10b-5 class actions, this case

 does not involve public statements that affected an efficient market. Instead, each class member’s

 purchase of and loss from Stanford certificates of deposit (“CDs”) is unique. Differences among

 the proposed class representatives illustrate the infinite variety of broker relationships, personal

 relationships, oral sales pitches, printed sales materials, outside research (or lack thereof), and

 other information provided to or relied on by each individual purchaser of the CDs issued by

 Stanford International Bank Limited (“SIBL”). Each class member’s decision to purchase a CD

 from a CD seller—some of whom were Stanford employees and others of whom were not—was

 as varied as the two people involved. In addition, Plaintiffs’ damages theory has shifted twice

 already and is presented now merely as a prospective plan without any discernible methodology

 for how to quantify the injury supposedly caused by Defendants’ conduct on a class-wide basis.

 The predominance of so many individualized inquiries into each of the idiosyncratic claims

 alleged by the disparate class of worldwide plaintiffs renders certification wholly inappropriate.

          Finally, this matter is unsuitable for class certification because Plaintiffs have failed to

 prove that each of the basic Rule 23(a) requirements has been met. Specifically, the different and

 6
         For a global class, the Court would have to identify and provide legal instructions on the laws of over a
 hundred foreign jurisdictions.
                                                            3
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 unique circumstances underlying each individual class member’s claims, as well as the lack of

 common allegations regarding Defendants’ banking activities, demonstrate that there is no

 common contention that will drive the resolution of the case, nor does any class representative’s

 claim qualify as typical of the claims held by the thousands of absent putative class members.

 Moreover, there are serious questions about the credibility and adequacy of each of the six

 proposed class representatives, who have submitted erroneous declarations, given inaccurate

 testimony, and exhibited conflicts with the class. Plaintiffs’ over-reaching attempt to throw a

 world-wide net over 17,000 global investors and call them an undifferentiated “class” recalls the

 Supreme Court’s admonishment that class actions are an “exception to the usual rule” that

 litigation involves an individual assertion of unique claims. Comcast Corp. v. Behrend, 133 S. Ct.

 1426, 1432 (2013). For the reasons set forth below and in the accompanying papers, the Court

 should deny Plaintiffs’ Motion.

                                         FACTUAL BACKGROUND

 A.      Plaintiff’s and OSIC’s Claims in This Action

         In this case, six named investor-Plaintiffs attempt to assert common law and statutory

 claims against five Banks and one retired bank executive.7 OSIC moved to intervene—with

 Plaintiffs’ support—to prosecute various claims against Defendants.8 In support of OSIC’s

 request, Plaintiffs stated:

         Plaintiffs and [OSIC] share identical fraudulent transfer claims against Defendants;
         and any recovery of fraudulent transfers from Defendants will be distributed to
         Plaintiffs from the Receivership Estate pursuant to the Receiver’s distribution
         protocol regardless of which party is first to prevail.9

 Plaintiffs emphasized that the “identity of interest between the investor-Plaintiffs and [OSIC]



 7
         See Pls.’ Second Am. Class Action Compl. (“SAC”), Dkt. No. 279, ¶¶ 12-24, 432-48.
 8
         See Mot. of OSIC to Intervene, Dkt. No. 96; Plaintiffs’ Mot. Under Rule 20(A) to Join OSIC as a Plaintiff,
 Dkt. No. 112; Order, Dkt. No 129.
 9
         Reply in Further Support of Pls.’ Mot. to Join OSIC as a Pl. Under Rule 20(A), Dkt. No. 118, at 1-2.
                                                          4
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 could not be more complete.”10

         In its intervenor complaints, which were filed in late 2012 and early 2013, OSIC asserts

 claims against Defendants for fraudulent transfers under the Texas Uniform Fraudulent Transfer

 Act (“TUFTA”), aiding and abetting fraudulent transfers, aiding and abetting fraud, aiding and

 abetting conversion, and civil conspiracy.11 After OSIC’s intervention, Plaintiffs amended their

 petition to incorporate by reference OSIC’s allegations.12 On June 23, 2015, Plaintiffs filed their

 operative Second Amended Class Action Complaint (the “SAC”), asserting claims against

 Defendants for aiding and abetting common law fraud; aiding and abetting violations of the Texas

 Securities Act (“TSA”); aiding and abetting breach of fiduciary duty; aiding and abetting

 conversion; and civil conspiracy.13 Plaintiffs’ filing of the SAC, over five years after this case was

 commenced, marked the first time that Plaintiffs asserted claims for aiding and abetting breach of

 fiduciary duty and aiding and abetting TSA violations against Defendants TD Bank, Trustmark,

 HSBC, and IB.14 Defendants have moved to dismiss the SAC.15

         The overlapping claims asserted by Plaintiffs and OSIC in this Action rest upon the theory

 that at some undefined point Defendants should have heeded various warnings and severed their

 relationships with Stanford.16

 B.      Defendants’ Alleged Roles in Stanford’s Business Were Varied and Limited

         According to Plaintiffs’ allegations, the Banks in this case provided different banking

 services in different countries to different entities in the Stanford organization.17 Plaintiffs allege

 10
         Id. at 5.
 11
         Intervenor Compl., Dkt. No. 130, ¶¶ 92-117; Intervenor Compl., Dkt. No. 133, ¶¶ 75-99.
 12
         See Pls.’ Mot. for Leave to Amend the Compl., Dkt. No. 131; Class Pls.’ Mot. for Leave to Amend, Dkt. No.
 182.
 13
          See SAC ¶¶ 432-48.
 14
          See Pls.’ First Am. Pet., Dkt. No. 1-5, ¶¶ 80-148; Intervenor Compl., Dkt. No. 130, ¶¶ 92-117.
 15
          See Dkt. Nos. 293, 295, 296, 297, 298, 299.
 16
          See SAC ¶¶ 4, 10; Intervenor Compl., Dkt. No. 133, ¶¶ 4, 8, 46-47, 53-54, 65-69; App. 2595 [Pls.’ Interrog.
 Resp. at Pls.’ Answers to Interrog. No. 3].
 17
          See SAC ¶ 222.
                                                           5
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 that some Banks performed banking services that allowed SIBL to take in foreign currency; some

 provided depository services that moved funds among various entities owned or controlled by

 Stanford (the “Stanford Entities”); some provided investment services to Stanford Entities; and

 some provided a combination of the above.18 TD Bank allegedly processed wires in U.S. and

 Canadian dollars related to investor deposits and interest payments and also managed certain

 investment portfolios.19 HSBC allegedly processed wires in Euros and Pounds Sterling related to

 investors’ transactions.20 Trustmark allegedly processed checks that SIBL received from investors

 and otherwise facilitated the transfer of funds among the Stanford Entities.21 IB allegedly

 provided investment and depository services regarding the CD sales and made transfers to various

 Stanford Entities.22 Finally, SG Suisse allegedly oversaw investment accounts for Stanford

 Entities and Stanford personally, and Mr. Friedli allegedly acted as a senior banker on the Stanford

 accounts for SG Suisse.23

 C.      Plaintiffs Ask to Certify A Global Class of Over 17,000 Investors in SIBL CDs

         In this Motion, Plaintiffs ask the Court to certify a class consisting of:

         All persons who invested in SIBL CD(s) from August 23, 2004–February 16, 2009,
         inclusive, and whose claims for losses related to SIBL CDs are recognized,
         authorized, and calculated by the United States Receiver for the Stanford Entities,
         Ralph S. Janvey.24

 Plaintiffs have not identified the citizenship or the residency of the proposed class members (other

 than the six named Plaintiffs25) and simply state that the proposed class is comprised of “more


 18
          See id. ¶¶ 100-01, 238, 314, 388.
 19
          See id. ¶¶ 314, 323, 349.
 20
          See id. ¶¶ 388, 225.
 21
          See id. ¶¶ 168, 238, 261-67, 349.
 22
          See id. ¶¶ 101, 360, 373-75.
 23
          See id. ¶¶ 277, 279. SG Suisse is not alleged to have had any contact with CD investors.
 24
          Memorandum Supporting Plaintiffs’ Motion (“Pls.’ Br.”) at 17; see also SAC ¶ 420. References in this
 opposition to “Pls.’ App.” are to the Appendix to Plaintiffs’ Motion.
 25
          See SAC ¶¶ 12-17. By Order dated May 4, 2015, the Court permitted Plaintiffs Sarah Elson-Rogers, Salim
 Estefenn Uribe, Ruth Alfille de Penhos, and Gabriel Suarez to replace four previously-named Plaintiffs. See Dkt. No.
 237. The Court further permitted Plaintiffs to substitute Diana Suarez as a class representative in place of her son,
                                                           6
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 than 17,000 SIBL investors from around the world.”26 Through discovery, Defendants have

 learned that the putative class includes investors from 106 countries spread across all seven

 continents (including a claimant from Bouvet Island, which is a reportedly uninhabited island in

 Antarctica) and 47 states in the U.S.27 Appendices A through D to this brief contain charts

 demonstrating the geographic dispersion of the SIBL investors and the relative size of their claims.

 Plaintiffs have not even tried to demonstrate that these individuals fall within the Court’s

 jurisdiction or what their local laws state with respect to their claims.

 D.       Putative Class Members Received and Relied on Varying and Individualized
          Information From Disparately-Situated Financial Advisors

          There is incredible diversity among the Stanford financial advisors, the information that

 they provided to putative class members, and the circumstances in which putative class members

 received such information and decided to make their investments. Some financial advisors were

 based in the United States, but many were based in Latin America, Europe and elsewhere.28 Some

 had been with Stanford for years, had high-level executive positions and were experienced with

 Stanford’s business practices,29 while others had just started at Stanford when they recommended

 the SIBL CDs.30 Others were not Stanford employees at all, but independent financial advisors.31


 Gabriel Suarez, in June 2015. See Dkt. Nos. 238, 278, 279. Plaintiffs’ withdrawal of class representatives after five
 years of litigation and insertion of newly-located individuals raises questions about the legitimacy of the original
 representatives and the motivations of the new designees.
 26
           Pls.’ Br. at 7. See also id. at 10.
 27
           See App. 649 [ABBOTT_000006]. Defendants’ country data comes from information provided by the Joint
 Liquidators and produced by investor-Plaintiffs in another Stanford MDL proceeding, Troice v. Proskauer Rose LLP,
 et al. App. 651 [“Stanford International Bank Limited – in Liquidation: Summary of Claims by Country and Status”].
 The data provides information about the investors’ citizenship for the total population of claimants, but the Receiver’s
 representative testified the country breakdown is a good proxy for allowed claimants. See App. 2928-32 [Russell
 Dep. Tr. at 125:17-129:21]. The Receiver apparently has gathered information about the residence of allowed
 claimants, but contends that it is incomplete and has not produced it. App. 2921-25, 2933-34, 2935, 2939-40 [Russell
 Dep. Tr. at 115:19-119:14, 130:16-131:19,136:13-17, 140:22-141:5. Defendants’ analysis thus focuses on the
 available data from the Joint Liquidators.
 28
           See, e.g., Pls.’ Br. at 9.
 29
           See App. 1528-29, 1530, 1534, 1538-39 [Penhos Dep. Tr. at 27:17-28:13, 36:4-19, 54:14-20, 60:17-61:4]
 (testifying that she was provided oral, written, and video representations regarding Stanford from senior, president-
 level executives).
 30
           See App. 1672-75 [Estefenn July 2, 2015 Dep. Tr. at 37:22-40:6] (testifying that he purchased Stanford CDs
 primarily on the oral recommendation of a financial advisor who had just started working at Stanford).
                                                            7
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 Putative class members’ relationships with their financial advisors and with Stanford employees

 were unique and varied widely.32

          Plaintiffs have offered no evidence that financial advisors followed the same model or

 script in selling SIBL CDs. Nor can they, as the circumstances under which putative class

 members received information concerning SIBL CDs were wide-ranging. The class

 representatives dramatically illustrate these differences:

          •   Mr. Abbott is a Mississippi-based attorney and former law professor who started
              purchasing SIBL CDs in 2006 when his financial advisor, John Mark Holliday, who
              had advised Mr. Abbott since 1999, joined the Stanford Group.33 Mr. Abbott
                           REDACTED
              purchased      SIBL CDs worth REDACTEDbetween                   REDACTED                  ,
              and stated that he relied “blindly” on the oral representations of his financial advisor,
              conveyed during in-person meetings in Oxford, Mississippi, when he initially decided
              to invest REDACTEDin his first CD with Stanford.34

          •
                                                                                             REDACTED
              Ms. Suarez is a former chocolatier from Venezuela who made all         of her SIBL CD
              purchases with her financial advisor between             REDACTED               ,
                                  REDACTED 35
              initially investing         . She met with her financial advisor at a Stanford office in
              Miami, Florida.36 Ms. Suarez purchased these CDs in Miami out of a fear that, because
              of Hugo Chavez’s election, it was unstable to keep her money in Venezuela.37 She
              never received any written Stanford materials prior to purchasing SIBL CDs and only
              considered her financial advisor’s oral representations when deciding to invest.38

          •
                                                                                  REDACTED                      REDACTED
              Ms. Elson-Rogers is a global consultant who purchased       SIBL CDs between
                   REDACTED           while living in Greece and North Carolina.39 Among other
              reasons for making her initial investments, Ms. Elson-Rogers believed she was holding

 31
           See App. 1467 [Elson-Rogers Dep. Tr. at 38:16-24] (testifying that she was given information and materials
 about Stanford CD purchases by an independent, non-Stanford financial advisor).
 32
           See, e.g., App. 1548 [Penhos Dep. Tr. at 88:22-23] (testifying she loved her financial advisor, David Nanes,
 “like a son”); App. 1620-22, 1623 [Suarez July 1, 2015 Dep. Tr. at 78:22-80:18, 82:3-20] (testifying that she invested
 in a SIBL CD in reliance on Maria Villanueva, her financial advisor, whom she “trusted completely” and “relied on
 exclusively”).
 33
           See App. 1404-05, 1413 [Abbott Dep. Tr. at 25:24-26:11, 42:9-20].
 34
           See App. 1406-11, 1414-16, 1449 [Abbott Dep. Tr. 30:14-31:24, 32:8-33:14, 34:14-35:20, 44:2-46:18;
 241:11-13].
 35
           See App. 1620-21, 1625, 1628, 1630-31 [Suarez July 1, 2015 Dep. Tr. at 78:22:-79.21, 89:10-15, 114:12-18,
 119:25-120:13,
 236:12-19].
 36
           See App. 1621 [Suarez July 1, 2015 Dep. Tr. 79:6-21].
 37
           See App. 1625-26 [Suarez July 1, 2015 Dep. Tr. 89:16-90:11].
 38
           See App. 1623 [Suarez July 1, 2015 Dep. Tr. 82:3-20].
 39
           See App. 1479-80 [Elson-Rogers Dep. Tr. at 68:8-23, 69:20-23]; App. 1016 [Dep. Ex. 67]; App. 2603 [Pls.’
 Interrog. Resp. at Elson-Rogers’ Answers to Interrog. No. 1].
                                                           8
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             too much money in Greece and wanted to invest somewhere safer.40 She was mailed a
             brochure by her independent financial advisor, but based her investment decision on
             the oral representations of two financial advisors, conveyed initially during a meeting
             at her home in Greece in April 2005, and subsequent assurances made by her financial
             advisors over email, as well as the written materials.41 She initially invested in a CD
             worth REDACTEDand in total invested about REDACTEDwith Stanford.42

         •   Ms. Penhos is a former clothing factory employee from Mexico who first learned about
             Stanford in 1993 or 199443 and ultimately invested REDACTEDin SIBL CDs. 44 Ms.
             Penhos and her family received a video and insurance papers at an initial meeting with
             her financial advisor, David Nanes, at her home in Mexico.45 She relied on a
             combination of these materials and the oral representations of Mr. Nanes, a high-
             ranking Stanford executive who had been with the company since the 1990s.46

         •   Mr. Queyrouze is a former owner of Ruth’s Chris Steak House franchises who
                             CDs worth REDACTEDfrom his Louisiana-based financial advisor.47 Mr.
                          REDACTED
             purchased
             Queyrouze made these purchases in REDACTED, based exclusively on the oral
             representations of his financial advisor during in-person meetings—either over lunch
             or at his financial advisor’s office—in New Orleans.48

         •   Mr. Estefenn is a former employee at a publishing company started by his father in
             Colombia. Mr. Estefenn testified that he purchased SIBL CDs on behalf of two
             separate trusts and, accordingly, did not submit personal claims to the Receiver.49 Mr.
             Estefenn purchased SIBL CDs for the trusts starting in 2002 solely as a result of his
             father’s recommendations and the oral advice of his father’s long-time financial
             advisor, who had started working at Stanford in 1999.50 Mr. Estefenn visited this
             advisor numerous times in Miami with his father, as well as in connection with his
             trusts’ SIBL CD purchases, which totaled over REDACTED.51

         The variation among the six named Plaintiffs is further demonstrated by the differences in

 their Stanford-related claims. For example, the chart attached as Appendix G to this brief shows

 40
         See App. 1477-78 [Elson-Rogers Dep. Tr. at 62:5-63:1].
 41
         See App. 1467- [Elson-Rogers Dep. Tr. 38:16-20, 39:6-40:21, 45:6-48:1, 122:11-123:4]; App. 654 [Dep. Ex.
 64]; App. 713 [Dep. Ex. 66].
 42
         See App. 1512-13, 1515 [Elson-Rogers Dep. Tr. at 199:12-16, 224:5-9, 240:11-20].
 43
         See App. 1530-31 [Penhos Dep. Tr. at 36:20-37:12].
 44
         See App. 1578-87 [Penhos Dep. Tr. at 201:2-210:19]; App. 976 [Dep. Ex. 91]; App. 669
 [PENHOS_000282].
 45
         See App. 1530-31, 1538, 1540 [Penhos Dep. Tr. at 36:4-37:8; 60:17-21, 62:1-3].
 46
         See App. 1530-31, 1534, 1536-379, 1544-45, 1549 [Penhos Dep. Tr. at 36:4-37:3, 54:14-20, 56:16-57:1,
 60:17-61:1, 79:12-80:5, 99:10-17].
 47
         See App. 1339-42, 1354-54, 1357-58 [Queyrouze Dep. Tr. at 12:4-13:22, 17:20-18:21, 54:1-15, 55:7-24,
 62:12-18, 64:5-11].
 48
         See App. 1341, 1355, 1367 [Queyrouze Dep. Tr. at 17:20-21:1, 56:19-24, 157:1-158:6].
 49
         See App. 1673, 1745-46 [Estefenn July 2, 2015 Dep. Tr. at 38:20-24, 286:3-287:22].
 50
         See App. 1692-95 [Estefenn July 2, 2015 Dep. Tr. at 117:2-6, 118:9-119:25, 120:10-15].
 51
         See App. 1688-91, 1725 [Estefenn July 2, 2015 Dep. Tr. at 112:5-115:13, 224:7-15].
                                                        9
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 the amounts claimed and “allowed” by both the Receiver and the Joint Liquidators. As the Court

 will see, the amounts recognized across the two different claims processes differ significantly,

 sometimes higher in the U.S., sometimes higher in Antigua. In all cases, the allowed amount was

 less than the amounts claimed by the named representatives, raising questions about the validity of
                                     REDACTED
 their applications. And at least               of the six named representatives have been asked to repay

 funds to the Joint Liquidators because of preferential payments, but have refused to do so.52 Since

 the Joint Liquidators are seeking the return of approximately $600 million paid to investors in the

 last six months that SIBL operated,53 this creates a clear conflict between those who have received

 such demands and those who have not. As an example, Mr. Abbott redeemed a REDACTEDCD in

                       REDACTED                                 and testified that, unless ordered by a court,

 he would not repay that amount despite the Joint Liquidators’ demand that he do so.54 Mr.

 Estefenn similarly withdrew over REDACTEDfrom his Stanford account in                     REDACTED

      , and his mother received a letter regarding preference payments for one of his trusts;

 however, Mr. Estefenn testified that he has not repaid any funds to the Joint Liquidators, nor does

 he intend to do so.55 Ms. Penhos received over REDACTED in preference payments during the final

 months of Stanford’s operations, which she has refused to repay despite the Joint Liquidators’

 demand. 56 Ms. Suarez received a demand to repay over REDACTEDin preference payments received




 52
          See App. 1643-44 [Suarez July 1, 2015 Dep. Tr. at 165:17-166:20]; App. 1156 [Dep. Ex. 20]; App. 1422-25,
 1428 [Abbott Dep. Tr. at 79:18-82:7, 104:1-13]; App. 1164 [Dep. Ex. 52]; App. 1701-04 [Estefenn July 2, 2015 Dep.
 Tr. 158:20-161:5]; App. 780 [Dep. Ex. 123]; App. 1161 [PENHOS_000270]; App. 1575-76 [Penhos Dep. Tr. at
 198:9-199:8].
 53
          See App. 3047 [Stanford International Bank – In Liquidation (the Bank) Preference Payments to Creditors in
 the run up to insolvency, available at http://www.sibliquidation.com/faq/preference-payments/ (last visited Oct. 1,
 2015)].
 54
          See App. 1422-25, 1428, 1442-44, 1453-55 [Abbott Dep. Tr. at 79:18-82:7, 104:1-13, 200:18-202:13,
 318:25-320:15]; App. 1164 [Dep. Ex. 52].
 55
          See App. 1701-04, 1685-87 [Estefenn July 2, 2015 Dep. Tr. at 158:20-161:5, 88:15-90:10]; App. 816 [Dep.
 Ex. 123 at URIBE_000151].
 56
          See App. 1575-76 [Penhos Dep. Tr. at 198:9-199:8].
                                                           10
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                      REDACTED                           , but has refused.57 Separately, Ms. Elson-Rogers

 withdrew over REDACTEDfrom her Stanford account in REDACTED , but testified that she has not

 received a repayment demand from the Joint Liquidators.58

            The substance of the representations made to individual putative class members also varied

 significantly. For instance, Ms. Elson-Rogers and Ms. Penhos were both allegedly assured by

 their financial advisors that the SIBL CDs were insured by Lloyd’s of London,59 whereas other

 putative class members were told nothing about insurance for the investments.60 Putative class

 members also received different representations concerning how Stanford secured its interest

 rates—information used by financial advisors to convince investors of the strength of the CDs.

 Ms. Penhos, for example, was told by her financial advisor that interest rates were high because

 SIBL did not have any local branches, resulting in low expenses,61 whereas Mr. Abbott was told

 that the high rates were due to “really strong international investments.”62 Mr. Queyrouze was

 told that Stanford was able to provide higher returns because it was subject to less regulation than

 domestic banks.63 Ms. Elson-Rogers, on the other hand, did not have any understanding

 concerning the higher rates offered by SIBL CDs as compared to other CDs on the market; rather,

 she was assured by her financial advisor that the SIBL CDs were safe and that the risk exposure

 was low because Stanford was a private bank, with no retail outlets and overhead costs.64

            With respect to Defendants, the named representatives have either no connections or



 57
            See App. 1643-44 [Suarez July 1, 2015 Dep. Tr. at 165:17-166:20]; App. 1156 [Dep. Ex. 20]; App. 740 [Dep.
 Ex. 12].
 58
          See App. 1481-82, 1503-04 [Elson-Rogers Dep. Tr. at 84:14-85:4, 145:13-146:18]; App. 1016 [Dep. Ex. 67].
 59
          See App. 1474, 1510, 1511 [Elson-Rogers Dep. Tr. at 47:6-11, 190:10-22, 191:3-7]; App. 1521-22, 1542,
 1543 [Penhos Dep. Tr. at 38:25-39:5, 74:11-17, 75:11-18].
 60
          See, e.g., App. 1627 [Suarez July 1, 2015 Dep. Tr. at 101:4-10]; App. 1695-96 [Estefenn July 2, 2015 Dep.
 Tr. at 120:20-121:11].
 61
          See App. 1535-36 [Penhos Dep. Tr. at 55:20-56:9].
 62
          App. 1415 [Abbott Dep. Tr. at 45:19-25].
 63
          See App. 1315016, 1367[Queyrouze Dep. Tr. at 56:25-57:11, 157:12-23].
 64
          See App. 1469, 1476, 1507-08 [Elson-Rogers Dep. Tr. at 40:17-41:4, 52:9-21, 169:15-170:12].
                                                          11
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 tangential ones. Most of the named representatives testified that they had no knowledge of or

 communications with the Banks until their lawyers told them post-facto about the lawyers’ desire

 to sue the Banks.65 One named Plaintiff testified that she wired money to HSBC in connection

 with her investment in SIBL CDs, but she admitted that she did not know or inquire whether

 HSBC was providing services to Stanford when she did so, and she acknowledged that HSBC did

 not make any representations to her, at any time, concerning Stanford or the SIBL CDs.66 In sum,

 the named Plaintiffs’ decisions to invest in SIBL CDs were not based on Defendants.

         Finally, all of the named Plaintiffs have acted in ways that call into question their

 truthfulness and reliability. Specifically:

         •                                              REDACTED
                                                                               67
                                                                                            REDACTED
                                                                                                       68   REDACTED




                                                        REDACTED


                                       69



         •                                              REDACTED
                                                                                                     Mr.
              Queyrouze has already recovered                          REDACTED
                                                                     approximately REDACTED from the Joint
              Liquidators,                                     REDACTED

 65
           See App. 1429-30, 1450, 1452 [Abbott Dep. Tr. at 120:19-121:4 (admitting “I’ve never dealt with any of
 these five banks”), 275:14-25 (“I’ve had no dealings with any of these—of the five banks that are defendants in this
 lawsuit”), 312:2-6]; App. 1612, 1651-52, 1657-68 [Suarez July 1, 2015 Dep. Tr. at 36:5-13, 200:6-12, 208:5-19,
 282:6-283:20] (testifying that any knowledge she has concerning the Banks was told to her by her attorneys); App.
 1359-61 [Queyrouze Dep. Tr. at 92:15-94:16 (admitting that he cannot name a specific wrongful act of the Banks)];
 App. 1705-06, 1713, 1726-27, 1728, 1731 [Estefenn July 2, 2015 Dep. Tr. at 166:3-167:22, 198:8-13 (“Q. None of
 these banks made any representations to you, did they? A. No.”), 245:24-246:17, 247:17-22, 270:15-17] (testifying
 that he did not know about or have communications with the Banks).
 66
           See App. 1514 [Elson-Rogers Dep. Tr. at 239:12-25]; see also App. 1507-09 [Elson-Rogers Dep. Tr. at
 169:6-12, 170:13-17, 171:11-15].
 67
           See App. 1680-81 [Estefenn July 2, 2015 Dep. Tr. at 62:17-63:19]; App. 1639-40 [Suarez July 1, 2015 Dep.
 Tr. at 160:10-161:22]; App. 1572073, 1587-88 [Penhos Dep. Tr. at 186:12-187:18, 210:20-211:6].
 68
           See App. 1680-82 [Estefenn July 2, 2015 Dep. Tr. at 62:17-64:11]; App. 1639-40 [Suarez July 1, 2015 Dep.
 Tr. at 227:23-229:22]; App. 740 [Dep. Ex. 12]; App. 828[Dep. Ex. 142]; App. 2853-54, 2855-57, 2864-68 [Suarez
 Aug. 28, 2015 Dep. Tr. at 65:3-66:14, 67:13-69:4, 116:19-118:13, 119:11-120:18]; App. 1170 [Dep. Ex. 151].
 69
           See App. 1572-73, 1587-88 [Penhos Dep. Tr. at 186:12-187:18, 210:20-211:6]; App. 870 [Dep. Ex. 90 at
 PENHOS_000011].
                                                          12
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              REDACTED70    And Mr. Abbott,                             REDACTED
                                                                                    filed an
              administrative claim against the U.S. Securities and Exchange Commission (the
              “SEC”) under the Federal Tort Claims Act (“FTCA”).71

         •    Ms. Elson-Rogers also filed an FTCA administrative claim against the SEC REDACTED
                                   REDACTED                           .72

         •    Mr. Queyrouze, Mr. Abbott and Ms. Elson-Rogers made loss claims on their tax
              returns in connection with their SIBL CDs, with Mr. Abbott estimating that, by
              claiming a loss, he avoided approximately REDACTED in taxes that he otherwise
              would have had to pay. 73                       REDACTED
                                                                                                  74



         •    Mr. Abbott75 and Ms. Suarez76 testified that, in some or all years, they did not report
              interest income earned on their SIBL CDs on their tax returns filed in the United
              States, and they have not amended their tax returns to do so.

         •    Mr. Estefenn, Ms. Elson-Rogers and Ms. Penhos all signed and submitted declarations
              in this Action concerning their SIBL CD purchases that they later admitted were
              inaccurate.77

         •    Mr. Estefenn used his Stanford account for purposes that raise issues as to his
              credibility and integrity, namely round-trip and currency exchange transactions.78 Mr.
              Estefenn also testified that he solicited and received confidential investment
              information from other Stanford investors in connection with purportedly helping them
              manage their Stanford-related claims on the condition that he would not provide such
              information to third parties.79                       REDACTED




 70
           See App. 2617-18 [Pls.’ Interrog. Resp. at Pl. Queyrouze’s Answer to Interrog. Nos. 7, 8]; App. 1376-80,
 1385-92 [Queyrouze Dep. Tr. at 222:3-226:6, 233:8-235:25, 267:5-269:22, 270:10-271:12]; App. 677 [Dep. Ex. 44].
 71
           See App. 1425-27 [Abbott Dep. Tr. at 82:18-84:23]; App. 2599 [Pls.’ Interrog. Resp. at Pl. Abbott’s Answer
 to Interrog. No. 7]; App. 673 [Dep. Ex. 53].
 72
           See App. 2599 [Pls.’ Interrog. Resp. at Pl. Elson-Rogers’ Answer to Interrog. No. 7]; App. 1441, 1447-48
 [STAN_TDBANK_000649-51].
 73
           See App. 1369-70 [Queyrouze Dep. Tr. at 186:21-187:16]; App. 1441, 1147-48 [Abbott Dep. Tr. at 194:7-22,
 237:24-238:14]; App. 1505-06 [Elson-Rogers Dep. Tr. at 149:23-150:5].
 74
           See App. 677 [Dep. Ex. 44]; App. 673 [Dep. Ex. 53]; App. 1125-27 [STAN_TDBANK_000649-51].
 75
           See App. 1439-70 [Abbott Dep. Tr. at 192:8-194:1].
 76
           App. 2848-52, 2871 [Suarez Aug. 28, 2015 Dep. Tr. at 60:11-25, 61:13-62:21, 63:22-64:17, 151:6-15].
 77
           See App. 1322 [Dep. Ex. 127]; App. 1733-49 [Estefenn July 2, 2015 Dep. Tr. at 274:10-290:15]; App. 1318
 [Dep. Ex. 70]; App. 1483-88, 1518-20 [Elson-Rogers Dep. Tr. at 86:11-91:25, 293:4-295:23]; App. 1325 [Dep. Ex.
 88]; App.1559-61 [Penhos Dep. Tr. 169:7-171:4].
 78
           See App. 1714-24 [Estefenn July 2, 2015 Dep. Tr. at 203:6-213:10].
 79
           See App. 2964, 2968-71 [Estefenn Sept. 10, 2015 Dep. Tr. at 329:11-330:2, 336:5-339:17]; App. 895-96
 [Dep. Ex. 159 at URIBE_009022-23]; App. 891 [Dep. Ex. 160 at URIBE_009025].
                                                         13
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                                                                80
                                 REDACTED

          •   Ms. Penhos falsely testified that she was not a party to any other litigation and only
              admitted that she was involved in other cases when confronted with details of three
              other lawsuits in Mexico.81 In addition, she falsely denied having filed Stanford-
              related claims other than with the Receiver and the Joint Liquidators.82 Two months
              after her deposition, Defendants learned that Ms. Penhos has filed a Stanford-related
              arbitration against the United States under the North American Free Trade Agreement
              (“NAFTA”).83

          •                                               REDACTED
                            84
                                                                REDACTED
                                                                          85
                                                                                        REDACTED
                                                                     86


          These named representatives should not be deputized as the leaders of a global class. The

 chart attached as Appendix E to this brief provides an overview of their issues.

                                                    ARGUMENT

          “The party seeking certification bears the burden of demonstrating that the requirements of

 Rule 23 have been met.” O’Sullivan v. Countrywide Home Loans, Inc., 319 F.3d 732, 737-38 (5th

 Cir. 2003). In determining whether a movant has satisfied its burden, a court “must undertake a

 rigorous analysis of Rule 23’s prerequisites by probing beyond the pleadings to understand the

 claims, defenses, and relevant facts.” Owner Operator Indep. Drives Ass’n, Inc. v. FFE Transp.

 Servs., Inc., 245 F.R.D. 253, 254 (N.D. Tex. 2007) (Godbey, J.); see Wal-Mart Stores, Inc. v.

 Dukes, 131 S. Ct. 2541, 2551 (2011) (“Rule 23 does not set forth a mere pleading standard.”).87


 80
         See App. 2972-75, 2976-79 [Estefenn Sept. 10, 2015 Dep. Tr. at 350:23-353:16, 358:15-360:11]; App. 970
 [Dep. Ex. 162 at URIBE_011178].
 81
         See App. 1590-93 [Penhos Dep. Tr. at 231:23-234:5].
 82
         See App. 1567-68 [Penhos Dep. Tr. at 181:16-182:17].
 83
         See App. 2611 [Pls.’ Interrog. Resp. at Pl. Penhos’s Answer to Interrog. No. 7]; App. 685
 [PENHOS_000285-308].
 84
         See App. 684 [Dep. Ex. 95].
 85
         See id.; App. 1647-48 [Suarez July 1, 2015 Dep. Tr. at 169:18-170:4].
 86
         See App. 1645-46 [Suarez July 1, 2015 Dep. Tr. 167:16-168:12].
 87
         Defendants adopt and incorporate by reference the relevant arguments made by the defendants in Troice v.
 Proskauer Rose LLP, et al., Troice v. Willis of Colorado Inc., et al. and Turk v. Pershing, LLC in their oppositions to
                                                           14
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 I.      PLAINTIFFS HAVE NOT SATISFIED THE REQUIREMENTS OF RULE 23(b)(3)

         Plaintiffs seek class certification pursuant to Rule 23(b)(3), which requires proof “that the

 questions of law or fact common to class members predominate over any questions affecting only

 individual members, and that a class action is superior to other available methods for fairly and

 efficiently adjudicating the controversy.” FED. R. CIV. P. 23(b)(3). But this is, at core, a fraud

 case, and courts in this and other circuits have consistently held that where multiple individualized

 inquiries are required, fraud cases are generally inappropriate for class certification. See Simon v.

 Merrill Lynch, Pierce, Fenner & Smith, Inc., 482 F.2d 880, 882 (5th Cir. 1973) (“If there is any

 material variation in the representations made or in the degrees of reliance thereupon, a fraud case

 may be unsuited for treatment as a class action.”); Regents of Univ. of Cal. v. Credit Suisse First

 Boston (USA), Inc., 482 F.3d 372, 383 (5th Cir. 2007) (same). The same is true here. Because

 Plaintiffs fail to adequately carry their burden on the necessary elements under Rule 23(b)(3),

 class certification should be denied.

         A.       Plaintiffs Have Not Shown Superiority

         Plaintiffs have not met their burden of proving that class resolution is a superior alternative

 to adjudicate this controversy. See FED. R. CIV. P. 23(b)(3). Plaintiffs have failed to establish that

 (a) their proposed class action is the superior method for resolving their claims; (b) the

 hundred-odd foreign jurisdictions from which putative class members hail will each recognize,

 enforce, and grant preclusive or res judicata effect to a judgment in this Action; and (c) putative

 class members are either unable or unwilling to bring individual suits.

                  1.       Plaintiffs Have Argued That a Class Action Is Inferior

         Plaintiffs have repeatedly denounced a class action as an inferior mechanism for resolving

 their claims in connection with other Stanford MDL actions in this Court. Specifically, in

 class certification. Dkt. No. 197, Troice v. Proskauer Rose LLP, et al., Civil Action No. 3:09-cv-01600 (N.D. Tex.);
 Dkt. Nos. 243, 253, 255, 256, Troice v. Willis of Colorado Inc., et al., Civil Action No. 3:09-cv-01274-N-BG (N.D.
 Tex.); Dkt. No. 159, Turk v. Pershing, LLC, Civil Action No. 3:09-cv-02199 (N.D. Tex.).
                                                          15
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 requesting this Court’s approval of settlements in Adams & Reese and BDO, investor-Plaintiffs

 argued that a proceeding brought by the Receiver and/or OSIC is superior to putative investor

 class actions:

           There would be uncertainty and delay in certifying a settlement class involving all
           Stanford Investors who reside in multiple countries throughout the world, and such
           a class would, at any rate, be duplicative with respect to the Stanford Investors
           who are already participating in the Receivership claims and distribution process.
           It is far more efficient and saves substantial costs to distribute the settlement funds
           through the court-approved Receivership distribution process rather than create an
           entirely separate and parallel class action claims and settlement distribution
           process. Moreover, a class action settlement process would result in substantial
           delay and less money flowing to investors. The Receivership settlement and bar
           order, together with a dismissal of the Investor Lawsuit, protects all interested
           parties, both the Defendants and the Stanford Investors.88

           Here, the proposed class definition is limited to include only those Stanford investors

 “whose claims for losses . . . are recognized, authorized, and calculated by the United States

 Receiver.”89 Plaintiffs have stated that distributions of any potential recoveries will not be done

 through a class process, but through the Receiver process,90 and they take the position in their

 Motion that the Receiver can calculate damages in this case.91 Indeed, Plaintiffs contend that the

 claims asserted by the class in the SAC are virtually identical to those pursued by OSIC.92 The

 Court has also questioned the extent to which “the individual class actions [are] duplicative of

 efforts by the Receiver or the Investors Committee to seek recovery.”93

           Plaintiffs nevertheless ask the Court to certify a class. It is telling that Plaintiffs (a) ask

 this Court to engage in the enhanced oversight required by a class action and to “look after the

 88
           Adams & Reese Settlement Mot. ¶ 21 (emphasis added); see BDO Settlement Mot. ¶¶ 38-39 (emphasis
 added).
 89
          Pls.’ Br. at 17; see also id. at 19, 54.
 90
          See Reply In Further Support of Plaintiffs’ Mot. To Join OSIC As A Plaintiff Under Rule 20(A), Dkt. No.
 118, at 1(“[A]ny recovery of fraudulent transfers from Defendants will be distributed to Plaintiffs from the
 Receivership Estate pursuant to the Receiver’s distribution protocol regardless of which party is first to prevail.”)
 (emphasis added).
 91
          See Pls.’ Br. at 6, 55.
 92
          See Memorandum in Support of Plaintiffs’ Sealed Motion for Leave to Amend Complaint, Dkt. No. 238, at
 6-8.
 93
          App. 1272 [Excerpt of Aug. 21, 2014 Status Hr’g Tr. at 4:6-8].
                                                           16
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 welfare of class members”94 yet (b) simultaneously disavow this judicial oversight in other

 Stanford MDL actions because it would be too time-consuming and expensive.

                2.      Plaintiffs Have Not Proven That The Foreign Jurisdictions Involved
                        Would Recognize and Give Preclusive Effect to a Class Action
                        Judgment in This Case

        Plaintiffs are “required to demonstrate” under Rule 23 that foreign jurisdictions will

 “probably,” i.e., “more likely than not,” recognize and give preclusive effect to a class action

 judgment in the action at issue. See, e.g., Anwar v. Fairfield Greenwich, Ltd., 289 F.R.D. 105,

 114-15 (S.D.N.Y. 2013) (plaintiffs must show that foreign courts would “probably recognize as

 preclusive” a U.S. judgment); In re Alstom SA Secs. Litig., 253 F.R.D. 266, 282 (S.D.N.Y. 2008)

 (requiring plaintiffs to demonstrate a reasonable “probability”); In re Vivendi Universal, S.A. Sec.

 Lit., 242 F.R.D. 76, 95 (S.D.N.Y. 2007) (plaintiffs must show that foreign courts would “more

 likely than not” recognize and give preclusive effect to any judgment rendered); see also Ansari v.

 New York Univ., 179 F.R.D. 112, 116-17 (S.D.N.Y. 1998); CL-Alexanders Laing & Cruickshank

 v. Goldfeld, 127 F.R.D. 454, 459-60 (S.D.N.Y. 1989). Plaintiffs have not carried their burden.

 Nor can they. Defendants’ evidence establishes that, if Defendants prevail on the merits, class

 members who did not affirmatively participate in this lawsuit will be able to bring individual

 claims against Defendants in a host of foreign jurisdictions and seek damages for the same losses

 and based on the same alleged conduct at issue in this Action. And class members dissatisfied

 with a settlement could sue for more elsewhere. As a result, whether Defendants win or lose in

 this Court, they will be forced to face the expense and uncertainty of relitigating Plaintiffs’ claims

 in untold foreign jurisdictions.

        In their Motion, Plaintiffs provided no expert evidence on this topic (or on any topic, for

 that matter). In this Opposition, Defendants submit thirteen expert reports from highly respected



 94
        App. 2671 [Oquendo Decl. at 34].
                                                   17
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 legal authorities opining on the laws in seven Latin American jurisdictions (Colombia, Ecuador, El

 Salvador, Mexico, Panama, Perú, and Venezuela), as well as expert reports opining on the laws in

 seven additional jurisdictions in North America, Europe and the Caribbean (Canada, France,

 Germany, Spain, Switzerland, England, and the former Netherlands Antilles, which includes

 Aruba).95 Defendants’ experts include distinguished scholars in the field of international

 enforcement of judgments, highly experienced practitioners, international arbitrators, and the

 former Chief Judge of the Supreme Court of Panama. Appendix F to this brief is a chart showing

 Defendants’ experts and their credentials.

         In their reply brief, Plaintiffs may attempt to rely on testimony from three individuals

 dealing with eight countries, partially.96 Because U.S. opt-out class actions under Rule 23(b)(3)

 conflict with an important premise of many foreign legal systems, Plaintiffs cannot meet their

 burden by offering only scant and admittedly “speculative” rebuttal reports and citing non-binding

 U.S. cases that Plaintiffs’ expert agreed would not be looked at by foreign courts.97

                           a.       European and Caribbean Civil Law Countries Would Not Give
                                    Preclusive Effect to a Judgment in This Action

         It is uncontroverted that European and Caribbean civil law jurisdictions would not

 recognize and grant preclusive or res judicata effect to an opt-out class action judgment.

 Defendants submitted five expert reports on (i) France; (ii) Spain; (iii) Germany; (iv) Switzerland;

 and (v) the Netherlands Antilles (including Aruba), demonstrating that these countries would not

 recognize a judgment in this Action. Plaintiffs have not designated any experts to rebut this

 95
           See App. 1751 to 2587 [Expert Declarations attached in full].
 96
           The Court should not accept Plaintiffs’ expert reports submitted in reply to Defendants’ opposition
 submission. Plaintiffs waived their right to submit expert testimony by not including it in their case-in-chief. See
 United States v. Green, 46 F.3d 461, 465 n.3 (5th Cir. 1995) (evidence raised for the first time on reply is waived);
 Bell v. Ascendant Solutions, Inc., No. 301-CV-0166-N, 2004 WL 1490009, at *1 n.1 (N.D. Tex. July 1,
 2004) (Godbey, J.) (denying plaintiffs’ motion for class certification, and stating that the Court “discourages”
 plaintiffs from offering expert testimony “for the first time” on reply), aff’d, 422 F.3d 307 (5th Cir. 2005); Springs
 Indus., Inc. v. Am. Motorists Ins. Co., 137 F.R.D. 238, 240 (N.D. Tex. 1991) (“‘[A] movant should not be permitted to
 cure by way of reply what is in fact a defective motion.’”).
 97
           See App. 2890 [Harris Dep. Tr. at 299:15-23].
                                                          18
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 conclusion. Plaintiffs also fail to address a host of other European countries with purported class

 members, including Austria, Belgium, Bosnia and Herzegovina, Bulgaria, Croatia, Cyprus,

 Denmark, Greece, Hungary, Iceland, Ireland, Isle of Man, Italy, Latvia, Macedonia, the

 Netherlands, Norway, Poland, Portugal, Romania, Serbia, Sweden, Turkey, and Ukraine.

 Individuals from these countries cannot be part of a class.

                                     (i)      France and Spain

          George Bermann is a distinguished professor at both Columbia Law School and the

 Parisian Institut des Sciences Politiques, who explains that the French government itself has made

 clear that “French courts would almost certainly refuse to enforce a court judgment in a U.S. ‘opt

 out’ class action because it violates . . . French constitutional principles and public policy.”98

 Even the case law on which Plaintiffs rely in their Motion excluded putative French class

 members. See, e.g., Anwar, 289 F.R.D. at 117-18; Alstom, 253 F.R.D. at 282-87.

          David Arias, a professor of procedural law and arbitration in Madrid, international

 practitioner and law firm founder, explains that Spanish public policy—as evidenced in the

 Spanish Constitution, the Spanish Civil Code, and the limited collective actions permitted by

 law—would not permit recognition or enforcement of a judgment in this Action.99 Plaintiffs offer

 nothing to show that Spanish courts would enforce a judgment in this Action.100


 98
           App. 1854 [Bermann Decl. ¶ 32] (quoting Brief for the Republic of France as Amicus Curiae Supporting
 Respondents, Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247 (2010)) (emphasis added). France would find it
 “deeply offensive” for class members to be bound without their consent. App. 1862 [Bermann Decl. ¶ 47]. The
 French Constitutional Council has made it “abundantly clear” that opt-out class actions do not pass muster in French
 courts, and the former Chief Justice of the French Supreme Court has stated that opt-out actions are “too far removed
 from [France’s] own legal reflexes.” App. 1844, 1850-51-53 [Bermann Decl. ¶¶ 3, 25-26, 28, 31]. Any judgment in
 this Action purporting to bind absent French class members would violate French constitutional and public policy
 principles of consentement, requiring affirmative consent to an action, and autonomie des parties, giving claimholders
 the right to make essential litigation decisions. See App. 1848, 1850-51[Bermann Decl. ¶¶ 16-17, 23-24, 27].
 99
            See App. 1821-23 [Arias Decl. ¶¶ 22-35]. Spanish courts would not recognize this Court’s jurisdiction over
 absent class members who have not manifested their consent to the court’s jurisdiction through any “concrete
 procedural actions” as required by the Spanish Constitution, App. 1821 [Arias Decl. ¶¶ 22-24], and whose “right to
 intervene and actively participate” have not been met in an opt-out setting, App. 1822, 1823 [Arias Decl. ¶¶ 28, 35].
 100
           Plaintiffs may argue that this Court should include Spanish class members on the basis of Anwar, but that
 would be a mistake. In Anwar, the defendants “fail[ed] to identify an explicit conflict with Spanish public policy that
 would bar recognition of the judgment.” 289 F.R.D. at 118. Here, Professor Arias explicitly describes the conflicts of
                                                           19
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                                     (ii)     Germany and Switzerland

          Dr. Stephan Wilske, a reputed German law firm partner and international practitioner,

 explains that enforcement of a judgment in this Action would violate German laws on personal

 jurisdiction, national rules of civil procedure and the German Code of Civil Procedure based on

 the failure of service of process, infringement on German ordre public (public policy), and

 inadequate notice under binding provisions of the Hague Service Convention.101 German

 investors would not be barred from relitigating their claims in Germany, as numerous courts have

 recognized, including Anwar, Alstom and Vivendi, as well as Ansari v. New York Univ., 179

 F.R.D. 112 (S.D.N.Y. 1998), and In re Parmalat Sec. Litig., No. 04 MD 1653 (LAK), 2008 WL

 3895539 (S.D.N.Y. Aug. 21, 2008).

          Isabelle Romy, a former Swiss federal Supreme Court judge and current law professor and

 Zurich law firm partner, explains that Swiss courts would not enforce or give preclusive effect to a

 judgment in this Action against their own citizens and residents because it would violate Swiss

 constitutional law and public policy.102 Many courts, including those cited by Plaintiffs, have

 refused to certify a global class with Swiss members. E.g., Anwar, 289 F.R.D. at 117; Buettgen v.

 Harless, et al., 263 F.R.D. 378, 382-83 (N.D. Tex. 2009; Bersch v. Drexel Firestone, Inc., 519


 a judgment in this Action with the “procedural guarantees” in the Spanish Constitution. App.1818-19 [Arias Decl. ¶
 15].
 101
           See App. 2202 [Wilske Decl. ¶ 50]. Under German law, this Court lacks jurisdiction over absent German
 class members because German law requires an affirmative submission to a court’s jurisdiction, and “[a]n unnamed
 class member’s failure to opt out . . . does not and cannot establish personal jurisdiction.” App. 2196 [Wilske Decl. ¶¶
 23-24]. A judgment against German investors who did not “wilfully, knowingly, and actively” participate would per
 se infringe the German ordre public because Germany recognizes a “constitutional right to be heard, the principle of
 ‘correct representation,’ and the principle that the parties determine and delimit the scope of proceedings.” App.2197-
 99 [Wilske Decl. ¶¶ 28-36]. Moreover, service not in compliance with the Hague Service Convention would infringe
 German sovereignty and preclude recognition. See App. 2200 [Wilske Decl. ¶¶ 41, 43].
 102
           See App. 2569, 2581 [Romy Decl. ¶¶ 2, 45]. Opt-out class actions violate Swiss public policy because they
 dispose of class members’ procedural autonomy and substantive rights without active participation in the proceeding.
 See App. 2573 [Romy Decl. ¶ 17]. Swiss absent class members would not be barred from instituting duplicative suits
 because class members who do not opt out are not “parties” to the proceeding. See App. 2575 [Romy Decl. ¶¶ 22-26].
 A judgment in this Action would be unrecognizable for want of jurisdiction because Swiss law does not consider an
 absent class member’s silence as a submission to the jurisdiction of the foreign court. See App. 2576-77 [Romy Decl.
 ¶¶ 27-31]. Moreover, service of notice not in accordance with the Hague Service Convention is grounds for non-
 recognition. See App. 2579-80 [Romy Decl. ¶¶ 36-41].
                                                           20
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 F.2d 974, 996-97 (2d Cir. 1975).

                                      (iii)     The Former Netherlands Antilles (Including Aruba)

          Rogier F. van den Heuvel, a renowned Dutch attorney and lecturer on private international

 law at the University of Curaçao, explains that the former Netherlands Antilles—which includes

 Aruba, Bonaire, Curaçao, Saba, Sint Eustatius, and Sint Maarten—would not recognize or enforce

 a judgment in this Action because opt-out class actions violate several facets of established public

 policy.103 Plaintiffs submit no evidence of record, nor any case law, to suggest otherwise.

                             b.       Latin American Countries Would Not Give Preclusive Effect to
                                      a Judgment in This Action

          Plaintiffs’ putative class includes thousands of investors scattered across numerous Latin

 American countries, yet Plaintiffs fail to address whether most of these countries would recognize

 and give preclusive effect to a judgment in this Action.104 To date, no Latin American country has

 recognized and enforced an opt-out class action judgment.105 Nor would they be expected to,

 because opt-out class actions violate established public policy, constitutional principles requiring

 internationally-acceptable service of process, and international law standards of jurisdiction over

 absent class members, as assessed on a country-by-country basis.106



 103
           See App. 1962, 1969 [van den Heuvel Decl. ¶¶ 2-4, 41]. As Professor van den Heuvel explains, the former
 Netherlands Antilles holds the right to self-determination with respect to individuals’ legal interests, the right to access
 to court, and the right to be heard as “fundamental principles” of public policy. App.1967 [van den Heuvel Decl. ¶
 34]. The notion that a party is bound simply for failing to opt out of a class he did not affirmatively consent to
 contravenes public policy. See App. 1969 [van den Heuvel Decl. ¶ 41]. U.S. class actions also violate the former
 Netherlands Antilles’ public policy on allowable damages, as the limited collective actions permitted (which do not
 bind non-parties) “expressly exclude the possibility of a pecuniary damage award.” App. 1965 [van den Heuvel Decl.
 ¶¶ 24-25].
 104
           Plaintiffs’ Latin American designee, Professor Oquendo, addresses only Panama, Venezuela, Mexico,
 Colombia, Ecuador, and Perú, but does not address the rest of the Latin American countries with CD investors—
 including Argentina, Bolivia, Brazil, Chile, Costa Rica, Cuba, the Dominican Republic, El Salvador, Guadeloupe,
 Guatemala, Haiti, Honduras, Martinique, Nicaragua, Paraguay, and Uruguay. Nor does Professor Oquendo address a
 swath of Caribbean and Central American countries falling within Plaintiffs’ class, such as Anguilla, Antigua and
 Barbuda, Bahamas, Barbados, Belize, Bermuda, Cayman Islands, Grenada, Jamaica, Montserrat, St. Lucia, St. Kitts
 and Nevis, Suriname, St. Vincent and Grenadines, and Trinidad and Tobago. Without any proof as to enforcement in
 these countries, individuals from there cannot be part of a class here.
 105
           See App. 1929 [Gidi Decl. ¶ 17].
 106
           See App. 1931, 1934, 1937 [Gidi Decl. ¶¶ 26, 42, 57].
                                                             21
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                                     (i)       Venezuela, Colombia and Mexico

          Plaintiffs have not shown that Venezuelan, Colombian and Mexican courts would give

 preclusive effect to a judgment in this case. With respect to Venezuela, Defendants submit two

 expert reports: one from James Otis Rodner, a Venezuelan law firm founder with a Harvard Law

 J.D., and another from Antonio Gidi, a law professor and drafter of Latin American class action

 legislation, showing that U.S. opt-out class actions are “at complete odds with Venezuelan

 conceptions of civil procedure, fundamental fairness, and public policy.”107 In an attempt to rebut

 the testimony of Defendants’ experts, Plaintiffs proffer a University of Connecticut law professor,

 Ángel Oquendo, who opines that Venezuelan courts would recognize a judgment because

 Venezuelan law permits a limited subset of collective group actions, and Venezuelan due process

 draws from U.S. notions of due process.108 Yet Professor Oquendo acknowledges, as he must,

 that collective group actions differ from U.S. class actions (opt-out or opt-in).109 As Professors

 Rodner and Gidi explain, comparing the two is like comparing apples to oranges. Binding absent

 group members without consent on a claim belonging to the public in Venezuela is fundamentally

 different than binding an absent member on his or her individual claim without his or her consent

 in the U.S.110 Professor Oquendo’s testimony falls short of meeting Plaintiffs’ burden to show that


 107
           App. 1762 [Rodner Decl. ¶ 30]. Venezuelan public policy protects the constitutional right of defense and due
 process, both of which require that a party be served and afforded all procedural guarantees under Venezuelan law,
 including the right to be heard and present individual claims and defenses. See App. 1760 [Rodner Decl. ¶ 25.
 Venezuelan courts would not consider absent class members to have participated before this Court, and any binding
 judgment entered against such class members would violate Venezuelan public policy by limiting the class members’
 constitutional right of defense. See App. 1760 [Rodner Decl. ¶ 26]. American class actions are also contrary to
 Venezuelan civil procedure, since falling within a defined class “does not make [an individual] a recognized plaintiff
 in Venezuela, much less a party to the litigation.” App. 1756 [Rodner Decl. ¶ 15]. Venezuelan law does not permit
 an individual to be bound by a judgment in an action to which they were not a party, see App.1757 [Rodner Decl.¶
 17], and while third parties can participate in proceedings under Venezuela law, they must “incorporate themselves”
 by expressly consenting to the action, App. 1756 [Rodner Decl.¶ 16]; see also App. 1939 [Gidi Decl. ¶ 65].
 108
           See App. 2706 [Oquendo Decl. at 69].
 109
           Venezuelan group actions are limited to injunctive relief on “matters of collective or social interest,” not
 monetary relief for class members’ private injuries, and—more importantly—are brought to protect “collective
 rights.” App. 1757-58 [Rodner Decl. ¶¶ 18-20]. Professor Oquendo agrees that such actions are different from U.S.
 class actions but, with little explanation or analysis, suggests that the difference is only in “minimal respect[s].” App.
 2696-97, 2703-04 [Oquendo Decl. at 59-60, 66-67]. He is wrong for the reasons described above.
 110
           See App. 1757-58 [Rodner Decl. ¶¶ 18-20] App. 1932- 1938 [Gidi Decl. ¶¶ 28-30, 62].
                                                            22
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 it is “more likely than not” that Venezuela would recognize a foreign, class-action judgment.111

          Plaintiffs have likewise failed to meet their burden to show that Colombian courts would

 give preclusive effect to a judgment in this Action. As noted by Eduardo Zuleta, an esteemed

 practitioner and former law professor, the Colombian Supreme Court would deny recognition of a

 judgment here because opt-out class actions violate Colombian due process and public policy by

 depriving absent Colombian class members of the opportunity to affirmatively and expressly join

 the proceeding, and the ability to opt out of a judgment in which they did not participate.112 In

 rebuttal, Professor Oquendo asserts that Latin American due process has the same “essential

 components” as U.S. due process, and that Colombian opt-in collective actions are “comparable”

 to opt-out actions.113 This, however, does not show that Colombian courts are likely to recognize

 a judgment in this Action. Plaintiffs fail to take on Professor Zuleta’s reasoning as to why

 collective actions satisfy Colombian due process in ways that U.S. opt-out actions do not—e.g., by

 affording both an opportunity for absent members to join the proceeding with acceptable means of

 service of process (e.g., letters rogatory), as well as a discretionary due process right to be

 excluded from a decision after having been given a right of access to justice under Colombian

 procedural law.114 Plaintiffs fail to meet their burden to show that binding Colombian residents to

 a judgment in this Action would not, therefore, constitute a “flagrant and grave violation” of

 Colombian due process, as Professor Zuleta testifies.115

          Plaintiffs also fail to show that Mexican courts would give preclusive effect to a judgment


 111
           Moreover, Professor Oquendo does not have the necessary qualifications to be accepted as an expert on the
 laws of Venezuela, Columbia, Mexico, and the other three countries on which he opines. He is not admitted to
 practice in any of these jurisdictions, has never litigated in any of them, has only a shallow understanding of their
 legal systems from his academic readings in Connecticut, opined erroneously on many basic aspects of their legal
 practice, and has never been accepted as an expert on these topics. If Plaintiffs continue to proffer him with their
 Reply, Defendants will file an appropriate Daubert motion.
 112
           See App. 2553 [Zuleta Decl. ¶ 74].
 113
           See App. 2689, 2706 [Oquendo Decl. at 52, 69].
 114
           See App. 2573-46, 2550-51 [Zuleta Decl. ¶¶ 36-46, ¶¶ 62-67].
 115
           App. 2551 [Zuleta Decl. ¶ 66].
                                                           23
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 in this Action. Eduardo Siquieros, a highly-reputed Mexican law professor and practitioner with

 over 35 years of experience, has explained that opt-out class actions are “fundamentally at odds

 with Mexican public policy,” and enforcement against absent class members of a judgment in this

 Action would violate specific Mexican constitutional law, Supreme Court precedent, and

 “unwaivable” legislation.116 In response, Professor Oquendo points to Mexico’s opt-in collective

 actions and claims that the “differences in the details should not affect the analysis.”117 But in

 Mexican courtrooms, they make all the difference because Mexico’s opt-in statute is a mandatory

 public order provision and under Mexican law, failure to opt out is not deemed to be implied

 consent to class treatment.118 The importance of consent is underscored by the fact that the

 original Mexican class action bill provided for an opt-out model, but was rejected by the Mexican

 Congress in favor of an opt-in mechanism.119 Plaintiffs do not rebut this record evidence, which

 weighs heavily against a finding that a Mexican court would give preclusive effect to a judgment

 in this Action.

                                     (ii)     Perú and Ecuador

          Plaintiffs fail to demonstrate that Peruvian and Ecuadorian courts would likely give

 preclusive effect to a judgment in this Action. Defendants submit two expert reports, including

 one by J. Domingo Rivarola Reisz, a Peruvian law professor and practitioner, explaining that

 Peruvian courts would not recognize such a judgment because it would contravene Peruvian




 116
          App. 1773, 1781, 1788, 1789 [Siqueiros Decl. ¶¶ 3-4, 27, 50, 57-60]. The Mexican Constitution, Mexican
 case law, and the Mexican class action statute all treat autonomy, self-determination and consent as matters of public
 policy. See App. 1783-87 [Siqueiros Decl. ¶¶ 35-47]. Article 594 of the Federal Code of Civil Procedure, which sets
 forth Mexico’s opt-in procedure, is a public order statute that sets a “mandatory rule of procedure,” meaning consent
 is an “unwaiveable” requirement for class treatment. App. 1787 [Siqueiros Decl. ¶¶ 45-46]. Any judgment against
 class members who did not affirmatively consent to class treatment would violate Mexican public policy. See App.
 1782, 1787, 1788-89 [Siqueiros Decl. ¶¶ 32, 47, 51-55]. Mexican courts also would not enforce a judgment against a
 party that was not served with process. See App. 1782 [Siqueiros Decl. ¶ 33].
 117
          App. 2690 [Oquendo Decl. at 53].
 118
          See App. 1787, 1775-76 [Siqueiros Decl. ¶¶ 48, 13-14].
 119
          See App. 1786 [Siqueiros Decl. ¶¶ 42-43].
                                                           24
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 public order and constitutional principles of due process.120 Peruvian due process mandates that

 “no person shall be deemed a default or absent member of a non-consumer protection collective

 action.”121 A judgment in this Action would additionally fail the reciprocity requirement under

 Peruvian law.122 Again, Professor Oquendo does not address a majority of the barriers to

 recognition and enforcement in the record, but rather concludes that Peruvian group actions are

 “comparable enough” that Peruvian courts would find U.S. class actions “compatible with the

 public order.”123 This conclusion is unsupportable because Peruvian group actions are

 “fundamentally different” mechanisms that are brought by public agencies and intended to offer a

 means to address public harms (e.g., environmental issues).124

         Plaintiffs also have not shown that Ecuadorian courts would more likely than not recognize

 a judgment in this Action. Professor Gidi demonstrated that enforcement of an opt-out class

 action judgment in Ecuador would result in a violation of Ecuadorian policies of international

 notice and personal jurisdiction.125 Plaintiffs’ assertion that jurisdiction and service by rogatory

 letters are only required for defendants126 ignores that absent class members’ rights are affected by

 opt-out class actions in the same way as traditional defendants’ rights. As Professor Gidi explains,

 in the case of class actions, where absent Ecuadorian class members do not take any affirmative

 steps to bring an action and consent to the Court’s jurisdiction, Ecuadorian courts would not

 consider them to have submitted to the Court’s jurisdiction.127 Because Plaintiffs fail to analyze



 120
          App. 2144 [Reisz Decl. ¶ 35]; App. 1940 [Gidi Decl. ¶ 73].
 121
          App. 2144 [Reisz Decl.¶ 36].
 122
          App. 2142-43, 2144 [Reisz Decl. ¶¶ 26-28, 36-37]; see also App. 1940[Gidi Decl. ¶¶ 71-73] (noting in
 addition that Peruvian courts would deem this Court to lack jurisdiction over absent class members without service
 through letters rogatory).
 123
          App. 2690 [Oquendo Decl. at 53].
 124
          App. 2139 [Reisz Decl. ¶¶ 17-19].
 125
          See App. 1944 [Gidi Decl. ¶ 90].
 126
          See App. 2660, 2678-79 [Oquendo Decl. at 23, 41-42].
 127
          See App. 1936, 1944 [Gidi Decl. ¶¶ 46, 89]. Moreover, Ecuadorian due process demands that Ecuadorian
 class members “receive notice of the class action proceeding through rogatory letters.” 1944 [Gidi Decl. ¶ 88].
                                                          25
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 the relevant issue in this case—how Ecuadorian courts would treat absent class members in opt-

 out class action judgments—they have not met their burden as to the preclusive effect of a

 judgment in this Action.

                                     (iii)    Panama and El Salvador

          Plaintiffs fail to meet their burden of showing that Panamanian and El Salvadorian courts

 will give preclusive effect to a judgment in this case. As noted by the former Chief Justice of the

 Supreme Court of Panama—one of Defendants’ two experts on Panamanian law—any judgment

 in this Action would “fundamentally contradict Panamanian laws and public policy (orden

 publico).”128 Plaintiffs’ reliance on historical due process similarities and distinguishable

 Panamanian group actions129 does not demonstrate that Panamanian courts will more likely than

 not enforce this Court’s judgments.

          Plaintiffs’ Professor Oquendo does not address, and was explicitly instructed by Plaintiffs’

 counsel not to opine on, El Salvador.130 It is thus undisputed that courts in El Salvador would find

 that opt-out class actions violate public policy, that this Court lacked jurisdiction over El

 Salvadoreans, and that there was improper notice to El Salvadorian class members.131




 Because U.S. opt-out class actions provide no such notice, Ecuadorian courts would deny recognition. See App.
 1933-34, 1944 [Gidi Decl. ¶¶ 35-42, 88, 90].
 128
           See App. 1990 [Hoyos Decl. ¶ 43]. This Court would lack jurisdiction over Panamanian class members who
 do not opt in because, under Panamanian law, failure to opt out does not confer jurisdiction over absent Panamanians.
 See App. 1987 [Hoyos Decl. ¶ 40]. And Panamanian courts would not deem the submission of a Proof of Claim in the
 SEC Receivership action to constitute consent to participate in Plaintiffs’ opt-out class action. See App. 1990 [Hoyos
 Decl. ¶ 42]. Moreover, Panamanian class members would not be properly served by letter rogatory and would not
 have sufficient notice of the action to permit them to “opt in” (a required element of due process), thus depriving them
 of their right to present evidence and assert allegations. See App. 1987 [Hoyos Decl. ¶ 40]; see also App. 1942 [Gidi
 Decl. ¶ 79].
 129
           See App. 2706 [Oquendo Decl. at 69].
 130
           See App. 2997-98 [Oquendo Dep. Tr. at 65:17-66:10].
 131
           See App. 1942-43 [Gidi Decl. ¶¶ 80-85]. El Salvador does not recognize opt-out class actions, nor does it
 recognize that a non-party may be bound by a judgment in a proceeding to which it did not participate or have
 knowledge of. See id. ¶ 82. Moreover, this Court would lack jurisdiction over El Salvadorian absent class members
 because mere silence or the failure to opt out is not considered a submission to this Court’s jurisdiction. See App.
 1935-46, 1943 [Gidi Decl. ¶¶ 44-46, 84]. Additionally, El Salvadorian law would require service to be effected
 through rogatory letters. See App. 1943 [Gidi Decl. ¶ 83].
                                                           26
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                            c.        Common Law Countries Would Not Give Preclusive Effect to a
                                      Judgment in This Action

          Plaintiffs have not shown that it is more likely than not that England, Canada, and other

 common law countries would recognize and give preclusive effect to a judgment in this Action.

                                      (i)      England

          Adrian Briggs, a renowned Barrister, professor of private international law at Oxford

 University and author of the leading English treatise on the enforcement of foreign judgments,

 opines that the recognition and enforcement of an opt-out class action judgment would violate

 English private international law and English common law. The law of England would find that

 U.K. absent class members were not subject to this Court’s jurisdiction without their consent or

 territorial presence.132 133

          Plaintiffs present Jonathan Harris, one of Professor Briggs’ former students, who notes an

 “absence of any binding authority” and believes that “one can only speculate” as to how an

 English court would rule in this “new [and] uncertain terrain.”134 This half-hearted opinion does

 not satisfy Plaintiffs’ burden of proving by a preponderance of the evidence that English courts



 132
           See App. 1917 [Briggs Decl. ¶ 105]. As a matter of English private international law, this Court does not
 have jurisdiction over U.K. absent class members. See App. 1897 [Briggs Decl. ¶ 17].. English case law
 demonstrates that jurisdictional competence is assessed “by reference to the person said to be bound by the foreign
 decision (whether plaintiff or defendant).” App. 1899 [Briggs Decl. ¶¶ 27-29]. And English private international law
 requires “either that the person was present within the territorial jurisdiction of the foreign court when the proceedings
 were commenced, or that person submitted, by prior agreement or by actual appearance, to the jurisdiction of the
 foreign court.” App. 1898 [Briggs Decl. ¶ 22]. Here, absent U.K. class members are not deemed to have submitted to
 this Court’s jurisdiction simply by doing nothing because, under English law, failure to respond to notice of the action
 does not signify submission to jurisdiction. See App. 1900, 1903, 1905 [Briggs Decl. ¶¶ 30, 43-45, 54-55].
 133
           Plaintiffs’ argument in their moving brief that the Proof of Claim submissions to the Receiver constitute an
 implied submission to the Court’s jurisdiction for this Action, Pls.’ Br. at 54, is both misplaced and belied by the
 evidence. This Court’s prior ruling specifically ordered that the “consent to jurisdiction” language in the Proof of
 Claim form be expressly limited to claims in the Receivership Action. See Order at 1, SEC v. Stanford Int’l Bank,
 Ltd., et al., No. 3:09-CV-298-N (N.D. Tex. May 4, 2012), Dkt. No. 1584. Plaintiffs have effectively conceded this
 point, as their experts uniformly agreed with Defendants’ experts that the “consent” to the Receivership proceeding
 was inapplicable to this Action. See App. 2881[Harris Dep. Tr. at 142:5-18]; App. 3001 [Oquendo Dep. Tr. at
 183:18-24]; App. 2992 [Black Dep. Tr. at 87:9-19]; App. 1848-49 [Bermann Decl. ¶¶ 19-22]; App. 2199-2200
 [Wilske Decl. ¶¶ 37-40]; App. 2578 [Romy Decl. ¶¶ 33-35]; App. 1821-22 [Arias Decl. ¶¶ 25-27]; App. 1788-89
 [Siqueiros Decl. ¶¶ 51-55]; App. 1990 [Hoyos Decl. ¶ 42]; App. 1936-49 [Gidi Decl. ¶¶ 47-53]; App. 1909 [Briggs
 Decl. ¶¶ 67-69]; App. 2171-73 [Walker Decl. ¶¶ 64-70].
 134
           App. 2716-17 [Harris Decl. ¶¶ 20, 21]; App. 2882 [Harris Dep. Tr. at 154:14-25, 239:11, 52:4-8].
                                                            27
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 would recognize and would give preclusive effect to a judgment here. Mr. Harris admits that

 “there are reasonable and respectable arguments that can be made for and against [] recognition,”

 and this is if one assumes that adequate notice was provided to each English class member. He

 stated that his opinion would change if such notice was not provided.135 Mr. Harris was not

 prepared to say anything more than “the law is completely uncertain”; he stated he was not

 capable of saying that England would “more likely than not” recognize a judgment in this

 Action.136 On this record, Plaintiffs lose.

                                   (ii)     Canada

         Plaintiffs have not met their burden to show that Canadian courts will give preclusive

 effect to a judgment in this Action. Janet Walker, a prominent law professor in Toronto and

 author of the foremost book on Canadian conflicts law (Castel & Walker: Canadian Conflict of

 Laws (6th Ed.)), demonstrates that any judgment in this Action would not be given preclusive

 effect by Canadian courts because (a) the Canadian courts have already deputized the Joint

 Liquidators to pursue claims regarding assets for the Stanford estate, including a case against TD

 Bank; (b) class notice in this Action would have to advise class members of the differences

 between the Canadian and U.S. actions and that they were forfeiting all potential entitlements in

 Canada, and a Canadian court would not find it reasonable to bind class members who were silent

 in response; and (c) significant issues exist regarding the adequacy of representation in this

 Action, including the lack of a named Canadian Plaintiff.137 Moreover, Professor Walker explains


 135
            App. 2716, 2751 [Harris Decl. ¶¶ 19, 106]; App. 2878-80 [Harris Dep. Tr. at 50:22-52:8]. Mr. Harris also
 admitted that the Supreme Court of the United Kingdom has reasoned that a U.S. class action judgment would not be
 recognized if English class members had not received adequate notice, in the only English case that explicitly
 considered this issue. See App. 2885-87 [Harris Dep. Tr. at 157:10-159:25].
 136
            App. 2884-85, 2888 [Harris Dep. Tr. at 156:20-157:3, 160:2].
 137
            See App. 2164, 2169 [Walker Decl. ¶¶ 38, 55-56]; App. 3042-44 [Walker Dep. Tr. at 144:16-146:4]. The
 Superior Court of Québec ruled in August 2011 that the Joint Liquidators have exclusive authority to initiate and
 pursue litigation in Canada against TD Bank and related parties regarding the Stanford matter. See App. 2154, 2164-
 65 [Walker Decl. ¶¶ 3, 38-42]. The Québec court’s order “is independently determinative” in Canada “unless and
 until it is varied,” meaning a Canadian court would have to depart from the Québec court’s order to permit other
 proceedings. App. 2165 [Walker Decl. ¶¶ 43-44]. Such variation is unlikely because Canadian jurisprudence strongly
                                                         28
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 why Plaintiffs’ assertion that no other jurisdiction has a significant interest in the Action, Pls.’ Br.

 at 45, is “patently contrary” to the ongoing action in Canada and the Canadian courts’ numerous

 rulings regarding the Stanford estate and the pending case against TD Bank.138 Significantly,

 Plaintiffs’ professor on Canadian law, Vaughan Black, concedes that Canada would likely not

 enforce a plaintiffs-favoring judgment in this Action if it is rendered after the Joint Liquidators’

 case reaches a conclusion.139 This proves Defendants’ point; this Court cannot expect its

 judgment to be enforced in Canada.

         To the extent that Plaintiffs try to piggy-back on earlier, non-binding decisions of other

 district courts like Anwar to meet their burden with respect to common law countries such as

 Canada, these efforts fail. Anwar and other New York cases were decided under different

 circumstances and in reliance on different records and without the significant expert proof

 submitted by Defendants here. For example, several of the foreign jurisdictions have a reciprocity

 test that must be met prior to recognizing and according preclusive effect to a U.S. opt-out class

 action judgment.140 The reciprocity test analyzes whether the law of the state where the judgment

 is issued—here, Texas—would provide for a similar judgment in the foreign jurisdiction to be

 equally recognized and enforced.141 The New York cases Plaintiffs cite do not consider this

 analysis under Texas law, which is the required inquiry before this Court (and which Defendants’

 experts do assess).142 In short, the Court should not certify a global class. Plaintiffs have not

 carried their burden under Rule 23, and Defendants would unfairly face the risk of relitigation in

 favors cross-border adjudication “in the jurisdiction in which the investors would reasonably expect [the case] to be
 decided,” and Canadian courts are “unlikely to endorse the abandonment of the JL’s Canadian Action in favour of the
 proposed U.S. Class Action because the SIB investors would reasonably expect the claims at issue to be decided in
 accordance with Canadian law.” App. 2168-69 [Walker Decl. ¶ 53-54]. Indeed, Plaintiffs allege in their SAC that TD
 Bank is governed by Canadian banking laws. See SAC ¶¶ 65-70.
 138
          E.g., App. 2170 [Walker Decl. ¶ 58].
 139
          See App. 2825-26 [Black Decl. ¶¶ 26-29]; see also App. 2993 [Black Dep. Tr. at 152:10-153:2].
 140
          See, e.g., App. 2143-44 [Reisz Decl. § VIII] (Perú); App. 2546-51 [Zuleta Decl. § 5C] (Colombia); App.
 1816 [Arias Decl. ¶8] (Spain); App. 2195 [Wilske Decl. ¶ 20] (Germany); App. 1778 [Siqueiros Decl. ¶ 22] (Mexico).
 141
          See App. 2552 [Zuleta Decl. at ¶ 71].
 142
          See, e.g., App. 2552-53 [Zuleta Decl. ¶¶ 71-73].
                                                          29
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 each of the relevant foreign jurisdictions. See In re Assicurazioni Generali S.p.A. Holocaust Ins.

 Litig., 228 F. Supp. 2d 348, 364 (S.D.N.Y. 2002) (relying on two prior cases which found it

 “unfair” to certify a class with significant foreign membership where class could “litigate abroad

 in their home countries should they lose in this forum”).

                3.      Plaintiffs Have Not Shown that Putative Class Members Are Unable or
                        Unwilling to Bring Individual Actions

        Plaintiffs fail to establish that a class action is the superior vehicle for adjudicating CD

 investor claims because the evidence does not show that the putative class members are either

 unable or unwilling to sue Defendants individually. Indeed, the record demonstrates the opposite:

 individual Stanford investors are both sufficiently incentivized and capable of directly prosecuting

 their claims. Hundreds—including named putative class representatives in this Action—have

 already done so. Class certification under these circumstances is inappropriate. See Amchem

 Products, Inc. v. Windsor, 521 U.S. 591, 617 (1997); Castano v. Am. Tobacco Co., 84 F.3d 734,

 748 (5th Cir. 1996) (decertifying a class and noting a lack of superiority where “there is reason to

 believe that individual suits are feasible”).

        Plaintiffs allege that putative class members’ losses are too small to justify bringing stand-

 alone suits. See Pls.’ Br. at 6, 42. But Plaintiffs’ only purported proof is an October 2014

 declaration from the Examiner, John J. Little, stating that a 2010 investigation “revealed that

 almost 85% of Stanford Investors had total investments (and losses) of less than $500,000.” Pls.’

 App., Ex. 12 at ¶¶ 6-7, 12. Neither that declaration nor Plaintiffs’ Motion provides any further

 details or backup documentation concerning this investigation.

        Tellingly, elsewhere Plaintiffs highlight that the putative class “exceeds 17,000 investors

 with over $4.4 billion in approved claims.” Pls.’ Br. at 19.           REDACTED




                                                   30
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 REDACTED143 Furthermore, data regarding the named class representatives contradicts
                                                                                                                    REDACTED
 Plaintiffs’ assertions that class members’ claims are “too small” to sufficiently motivate them.

                                                  REDACTED

                                                                                 Courts routinely find that claims

 for far smaller amounts provide individuals with sufficient interest in prosecuting separate actions.

 See, e.g., Ticknor v. Rouses Enters., LLC, 592 F. App’x 276, 277 (5th Cir. 2014) (affirming denial

 of class certification where plaintiffs stood to recover damages between $100 and $1,000,

 attorney’s fees, and potentially punitive damages); Dvorin v. Chesapeake Exploration, LLC, No.

 3:12-CV-3728-G, 2013 WL 6003433, at *9 (N.D. Tex. Nov. 13, 2013) (plaintiffs’ claims for

 “several thousand dollars” each were “not so small as to render a class action a superior method of

 adjudication, as the size of individual claims is generally only sufficient to persuade courts that

 class actions are superior when those individual claims are very small”).

          The record demonstrates that hundreds of Stanford investors have commenced individual

 lawsuits against various individual and corporate third-party defendants—including against one of

 the Defendants named in this Action—to recover losses allegedly suffered in connection with

 Stanford’s Ponzi scheme.144 For example, in a case filed in Louisiana, six plaintiffs individually

 sued Trustmark and others for their Stanford losses.145

          In addition, five of the six named putative class representatives in this Action have asserted

 claims outside of the Receivership process. Mr. Abbott sued his third-party financial advisor in

 Mississippi state court to recover $750,000 that he and others allegedly lost on purchases of SIBL


 143
          See App. 253 [Spreadsheet from Receiver].
 144
          See, e.g., Opp. of Defs.’ Proskauer Rose LLP et al. to Pls.’ Opposed Mot. for Class Certification at 13, n.7,
 Troice v. Proskauer Rose LLP, et al., No. 3:09-cv-01600 (N.D. Tex.), Dkt. No. 197; Willis & Amy Baranoucky’s
 Opp. To Pls.’ Mot. for Class Certification at 55 n.45, Troice v. Willis of Colorado Inc., et al., No. 3:09-cv-01274-N-
 BG (N.D. Tex. Apr. 20, 2015), Dkt. No. 243.
 145
          See Notice of Removal, Dkt. No. 1, Jackson, et al. v. Cox, et al., No. 3:10-cv-00029-EEF-DEK (M.D. La.
 Jan. 11, 2010); see also Opp. of Defs.’ Proskauer Rose LLP et al. to Pls.’ Opposed Mot. for Class Certification at 13,
 Troice v. Proskauer Rose LLP, No. 3:09-cv-01600-N-BG (N.D. Tex), Dkt. No. 197 (April 20, 2015).
                                                           31
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 CDs.146                                               REDACTED
                                                                       147
                                                                             Mr. Abbott and Ms. Elson-Rogers

 have brought FTCA administrative claims against the SEC, and Ms. Alfille de Penhos has

 submitted a NAFTA Arbitration claim against the United States.148 Mr. Estefenn testified that

 there is a group action pending against a Stanford entity in Colombia, from which he could

 potentially recover money damages.149

          That hundreds of putative class members have filed individual lawsuits against a wide

 range of third-party defendants—from individual financial planners to securities brokers and law

 firms—is proof that individual investors are sufficiently motivated and equipped to pursue

 recoveries outside of a class action.

          B.       Plaintiffs Have Not Shown Predominance

          Plaintiffs fail to show that common questions of law or fact will predominate over

 questions affecting only individual class members. See FED. R. CIV. P. 23(b)(3). Adjudication of

 putative class members’ claims will require individualized inquiries, including with respect to (1)

 the law applicable to a putative class member’s claims; (2) whether a putative class member has

 shown reliance; (3) what misrepresentations or omissions were made to a putative class member;

 (4) whether a putative class member’s losses were caused by Defendants’ alleged conduct; (5) a

 putative class member’s damages; and (6) application of defenses. When a trial on the proposed

 class members’ claims will require such separate analyses, predominance does not exist. See

 Dvorin, 2013 WL 6003433 at *8; Ned-Sthran v. Methodist Hosps. of Dallas (d/b/a Methodist

 Health Sys.), et al., No. 3:08-CV-0072, 2008 WL 5420601, at *4-5 (N.D. Tex. Nov. 25, 2008).



 146
          See App. 883 [Dep. Ex. 61 ¶ 21]; App. 2599 [Pls.’ Interrog. Resp. at Pl. Abbott’s Answer to Interrog. No. 7].
 147
          See App. 1376, 1391-92 [Queyrouze Dep. Tr. at 222:3-225:9, 270:10-271:12]; App. 2617-18 [Pls.’ Interrog.
 Resp. at Pl. Queyrouze’s Answer to Interrog. Nos. 7, 8].
 148
          See App. 2600, 2605, 2611 [Pls.’ Interrog. Resp. at Pls.’ Answers to Interrog. No. 7].
 149
          See App. 2979-84 [Estefenn Sept. 10, 2015 Dep. Tr. at 394:24-399:7].
                                                          32
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                   1.       Choice-of-Law Considerations Preclude Certification of a Global or a
                            Nationwide Class

          The laws of numerous jurisdictions apply to the putative class members’ claims.

 Plaintiffs’ failure to undertake a choice-of-law analysis is, as a matter of law, fatal to

 predominance. See Cole, 484 F.3d at 724 (“Failure to engage in an analysis of state law variations

 is grounds for decertification.”); Norwood v. Raytheon Co., 237 F.R.D. 581, 594 (W.D. Tex.

 2006); Gyarmathy & Assoc., Inc. v. TIG Ins. Co., No. 3:02-CV-1245, 2003 WL 21339279, at *1

 n.1 (N.D. Tex. June 3, 2003) (Godbey, J.).150 Although they have no burden, Defendants present

 an analysis of Texas choice-of-law rules (which Plaintiffs fail to perform) and a comparison of

 foreign laws (which Plaintiffs fail to undertake) to demonstrate that significant differences

 between the laws of the numerous jurisdictions that are applicable to claims by putative class

 members preclude certification. Unlike in federal securities cases, certification of a nationwide

 class is improper here because, inter alia, (a) there is no overriding federal law to apply, (b) the

 securities at issue were sold in one-on-one transactions instead of on a regulated exchange, and (c)

 reliance cannot be presumed for the class. Plaintiffs here assert distinctly state law claims

 regarding individualized purchases that occurred in widely varying circumstances.

                            a.        Different Jurisdictions’ Laws Apply to The Putative Class
                                      Members’ Claims

          Plaintiffs globally argue that Texas law applies to every cause of action, but they are

 wrong. Texas federal courts sitting in diversity follow Texas choice-of-law rules, which apply the

 “most significant relationship” test from the Restatement (Second) of Conflict of Laws

 (“Restatement”) to tort claims. Spence, 227 F.3d at 311. Under this test, “the Court must apply an


 150
          See also Spence v. Glock, Ges.m.b.H., 227 F.3d 308, 316 (5th Cir. 2000) (“By not providing the district court
 with a sufficient basis for a proper choice of law analysis or a workable sub-class plan, the plaintiffs failed to meet
 their burden of demonstrating that common questions of law predominate.”); Lee v. Am. Airlines, Inc., No. 3:01-CV-
 1179-P, 2002 WL 31230803, at *12 (N.D. Tex. Sept. 20, 2002) (“Because Plaintiff has not provided the Court with
 the factual information necessary to conduct a proper choice-of-law analysis, . . . the Court finds that Plaintiff has not
 sustained its burden of establishing the element of predominance and that certification is proper.”).
                                                            33
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 individualized choice-of-law analysis to each plaintiff’s claims” and with respect to each cause of

 action. Lee, 2002 WL 31230803, at *11; see also Janvey v. Alguire, No. 3:09-CV-0724-N, 2013

 WL 2451738, at *3 (N.D. Tex. Jan. 22, 2013) (Godbey, J.) (finding an individual choice of law is

 necessary “for each plaintiff”); Casa Orlando Apartments, Ltd. v. Fed. Nat. Mortgage Ass’n, 624

 F.3d 185, 191 (5th Cir. 2010) (“The choice of law is evaluated issue by issue.”). Application of

 this test shows that the laws of a panoply of jurisdictions apply to the claims of putative class

 members residing in the U.S. and internationally.

          For aiding and abetting fraud claims, Restatement § 148 applies. See In re Enron Corp.

 Sec., Derivative & “ERISA” Litig., 511 F. Supp. 2d 742, 793 (S.D. Tex. 2005). Section 148

 provides for application of the law where the investor received false representations and acted on

 them: “[w]hen the plaintiff has suffered pecuniary harm on account of his reliance on the

 defendant’s false representations and when the plaintiff’s action in reliance took place in the state

 where the false representations were made and received, the local law of this state [or country]

 determines the rights and liabilities of the parties.”151 The testimony of the six proposed

 representatives confirms that they received sales information and made purchases all over the

 map. 152 Accordingly, each of Plaintiffs’ fraud-related claims is governed by a different state’s or


 151
           Restatement § 148(1). If “the plaintiff’s action in reliance took place in whole or in part in a state other than
 that where the false representations were made,” the above-referenced presumption is inapplicable and the court
 should consider: “(a) the place, or places, where the plaintiff acted in reliance upon the defendant’s representations,
 (b) the place where the plaintiff received the representations, (c) the place where the defendant made the
 representations, (d) the domicile, residence, nationality, place of incorporation and place of business of the parties, (e)
 the place where a tangible thing which is the subject of the transaction between the parties was situated at the time,
 and (f) the place where the plaintiff is to render performance under a contract which he has been induced to enter by
 the false representations of the defendant.” Id. at § 148(2).
 152
           For example, Mr. Abbott met his financial advisor and purchased his SIBL CDs in Mississippi. See App.
 1445-46 [Abbott Dep. Tr. at 215:18-216:21]. Ms. Suarez met with her financial advisor in Florida and made deposits
 from Florida or Venezuela. See App. 1620-21, 1624-25, 1656 [Suarez July 1, 2015 Dep. Tr. at 78:22-79:21, 88:20-23,
 89:10-15, 236:12-19]. Ms. Elson-Rogers purchased SIBL CDs when living in Greece, after meeting with her financial
 advisors in her home there, and in North Carolina based on repeated email assurances from her advisor. See App.
 1471, 1489-94, 1495-96, 1499 [Elson-Rogers Dep. Tr. at 44:18-25, 92:1-97:10, 98:11-99:6, 106:18-21]. Mr.
 Queyrouze met with his financial advisor and decided to purchase SIBL CDs in Louisiana. See App. 1341-45, 1355,
 1367-68 [Queyrouze Dep. Tr. at 17:20-21:1, 56:19-24, 157:1-158:6]. Mr. Estefenn met with his financial advisor in
 Miami and made purchases while living in Colombia. See App. 1688-91 [Estefenn July 2, 2015 Dep. Tr. at 112:5-
 115:13]; App. 2627 [Pls.’ Interrog. Resp. at Pl. Estefenn’s Answer to Interrog. No. 1]. Ms. Penhos invested from
                                                            34
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 country’s laws.

          Separate choice-of-law analyses are required for Plaintiffs’ other causes of actions as well.

 Turning to the claim for aiding and abetting breach of fiduciary duty, the Court must consider the

 factors applicable to tort claims generally, which are set forth in Restatement § 145: “(a) the place

 where the injury occurred, (b) the place where the conduct causing the injury occurred, (c) the

 domicile, residence, nationality, place of incorporation and place of business of the parties, and (d)

 the place where the relationship, if any, between the parties is centered.” See Casa Orlando, 624

 F.3d at 191 (applying Restatement § 145 to breach of fiduciary duty claim); Berry v. Indianapolis

 Life Ins. Co., No. 3:08-CV-0248-B, 2009 WL 424545, at *3 (N.D. Tex. Feb. 19, 2009) (Boyle, J.)

 (“In tort cases, ‘the applicable law will usually be the local law of the state where the injury

 occurred.’”). Plaintiffs’ SAC alleges the breach of a fiduciary duty owed by the Stanford entities

 and their directors and officers to investors.153 While Defendants have demonstrated in their

 motions to dismiss that no such fiduciary relationship exists, the law that would govern such a

 claim is the law of the investors’ domicile or the domicile of SIBL and its directors and officers.154

 Again, because the investors were domiciled all over the world, the laws of multiple jurisdictions

 are implicated. First, putative class members were injured in their place of domicile. Second, the

 conduct causing the injury occurred in investors’ domicile or that of SIBL, which was domiciled



 Mexico. See App. 1530-31, 1538, 1540 [Penhos Dep. Tr. at 36:4-37:8, 60:17-21, 62:1-3]; App. 2609 [Pls.’ Interrog.
 Resp. at Pl. Penhos’s Answer to Interrog. No. 1]. None of their meetings or purchases took place in Texas.
 153
           See SAC ¶¶ 439, 442. Plaintiffs also claim that SIBL’s officers and directors breached a fiduciary duty to
 SIBL, Dkt. No. 304 at 26, and that Stanford financial advisors breached a fiduciary duty to investors. See Dkt. No.
 309 at 8-9. Defendants continue to contest that any of Plaintiffs’ alleged fiduciary duties exist and incorporate by
 reference their motion to dismiss arguments. See Dkt. Nos. 293, 297, 298, 299, 307, 309, 311, 314. To the extent that
 a fiduciary relationship exists between SIBL and its directors, Plaintiffs lack standing to bring this claim as CD
 investors. See Dkt. No. 297 at 22 n.29.
 154
           Because Restatement § 145 provides for specific factors to be weighed when evaluating tort claims, the Court
 need not rely on the general principles set forth in Restatement § 6. However, the § 6 principles further support the
 application of multiple jurisdictions’ laws. The first, and “most important,” interest enumerated in § 6 is “the needs of
 the interstate and international systems.” See Restatement (Second) Conflict of Laws § 6 and Cmt. d. This requires
 the Court to respect the laws of all jurisdictions interested in this dispute. See Casa Orlando, 624 F.3d at 193 (“[T]he
 needs of the interstate system direct us not to ignore relevant states’ interests . . . by applying [law of the jurisdiction
 of Defendant’s headquarters] to all matters of this case.”).
                                                             35
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 in St. Johns, Antigua. See Compl. ¶ 19, Sec. & Exch. Comm’n v. Stanford Int’l Bank, Ltd., et al.,

 No. 3:09-cv-0298-N (N.D. Tex. Feb. 16, 2009), Dkt. No. 1. The alleged aiding and abetting by

 the Banks supposedly occurred in Defendants’ places of business, which are also geographically

 dispersed. See SAC ¶¶ 19–24. Third, the domicile of the parties favors the application of the law

 of the investor’s domicile or Defendants’ four different places of incorporation. Finally, the

 alleged fiduciary relationships between SIBL and the Stanford directors and officers, on the one

 hand, and the investors, on the other hand, were also centered in investors’ domiciles or in

 Antigua. Given Stanford’s geographically-dispersed sales activities, Fifth Circuit precedent

 indicates the Court should apply the law where the investors were located. See Casa Orlando, 624

 F.3d at 193 (holding that “no single jurisdictional law [] can be applied to the class as a whole” for

 breach of fiduciary duty claim against Washington, D.C.-headquartered defendant that contacted

 putative class members through regional offices nationwide).

        Plaintiffs’ claims for aiding and abetting conversion and conspiracy are also tort claims

 that require application of the Restatement § 145 factors. See Pemex Exploración y Producción v.

 BASF Corp., No. H-10-1997, 2011 WL 9523407, at *7 (S.D. Tex. Oct. 20, 2011) (applying § 145

 to conversion claim); ASARCO LLC v. Ams. Min. Corp., 382 B.R. 49, 73-74 (S.D. Tex. 2007)

 (applying § 145 to conspiracy claim). As discussed above, these factors favor application of the

 laws of numerous jurisdictions around the country and world where investors lived and formed

 and maintained relationships with SIBL and their Stanford financial advisors.

        As for Plaintiffs’ Texas Securities Act (“TSA”) claim, the applicable choice-of-law inquiry

 depends on the nature of the TSA violation Plaintiffs allege, which cannot be determined from

 Plaintiffs’ vague pleading. See Dkt. No. 307. To the extent Plaintiffs claim the primary violation

 was the sale of unregistered securities, SAC ¶ 235, the claim cannot be brought by putative class

 members who are non-Texans or who were not present in Texas when the offer of sale was made.


                                                  36
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 See Tex. State Sec. Bd., Rule 139.7(a) (2015). Given that fewer than 1,300 Receivership

 claimants are from Texas (less than 7.4% of the class), the vast majority of the putative class

 members likely made their purchases outside of Texas, which would bar them from bringing this

 claim. 155 To the extent Plaintiffs claim the primary TSA violation was the sale of securities

 through untruths and omissions, Restatement § 148 may apply.156 See In re Enron Corp. Sec.,

 Derivative & “ERISA” Litig., 761 F. Supp. 2d 504, 534 (S.D. Tex. 2011) (applying Restatement §

 148 to TSA claim for untruths and omissions). However, an “extensive analysis” is still required,

 because the TSA does not automatically apply “in every securities case involving facts touching

 Texas or its residents.” Citizens Ins. Co. of Am. v. Daccach, 217 S.W.3d 430, 442 (Tex. 2007).

 Indeed, to apply Texas law to the entire class would be “contrary to the policies of other state

 ‘blue sky’ laws.” Id. (Jefferson, J., concurring). While the TSA may apply to Texas investors

 who purchased CDs and sustained losses in Texas, under Restatement § 148, the law applicable to

 claims by other class members can only be determined by an extensive analysis of the local fraud

 laws of the 106 countries and 47 states where the putative class members live.

                            b.       Significant Differences in Applicable Laws Defeat
                                     Predominance

          Plaintiffs must demonstrate that a choice-of-law analysis does not reveal variances in

 applicable laws that defeat predominance. See Stirman v. Exxon Corp., 280 F.3d 554, 564-65 &

 n.9 (5th Cir. 2002) (in order for common issues to predominate, “[t]he relevant state laws must be

 uniform in [] necessary aspects”). Plaintiffs fail to undertake any such analysis, blithely ignoring

 major differences in numerous jurisdictions’ laws. Defendants, however, have undertaken a

 155
           See App. 649 [ABBOTT_00006].
 156
           Defendants also contest the extraterritorial application of the TSA to foreign purchases of Stanford CDs by
 foreign individuals in light of the Supreme Court’s decision in Morrison v. Nat’l Austl. Bank, Ltd., 561 U.S. 247
 (2010). Although this Court has previously held that the TSA’s untruth or omission provision may be applied
 extraterritorially, the Court has also acknowledged that Texas courts have not addressed the issue. See Janvey v.
 Willis of Colorado, No. 13-cv-03980-N-BG (N.D. Tex.), Dkt. No. 64, at 19-21. Defendants believe that
 extraterritorial application of the TSA is an improper and unconstitutional extension of this state statute to foreign
 transactions brought by foreign individuals involving foreign securities.
                                                           37
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 comprehensive analysis of state law variances across all fifty states with respect to the four

 common law claims in this Action. Defendants attach an executive summary of the results as

 Appendix H to this brief and include the complete results as Exhibits 9 to 12 in the Appendix. As

 demonstrated by this survey, and as highlighted below, there is considerable variation in the laws

 applicable to Plaintiffs’ claims of aiding and abetting fraud, aiding and abetting breach of

 fiduciary duty, aiding and abetting conversion, and civil conspiracy. Many states do not recognize

 certain of these claims, while others differ significantly as to their required elements.

         For example, some states, such as Louisiana and Ohio, do not recognize aiding and

 abetting tort claims at all. See Broyles v. Cantor Fitzgerald & Co., No. 10-854-JJB, 2014 WL

 6886158, at *5 (M.D. La. Dec. 8, 2014); Fed. Mgt. Co. v. Coopers & Lybrand, 738 N.E.2d 842,

 853 (Ohio Ct. App. 2000). Other states, including Texas, Kentucky, Utah, and Missouri, question

 the scope, if not the existence, of such claims. Grant Thornton LLP v. Prospect High Income

 Fund, ML CBO IV (Cayman), Ltd., 314 S.W.3d 913, 930 n.28 (Tex. 2010); Peoples Bank of N.

 Ky., Inc. v. Crowe Chizek & Co. LLC, 277 S.W.3d 255, 260 (Ky. Ct. App. 2008); Albright v.

 Attorney’s Title Ins. Fund, No. 2:03-cv-517, 2008 WL 2952260, at *12 (D. Utah July 28, 2008);

 Jo Ann Howard & Assocs., P.C. v. Cassity, No. 4:09-cv-01252, 2012 WL 3984486, at *6 (E.D.

 Mo. Sept. 11, 2012). Still others only speculate as to the existence of such claims. In re Felt Mfg.

 Co., Inc., 371 B.R. 589, 615 (Bankr. D.N.H. 2007).

         Likewise, domestic blue sky laws can vary significantly from state to state. For instance,

 when Mr. Abbott sued his financial advisor in Mississippi, he brought claims under the

 Mississippi Securities Act (the “MSA”).157 The TSA and the MSA conflict on key issues.

 Significantly, the MSA permits aiding and abetting claims only against employees of the seller,

 broker-dealers, or agents. Miss. Code Ann. § 75-71-719 (1981). Plaintiffs thus cannot bring

 157
          See App. 885 [Dep. Ex. 61 ¶¶ 29-30]; App. 2599 [Pls.’ Interrog. Resp. at Pl. Abbott’s Answer to Interrog.
 No. 7]; Miss. Stat. Ann. § 75-71-101 et seq. (1981).
                                                          38
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 claims against Defendants under the MSA.

        Material variations permeate state fraud claims. For example, the standards of proof for

 the elements of fraud vary by state. Compare Stuart v. Freiberg, 116 A.3d 1195, 1203-04 (Conn.

 2015) (noting that elements of fraud must be “show[n] by clear and convincing evidence”); In re

 Estate of Dugger, No. 224629, 2000 WL 1528710, at *4 (Del. Ch. Sept. 29, 2000) (same); Ibarra

 v. Izaguirre, 985 So.2d 1117, 1119 (Fla. Dist. Ct. App. 2008) (same), with In re Estate of

 Kindsfather, 108 P.3d 487, 490 (Mont. 2005) (fraud must be proven by a “preponderance of the

 evidence”); Tyson Foods v. Davis, 66 S.W.3d 568, 577 (Ark. 2002) (same); Ostalkiewicz v.

 Guardian Alarm, Div. of Colbert’s Sec. Servs., Inc., 520 A.2d 563, 569 (R.I. 1987) (same). There

 are also marked differences in the required elements: some states permit fraud claims where the

 statement is made “recklessly without any knowledge of its truth,” PCR Contractors, Inc. v.

 Danial, 354 S.W.3d 610, 615 (Ky. Ct. App. 2011), while other states require actual knowledge

 that the statement is false, see Alliance Grp. Servs., Inc. v. Grassi & Co., 406 F. Supp. 2d 157, 167

 (D. Conn. 2005).

        The standards for a conspiracy claim also vary significantly. Some states require clear and

 convincing evidence, see McClure v. Owens Corning Fiberglas Corp., 720 N.E.2d 242, 258 (Ill.

 1999); while others require specific intent, Tremco, Inc. v. Holman, No. C8-96-2139, 1997 WL

 423575, at *4 (Minn. Ct. App. July 29, 1997); and others still require malice, see Gibson v. City

 Yellow Cab Co., No. 20167, 2001 WL 123467, at *3 (Ohio Ct. App. Feb. 14, 2001). Differences

 for the conversion and breach of fiduciary duty claims are addressed in the executive summary at

 Appendix H to this brief and the detailed 50-state surveys.

        States also vary widely as to the applicable statutes of limitations. See, e.g., Winn Fuel

 Serv., Inc. v. Booth, 34 So.3d 515, 519 (La. Ct. App. 2010) (one year for fraud); Bennett v.

 McKibben, 915 P.2d 400, 405 (Okla. Civ. App. 1996) (two years for fraud); Orem v. Ivy Tech


                                                  39
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 State Coll., 711 N.E.2d 864, 870 n.7 (Ind. Ct. App. 1999) (six years for fraud); Serrano v.

 Serrano, No. 1 CA-CV 10-0649, 2012 WL 75639, at *6 (Ariz. Ct. App. Jan. 10, 2012) (two years

 for breach of fiduciary duty); Cmty. Title Co. v. U.S. Title Guar. Co., 965 S.W.2d 245, 253 (Mo.

 Ct. App. 1998) (five years for breach of fiduciary duty). Accordingly, this Court would be

 required to analyze the relevant statute of limitations for each claim under each jurisdiction’s law

 and then apply a dizzying patchwork of different time bars.

         What is more, because Plaintiffs seek certification of a worldwide class, the Court must

 also consider foreign countries’ laws. See Norwood, 237 F.R.D. at 596. England, for instance,

 where many putative class members are domiciled, “does not recognize claims for aiding and

 abetting common law fraud.” In re BP P.L.C. Sec. Litig., No. 4:12-CV-1256, 2013 WL 6383968,

 at *36 (S.D. Tex. Dec. 5, 2013) (dismissing claims after determining English law applies).

 Plaintiffs’ Professor Oquendo admitted that civil conspiracy is not a recognized claim in Latin

 America and did not know whether conversion was a recognized claim in the six countries on

 which he opined.158 In other instances, the foreign jurisdiction defines the claim with substantially

 different elements, standards, or degrees of fault. See In re BP P.L.C. Sec. Litig., 2013 WL

 6383968, at *36 (discussing differences between common law claims and English law). Civil law

 jurisdictions comprise a significant portion of Plaintiffs’ putative class, yet “[t]he civil law simply

 contains no relevant concept comparable to that of conversion.” Fed. Ins. Co. I.C. v. Banco de

 Ponce, 751 F.2d 38, 41-42 (1st Cir. 1984) (noting the significant differences in the degrees of fault

 required under civil law and acknowledging that “the history of conversion reveals that it is a

 quintessential common law claim”).159



 158
          See App. 2999-3000 [Oquendo Dep. Tr. at 154:3-155:11].
 159
          As another example, in Mexico, “specific common law torts are not recognized.” Curley v. AMR Corp., 153
 F.3d 5, 14 (2d Cir. 1998). Courts therefore attempt to map U.S. common law claims onto Mexico’s Civil Code
 provision prohibiting acts “against good customs and habits.” Id. Moreover, Mexico follows a federal system, in
 which individual Mexican states have their own civil codes, which may require distinct analyses for claims brought by
                                                          40
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         The Court must also consider foreign statutes of limitations. A Texas court applying the

 law of a different jurisdiction must apply the foreign jurisdiction’s statute of limitations if “the

 foreign jurisdiction’s statute creates a right and also incorporates a limitation upon the time within

 which the suit is to be brought.” Ellis v. Great Sw. Corp., 646 F.2d 1099, 1111 (5th Cir. 1981).

 The Court would thus be faced with the daunting prospect of determining the statutes of

 limitations for four different claims under the laws of more than 150 jurisdictions. See, e.g.,

 Ramsay v. Boeing Co., 432 F.2d 592, 595 (5th Cir. 1970) (applying Belgian statute of limitations

 that was incorporated into the substantive law of the cause of action). This alone makes the

 putative class too unwieldy to warrant certification.

         Numerous courts have already held that application of materially different foreign and state

 laws and their respective statutes of limitations overwhelms common issues and precludes

 certification. See Casa Orlando, 624 F.3d at 185, 196 (5th Cir. 2010) (affirming denial of

 certification where multiple jurisdictions’ laws applied to putative class members’ claims); Kelley

 v. Galveston Autoplex, 196 F.R.D. 471, 478 (S.D. Tex. 2000) (finding “class action is an

 inappropriate vehicle” because of individualized determinations necessary with respect to statute

 of limitations and tolling); Gyarmathy, 2003 WL 21339279, at *1 (finding that because “a Texas

 court would apply the law of each insureds’ states of residence . . . [plaintiff] has . . . failed to

 show that common issues of law predominate”); Norwood, 237 F.R.D. at 602 (“Defendants have

 demonstrated numerous variations in state and foreign laws that could swamp the proffered

 common issues and defeat predominance for each cause of action.”); Corley v. Entergy Corp., 220

 F.R.D. 478, 488 (E.D. Tex. 2004) (“[V]arying statutes of limitations, as well as their differing

 effects on Plaintiffs’ claims, slay predominance.”), aff’d sub nom. Corley v. Orangefield Indep.

 Sch. Dist., 152 F. App’x 350 (5th Cir. 2005). This Court should reach the same conclusion.


 residents of different states. See, e.g., Gardner v. Best Western Int’l, Inc., 929 S.W.2d 474, 479-80 (Tex. App.—
 Texarkana 1996, writ denied).
                                                          41
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                   2.       Individual Issues of Misrepresentations and Omissions to Putative
                            Class Members Predominate

          To establish fraud-based claims under Texas law, Plaintiffs generally must show that “a

 material representation was made” and that such representation “was false.” Johnson & Higgins

 of Tex., Inc. v. Kenneco Energy, Inc., 962 S.W.2d 507, 524 (Tex. 1998); see also Zorrilla v. Aypco

 Constr. II, LLC, No. 14-0067, 2015 WL 3641299, at *7 (Tex. June 12, 2015).160 Similarly, to

 establish a fraud-by-omission claim under Texas law, Plaintiffs must show that a party failed to

 disclose a material fact that it had a duty to disclose. See Ins. Co. of N. Am. v. Morris, 981 S.W.2d

 667, 674 (Tex. 1998); see also Tex. Rev. Civ. Stat. Ann. art. 581-33(A)(2) (2015) (stating that

 omission must concern “a material fact necessary in order to make the statements made, in the

 light of the circumstances under which they are made, not misleading”). Unique, individualized

 issues with respect to representations and omissions received by putative class members are

 grounds for not certifying a class. See FED. R. CIV. P. 23 Advisory Committee Notes (1966

 Amendment, Subdivision (b)(3); Simon v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 482 F.2d

 880, 882 (5th Cir. 1973) (class certification is inappropriate where “writings contain material

 variations, emanate from several sources, or do not actually reach the subject investors”).

          Here, class certification is inappropriate because this Action involves a multitude of widely

 varying representations that were allegedly communicated to individual putative class members in

 different ways under a wide range of circumstances. Indeed, sworn testimony by the proposed

 class representatives demonstrates dramatic variations in the substance and circumstances of the

 representations upon which individual putative class members purportedly relied. Moreover,

 given that four of the class plaintiffs testified that they relied exclusively on oral representations

 when initially purchasing SIBL CDs and that the CDs were sold through individual financial



 160
          While Defendants cite to Texas law for illustrative purposes, Defendants reiterate that the elements of fraud
 will vary based on the applicable law of the foreign country or state that applies to each investor.
                                                           42
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 advisors,161 the Court may conclude that a vast portion of the class purchased CDs based on oral

 statements. Courts deny class certification in such scenarios. See, e.g., Simon, 482 F.2d at 882

 (“[C]ourts usually hold that an action based substantially, as here, on oral rather than written

 misrepresentations cannot be maintained as a class action”).

         Plaintiffs themselves have acknowledged that: (1) Stanford could have provided different

 materials and information to different investors; (2) the 17,000 class members could thus be

 relying on a “different mix of materials”; and (3) to determine what the 17,000 class members

 relied on, one would need to go talk to each one.162 This Court has denied class certification in

 substantially similar circumstances. See Gyarmathy, 2003 WL 21339279.

         In Gyarmathy, the plaintiff purchased a worker’s compensation policy from an insurance

 company. Id. at *1. Seeking to certify a class action based on alleged misrepresentations and

 omissions in the insurance company’s printed materials, the Gyarmathy plaintiff alleged—like

 Plaintiffs here—that those written materials “omitted the same material information,” and

 therefore the actionable misrepresentations were identical. Id. at *2. This Court rejected that

 argument, explaining that

         While the text of the [written materials] may have been identical, the record before
         the Court shows that those documents were not delivered to the putative class
         members in identical contexts. Many of the potential class members placed their
         coverage through brokers. The record reflects that at least some potential class
         members received varying representations from their brokers above and beyond
         what is contained in the [written materials]. . . . Accordingly, the Court finds that
         common issues of fact do not predominate.

 Id. at *3. Other courts have reached similar conclusions. See, e.g., In re Park Cent. Global Litig.,

 No. 3:09-cv-765-M, 2014 WL 4261950, at *13 (N.D. Tex. Aug. 25, 2014).

         Plaintiffs argue that Stanford made a single, purportedly common “omission,” i.e., that he

 161
          See, e.g., App. 1367-68 [Queyrouze Dep. Tr. at 157:1-158:6]; App. 1415-16 [Abbott Dep. Tr. at 45:14-
 46:18]; App. 1623 [Suarez July 1, 2015 Dep. Tr. at 82:3-23]; App. 1693, 1695 [Estefenn July 2, 2015 Dep. Tr. at
 118:17-19, 120:10-15].
 162
          See App. 1497-98 [Elson-Rogers Dep. Tr. at 103:18-104:7]; App. 1368 [Queyrouze Dep. Tr. at 158:7-20];
 App. 1698-99 [Estefenn July 2, 2015 Dep. Tr. at 132:21-133:6].
                                                        43
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 “misappropriated investors’ deposits to bankroll other Stanford Entities and for his personal use,”

 Pls.’ Br. at 33, and that this satisfies the predominance requirement. But that allegedly common

 omission was made in the context of over 17,000 widely varying sales pitches that were laced with

 different combinations of words, assurances, and explanations for high yields and manageable

 risks. 163 For example, Mr. Abbott bought because his advisor, John Mark Holliday, assured him

 that Stanford was safe.164 Ms. Suarez bought because her advisor, Maria Villanueva, said the CDs

 were secure and offered high interest rates.165 Mr. Estefenn bought because his father and his

 financial advisor said the CDs were a good investment.166 In a trial in this Action, individualized

 inquiries into the nature of the representations and omissions on which Plaintiffs allegedly relied,

 and the circumstances in which they occurred, will clearly predominate over any common issues.

                   3.       Individual Issues of Reliance Predominate

          In addition to individualized inquiries regarding misrepresentations, unique reliance issues

 will prevent common adjudication. Because Stanford CDs were not traded in an efficient market,

 Plaintiffs cannot satisfy this obligation by presuming that every alleged misstatement was

 reflected in the CDs’ prices. See generally Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct.

 2398, 2417 (2014). Moreover, Plaintiffs admit that they must also show that their reliance on any

 omission was justifiable. See Pls.’ Br. at 31. Whether any reliance was justifiable is an inherently

 individualized question. To prove fraud, a plaintiff must generally show that “the party acted in

 reliance upon” an alleged representation or omission. E.g., Johnson & Higgins, 962 S.W.2d at

 524. Plaintiffs’ civil conspiracy claim also requires a showing of reliance because it requires proof

 163
          Cases, such as this one, that are grounded in misrepresentations cannot be automatically transformed into
 omissions cases through artful re-characterization. See, e.g., Regents of Univ. of Cal., 482 F.3d at 384 (5th Cir. 2007)
 (finding that “[m]erely pleading that defendants failed to fulfill . . . [a] duty [to disclose material information] by
 means of a scheme or an act, rather than by a misleading statement, does not entitle plaintiffs to employ” Affiliated
 Ute presumption); Smith v. Ayres, 845 F.2d 1360, 1363 (5th Cir. 1988) (stating that Affiliated Ute presumption does
 not apply where “[n]on-disclosure is relevant only as it makes the statements either false or misleading”).
 164
          See App. 1416-17 [Abbott Dep. Tr. at 46:13-47:7].
 165
          See App. 1622, 1629-30 [Suarez July 1, 2015 Dep. Tr. at 80:2-11, 118:23-119:21].
 166
          See App. 1678 [Estefenn July 2, 2015 Dep. Tr. at 47:5-20].
                                                            44
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 of an underlying tort (here, fraud). See,e.g., Ernst & Young, L.L.P. v. Pac. Mut. Life Ins. Co., 51

 S.W.3d 573, 577, 582-83 (Tex. 2001) (if underlying fraud claim fails, the fraud-based conspiracy

 claim fails as well). Thus, Plaintiffs will need to demonstrate that each of the roughly 17,000

 Stanford investors who make up the proposed class relied upon common misrepresentations or

 omissions in making their purchases of SIBL CDs.167 The evidence, however, demonstrates that

 the putative class members bought CDs following tens of thousands of widely varying

 conversations that took place in innumerable conference rooms, offices, and investors’ kitchens

 and living rooms, as well as over the phone, in emails, faxes, and other writings.

                            a.       Courts Refuse to Certify Classes Based On Reliance Grounds

          “The element of reliance cannot be proved on a class-wide basis through evidence

 common to the class.” Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1195

 (2013); Sandwich Chef, Inc. v. Nat’l Ins. Co., 319 F.3d 205, 219-20 (5th Cir. 2003). Courts in the

 Fifth Circuit—including this Court—have consistently held that “a fraud class action cannot be

 certified when individual reliance will be an issue.” Regents of Univ. of Cal., 482 F.3d at 383; see

 also Unger v. Amedisys Inc., 401 F.3d 316, 321-22 (5th Cir. 2005) (same); Simon v. Merrill

 Lynch, Pierce, Fenner & Smith, Inc., 482 F.2d 880, 882 (5th Cir. 1973) (“If there is any material

 variation in the representations made or in the degrees of reliance thereupon, a fraud case may be

 unsuited for treatment as a class action.”); In re Enron Corp., 2006 WL 1662596, at *17 (S.D.

 Tex. June 7, 2006).


 167
           Although Plaintiffs argue that the TSA “does not require an investor to show that she relied on a defendant’s
 omissions when purchasing the fraudulent security,” Pls.’ Br. at 31, the TSA explicitly provides for liability only
 when a person buys a security that was sold “by means of” an untruth or omission. Art. 581-33(A)(2). Courts have
 interpreted that language to mean that the alleged untruth or omission must have “induced” the purchase. See
 Crescendo Invs., Inc. v. Brice, 61 S.W.3d 465, 475 (Tex. App.—San Antonio 2001, pet. denied); Calpetco 1981 v.
 Marshall Exploration, Inc., 989 F.2d 1408, 1419 n.24 (5th Cir. 1993). As a consequence, at a minimum, it will be an
 individualized issue for each class member whether he or she indeed was not told about or did not know or suspect the
 alleged omission. That is, an omission as to each individual class member cannot simply be assumed under the law; it
 must be proven individually. See, e.g., Proppant Solutions, LLC v. Delgado, 2015 WL 4299503, No. 01–14–00800–
 CV, at *14 (Tex. App.—Houston [1st Dist.] 2015, no pet.) (stating that plaintiff must prove in omissions case both
 that it was ignorant of alleged omission and did not have equal opportunity to discover truth).
                                                           45
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        Indeed, in Gyarmathy, this Court rejected a plaintiff’s request for the Court “to infer class-

 wide reliance and avoid the problems in individualized proof.” The Court concluded that

 “[i]ndividual issues of reliance or cause in fact preclude class certification of fraud [claims].”

 2003 WL 21339279 at *2. This Court reached a similar ruling in Bell v. Ascendant Solutions,

 commenting that, “[l]acking the presumption of reliance, the question of individual reliance must

 be proved for each Plaintiff, and the Rule 23 requirement of predominance is not established.”

 2004 WL 1490009, at *5.

        Here, as in Gyarmathy and Bell, determining whether and to what extent each putative

 class member relied on alleged misrepresentations and/or omissions will require individualized

 inquiries into, inter alia: (i) the specific representations and/or omissions made to each investor

 (which varied greatly); (ii) when each investor invested and what information was available to

 such investor at that time; (iii) what diligence each investor performed in connection with his or

 her investment; (iv) each investor’s risk tolerance; and (v) each investor’s sophistication. These

 individualized inquiries defeat predominance. See, e.g., Castano, 84 F.3d at 743 n.15 (describing

 how numerous “factual differences”—e.g., differences in class members’ knowledge, risk

 exposure, and relevant time periods—predominate over common problems).

                        b.      There Is No Presumption of Reliance

        Plaintiffs argue that the Court “may” apply a “presumption of reliance” because they have

 alleged a purportedly “uniform” and “consistent” omission. Pls.’ Br. at 31-32. But that is not the

 law. Numerous courts in this Circuit, again including this Court, have made it clear that

 presumptions of reliance apply only in discrete and unique situations, none of which is present

 here. For instance, the Affiliated Ute presumption applies only to federal securities cases brought

 under 17 C.F.R. 240.10b-5 (“Rule 10b-5”), not to common law fraud claims, such as those

 asserted in this Action. See Gyarmathy, 2003 WL 21339279, at *3 n.6 (“The Fifth Circuit has

 rejected extending an Affiliated Ute presumption beyond fraud on the market securities theories to
                                                 46
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 this sort of class action context. This Court declines to rush in where the Fifth Circuit fears to

 tread.”); Simms v. Jones, 296 F.R.D. 485, 509-10 (N.D. Tex. 2013).168 Nor does the Affiliated Ute

 presumption apply to claims for affirmative false and misleading statements or “mixed claims”

 that Plaintiffs allege here, which consist of both affirmative misrepresentations and omissions.

 See Smith v. Ayres, 845 F.2d 1360, 1363 (5th Cir. 1988).169 In fact, “the vast majority of states

 have never adopted a rule allowing reliance to be presumed in common law fraud cases, and some

 states have expressly rejected such a proposition.” In re Ford Motor Co. Vehicle Paint Litig., 182

 F.R.D. 214, 221-22 (E.D. La. 1998) (collecting cases). Because Plaintiffs are not entitled to a

 presumption of reliance, individualized inquiries into each putative class member’s reliance will

 defeat predominance.

                   4.       Individual Issues of Causation Predominate

          Predominance is also lacking when questions of causation require individualized inquiry.

 See Steering Comm. v. Exxon Mobil Corp., 461 F.3d 598, 602-04 (5th Cir. 2006). For each of

 their claims, Plaintiffs must show a nexus between Defendants’ alleged wrongful conduct and

 their purported injury. See, e.g., Troice v. Proskauer Rose LLP, No. 3:09-CV-1600-N, 2015 WL

 1219522, at *9, *11-12 (N.D. Tex. Mar. 4, 2015) (Godbey, J.) (noting that causation is question of

 fact for claims for aiding and abetting fraud, aiding and abetting violations of the TSA, and civil

 conspiracy). Plaintiffs try to plead causation by asserting that “Defendants’ actions, in

 combination with the actions of R.A. Stanford and Jim Davis, are a proximate cause of actual

 damages to Plaintiffs and the Class.”170 Plaintiffs’ Motion argues that “but for the Banks having


 168
          Plaintiffs’ reliance on various Southern District of New York cases, see Pls.’ Br. at 32, is likewise misplaced.
 These cases speak only to individual plaintiffs with an evidentiary record of reasonable reliance. See, e.g., King Cnty.,
 Wash. v. IKB Deutsche Industriebank AG, 916 F. Supp. 2d 442, 452 (S.D.N.Y. 2013). These cases cannot be applied
 here given that approximately 17,000 global investors bought SIBL CDs in differing circumstances.
 169
          Affiliated Ute does not apply where the omission is relevant only to the extent it renders the affirmative
 statements false or misleading, as is the case here where Stanford allegedly failed to state or omitted his role in a
 Ponzi scheme. See Smith, 845 F.3d at 1363.
 170
          SAC ¶¶ 432 (emphasis added); see also id. ¶ 442.
                                                            47
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 provided the critical infrastructure and services by which investors’ funds flowed to and through

 SIBL and into R.A. Stanford’s pockets, R.A. Stanford’s scheme could not have begun, much less

 persisted as long as it did.” Pls.’ Br. at 20 (emphasis added).

        The requisite causation inquiry, however, requires evaluation of the allegations behind

 Plaintiffs’ claims. Here, Defendants are alleged to have performed different services for SIBL,

 had different interactions with different investors (or none at all), and were supposedly aware of

 Stanford’s fraud in different ways.171 Putative class members’ claims also vary in terms of how

 putative class members interacted with Defendants, where they lived, when they purchased SIBL

 CDs, how they paid for the SIBL CDs, and how SIBL treated the funds.172 These differences

 make it impossible for the Court to resolve causation on a class-wide basis. See Steering, 461

 F.3d at 602-04; Robertson v. Monsanto Co., 287 F. App’x 354, 362-63 (5th Cir. 2008); Nola v.

 Exxon Mobil Corp., No. 13-439-JJB, 2015 WL 2338336, at *7 (M.D. La. May 13, 2015).

        Plaintiffs’ theory is that Defendants should have realized that Stanford was operating a

 Ponzi scheme and severed all ties with him, at which point, they contend, the scheme would have

 stopped and their injury would have been prevented. See Pls.’ Br. at 4, 20-21. In order to prevail

 on this theory, Plaintiffs must demonstrate for each putative class member that each Bank’s

 separation from Stanford would have prevented that investor’s losses. This is a highly

 individualized inquiry. And the record indicates that Plaintiffs could not carry their burden. For

 example, Ms. Penhos was warned in 2007 that Stanford was involved in money laundering, but

 kept on investing.173 Mr. Abbott was warned in 2008 that his Stanford investments were

 uninsured and his money was at risk, but he also continued to invest new money.174 Indeed,

 Plaintiffs allege that both Bank of America and Chase severed their relationships with Stanford in

 171
        See, e.g., id. ¶¶ 100-01, 168, 238, 261-67, 277, 279, 314, 323, 325, 348-49, 360, 373-75, 388-89, 401-04.
 172
        See, e.g., id. ¶¶ 12-17, 127-30, 420.
 173
        See App. 1546-48 [Penhos Dep. Tr. at 86:11-88:5].
 174
        See App. 1418-21 [Abbott Dep. Tr. at 72:23-75:14]; App. 834 [Dep. Ex. 51].
                                                        48
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 the 1990s, but putative class members kept on investing.175 Given how Plaintiffs frame their

 claims, they cannot prove causation on a class-wide basis.

          In addition, Plaintiffs are wrong that the TSA operates as a type of strict liability statute

 that immunizes them from the need to prove a link between Defendants’ conduct and their

 purported injuries. The language of the TSA provides for liability only when a person buys a

 security that was sold “by means of” an untruth or omission. Tex. Rev. Civ. Stat. Ann. art. 581-

 33(A)(2). Courts have consistently interpreted this language to mean that the alleged untruth or

 omission must have “induced” the purchase.176 Moreover, to establish “aider” liability, Plaintiffs

 must prove that Defendants materially aided Stanford in committing the underlying securities

 violation. That requires proof of an additional causal link between the Defendants’ conduct and

 the purchases at issue. Plaintiffs thus err in suggesting that the possibility of “joint and several”

 liability relieves them of the need to prove causation.177

                   5.       Plaintiffs Did Not Provide a Methodology for Calculating Damages on
                            a Class-Wide Basis

          Class certification is also inappropriate because Plaintiffs have not provided a damages

 methodology that can be applied on a class-wide basis and thus have not established that common

 issues of damages will predominate. See Bell Atl. Corp. v. AT&T Corp., 339 F.3d 294, 308 (5th

 Cir. 2003) (“class certification is not appropriate” where plaintiffs have “clearly failed to

 demonstrate that the calculation of individualized actual economic damages, if any, suffered by

 the class members can be performed in accordance with the predominance requirement”).

          In their moving papers, Plaintiffs did not submit a damages expert declaration and dealt

 with damages only in passing, saying that the “Receiver’s team” would figure them out. Pls.’ Br.

 175
          SAC ¶¶ 212-15, 367.
 176
          Crescendo Invs., Inc. v. Brice, 61 S.W.3d 465, 475 (Tex. App.—San Antonio 2001, pet. denied); Calpetco
 1981 v. Marshall Exploration, Inc., 989 F.2d 1408, 1419 n.24 (5th Cir. 1993).
 177
          As Plaintiffs’ damages expert was forced to concede, “joint and several” liability is a “method of recovery”
 that potentially applies after liability attaches; it does not eliminate a plaintiff’s need to prove causation. See App.
 3036, 3037-38 [Alexander Dep. Tr. at 135:3-12, 136:16-137:2]; App. 2807 [Alexander Decl. ¶ 15].
                                                            49
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 at 55. Plaintiffs indicated that they would follow the Receiver’s net loss calculations, by which

 the Receiver adds up the investors’ deposits of principal, subtracts all interest, and subtracts all

 payouts or withdrawals of any kind, to reach a net number of “deposited cash lost.”178 But the

 Receiver’s calculations take into account investments that could go back to the 1990s.179 Thus,

 the Receiver does not limit himself to purchases during the August 24, 2004 – February 16, 2009

 class period in this case.

          Defendants responded with the declaration of highly-reputed Professor Kenneth Lehn, a

 professor at the business school at the University of Pittsburgh and the former chief economist of

 the SEC.180 Professor Lehn opines that (1) “Plaintiffs fail to present a damages methodology that

 can be applied on a class-wide basis”; (2) the Receiver’s net loss methodology “is not an

 appropriate methodology for calculating damages resulting from … [Defendants’] alleged

 misconduct on a class-wide basis”; and (3) “Plaintiffs fail to address potential conflicts among

 members of the purported class that make a class-wide damages methodology inappropriate.”181

          Plaintiffs then tried to repair their case by serving a seven-page rebuttal declaration from

 Mr. Lester Alexander, who generally opines that there is “sufficient data and information” to

 calculate damages on a class-wide basis.182 This declaration is untimely given Plaintiffs’ burden

 and can be set aside on that basis alone. See, e.g., Green, 46 F.3d at 465. Moreover, it contradicts

 Plaintiffs’ prior assertions that they would rely on the claims calculations in the Receivership


 178
           See, e.g., App. 2913 [Russell Dep. Tr. at 92:3-23].
 179
           See, e.g., App. 2914-15 [Russell Dep. Tr. 93:15-94:18].
 180
           See Appendix F for Professor Lehn’s credentials. See also App. 2080 [Lehn Decl. ¶¶ 1-2, Ex. A].
 181
           App. 2081 [Lehn Decl. ¶ 9].
 182
           App. 2804 [Alexander Decl. ¶ 8]. Plaintiffs’ selection of Mr. Alexander, an accountant, as their damages
 rebuttal spokesperson is interesting given his background. Mr. Alexander previously testified for banks in another
 Ponzi case that sophisticated fraudulent schemes, during the time period of the Stanford Ponzi scheme, are difficult for
 banks to detect and that internal controls, internal and external audits, bank monitoring, and other traditional risk
 management activities do not generally detect such frauds. See App. 3013-15, 2017-18 [Alexander Dep. Tr. at 28:4-
 30:18, 32:18-33:15]; App. 913, 915, 917-18 [Alexander Dep. Ex. 3 ¶¶ 6-7, 11, 14]. Mr. Alexander stated in this
 Action that he continues to agree with these statements. See App. 2013-15, 2017-18 [Alexander Dep. Tr. at 28:4-
 30:18, 32:18-33:15].
                                                           50
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 process. See Pls.’ Br. at 6, 55.

         Plaintiffs now argue that Mr. Alexander’s team “will use data, records and information

 available to the Receiver” to calculate damages at some future date.183 This belatedly-asserted

 position is still defective.

         First, any damages calculation based on the Receiver’s records will necessarily turn on

 unreliable information submitted by each purported class member with respect to issues such as

 their accounts, deposits, withdrawals, and collateral sources of recovery.184           REDACTED




                                                                   185
                                                                         Moreover, the discrepancies between
                                                                                                        REDACTED
 the Receiver’s calculations and the Joint Liquidators’ calculations should set off alarm bells.
                                                                                                  186
                                            REDACTED

                                              REDACTED
                                      187
                                            In short, Plaintiffs intend to build a damages model using

 fatally tainted records.

         Second, Plaintiffs cannot satisfy their burden on class certification through conclusory

 predictions that “common proof [of damages] will be offered at a later stage in the proceedings.”

 In re Kosmos Energy Ltd. Sec. Litig., 299 F.R.D. 133, 152 (N.D. Tex. 2014); see also In re BP

 P.L.C. Sec. Litig., No. 4:10-md-2185, 2013 WL 6388408, at *17 (S.D. Tex. Dec. 6, 2013)

 (plaintiffs “failed to meet their burden of showing that damages can be measured on a class-wide

 basis consistent with their theories of liability” with proposed damages calculations via an event


 183
         App. 2807 [Alexander Decl. ¶ 16].
 184
         See, e.g., App. 2092-95 [Lehn Decl. ¶¶ 32-39].
 185
         See, e.g., App. 1388-93 [Queyrouze Dep. Tr. at 267:5-272:14].
 186
         See App. 35.
 187
         See id.
                                                        51
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 study that had yet to be created). Plaintiffs now concede that the Receiver’s claim calculations do

 not measure their supposed damages, but Mr. Alexander does not provide any alternative

 methodology for conducting such computations for each class member. Moreover, he

 acknowledges that there are gaps in the Receiver’s records, but weakly suggests they can be

 “remediated.”188 As in Kosmos, Plaintiffs’ “submissions are akin to no evidence at all” and “ought

 to end the Court’s predominance inquiry.” 299 F.R.D. at 151.

         Third, Fifth Circuit precedent mandates the denial of certification where “plaintiffs’

 damage claims ‘focus almost entirely on facts and issues specific to individuals rather than the

 class as a whole,’” making “individualized calculations of damages predominate.” O’Sullivan,

 319 F.3d at 744-45; accord Allison v. Citgo Petroleum Corp., 151 F.3d 402, 419 (5th Cir. 1998).

 Here, the Receiver’s net loss approach requires precisely these verboten “calculations that are

 performed and adjusted based on the investment history and supporting documents provided by

 each investor.”189 Mr. Alexander’s yet-to-be-created damages model relies on this same investor-

 specific information.190 Mr. Alexander’s calculations also will need to “include adjustments for

 the amount claimants received through other forums,” and he concedes that this information needs

 to be obtained, at least in part, from each claimant.191 Discovery from the proposed class

 representatives has already demonstrated that this information is unreliable and inaccurate.192

         These individualized facts and issues also create potential conflicts among the members of

 the proposed class.193 For instance, Mr. Alexander baldly asserts that “[t]he Plaintiffs’ individual



 188
          App. 3020 [Alexander Dep. Tr. at 69:11-23]; App. 2806-07 [Alexander Decl. ¶ 13]; see also App. 2941-43
 [Russell Dep. Tr. at 150:21-152:10]. Mr. Alexander admitted that he had “not tested the reliability of what … [he
 had] been told by the [R]eceiver’s experts” about the available data, nor had he independently verified whether any
 additional gaps in the Receiver’s records exist. App. 3033-34 [Alexander Dep. Tr. at 131:17-132:9].
 189
          App. 2092 [Lehn Decl. ¶ 31].
 190
          See App. 2805-07 [Alexander Decl. ¶¶ 11-12, 16].
 191
          See App. 2805 [Alexander Decl. ¶10]; see also App. 3031-32 [Alexander Dep. Tr. at 116:18-117:25].
 192
          See App. 2092-05 [Lehn Decl. ¶¶ 32-39].
 193
          See App. 2095-96, 2103-06 [Lehn Decl. ¶¶ 39-41, 57-63].
                                                          52
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 tax status is irrelevant to the determination of class-wide damages,”194 but the testimony of the

 Receiver’s representative makes clear that investors’ tax benefits directly impact who gets paid.195

 Mr. Alexander concedes that there is potential variability in putative class members’ ability to

 claim theft loss deductions based on the jurisdictions in which they pay taxes, and also variability

 in their ability to use such losses to offset income.196 Additionally, putative class members who

 return so-called “preference payments” pursued by the Joint Liquidators will be situated

 differently from those who retain such payments, yet Mr. Alexander makes no mention of how his

 approach will address such differences.197

          Fourth, to survive class certification, Plaintiffs’ theory of damages “must be consistent

 with its liability case.” Comcast, 133 S. Ct. at 1433.198 The Supreme Court has rejected the

 argument that “at the class-certification stage any method of measurement is acceptable so long as

 it can be applied class-wide, no matter how arbitrary the measurements may be.” Id. “Such a

 proposition would reduce Rule 23(b)(3)’s predominance requirement to a nullity.” Id. Under

 Comcast and its progeny, a reliable class-wide damages methodology must consider losses

 incurred by investors “but for” “Defendants’ alleged wrongful conduct.” In re BP P.L.C. Sec.

 Litig., No. 4:10-md-2185, 2014 WL 2112823, at *1 (S.D. Tex. May 20, 2015) (noting Comcast

 provides this mandate). Mr. Alexander opines that the “but for” world is “irrelevant” to any

 damages methodology here because he assumes that “Defendants’ liability is joint and several
 194
            See App. 2807-08 [Alexander Decl. ¶ 17].
 195
            See App. 2916-20[Russell Dep. Tr. at 107:11-108:3, 112:16-114:5].
 196
            See App. 3026-28 [Alexander Dep. Tr. at 85:1-86:21, 88:1-14].
 197
            See App. 2095-96 [Lehn Decl. ¶¶ 40-41].
 198
            In re Deepwater Horizon, 739 F.3d 790 (5th Cir. 2014) (Pls.’ Br. at 20), does not provide for a different
 analysis. In that case, the Fifth Circuit declined to apply Comcast, as the district court had previously determined that
 liability and damages determinations would be bifurcated, class counsel was moving for final class certification for
 settlement purposes, and “the district court’s inquiry into predominance was never premised on … a [damages]
 formula.” Id. at 817. None of these circumstances applies here, as Plaintiffs have not requested bifurcation, class
 certification is not premised on settlement proceedings, and Plaintiffs claim that damages can be calculated on a class-
 wide basis. See Pls.’ Br. at 55. Indeed, the Fifth Circuit recently stated that “by its terms Deepwater Horizon applies
 only to classes where predominance was based on the commonality of liability, not, as here, liability and damages,
 where we ask whether in operation the commonality is undone by the damages theory.” Ludlow v. BP, P.L.C., No.
 14-20420, 2015 WL 5235010, at *5 n.36 (5th Cir. Sept. 8, 2015).
                                                            53
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 with Stanford when liability attaches.”199 However, the cases cited in Mr. Alexander’s declaration

 and in Plaintiffs’ brief do not support this proposition,200 and they do not remove Plaintiffs’

 burden at the class certification stage to provide a damages model “consistent with . . . [their]

 liability case.” Comcast, 133 S. Ct. at 1433. An appropriate damages methodology must assess

 the effect of Defendants’ alleged misconduct on investor losses, which here would require inquiry

 into each investor’s background, knowledge and experience, and individual investing decisions.201

          Plaintiffs also make no effort to calculate damages based on the proposed class period or to

 tie damages to Defendants’ alleged acts during the class period. For example, Plaintiffs claim that

 “the proposed class is limited to include only those investors whose claims have been allowed by

 the Receiver,” but the Receiver’s determination of allowed claim amounts includes investments

 that took place prior to the start of the class period.202 As a result, Plaintiffs’ proposed class

 includes individuals and losses that need to be excluded from any damages determination. See

 Ludlow, 2015 WL 5235010, at *10-11 (affirming denial of class certification where damages

 model could not be applied on class-wide basis because it failed to separate plaintiffs who did not

 fall within theory of liability). Plaintiffs’ Motion further does not explain how putative class

 members with barred “holder” claims as of August 23, 2004 would be identified and excluded

 from the proposed class.203 Similarly, Plaintiffs’ proposed class would need to exclude any “net


 199
           App. 2807 [Alexander Decl. ¶ 15]. Mr. Alexander testified that Plaintiffs’ counsel instructed him that “the
 TSA applies and liability judgments can be enforced joint [and] severally,” and he proceeded from those instructions
 in rendering his opinion in this action. App. 3030 [Alexander Dep. Tr. at 98:5-25, 132:24-133:15].
 200
           App. 2807 [Alexander Decl. ¶ 15]; Pls.’ Br. at 21 n.7, 29-30.
 201
           See App. 2097-2103 [Lehn Decl. ¶¶ 42-56.]; see also Bell Atl. Corp., 339 F.3d at 306 (“[a]ny reasonable
 approximation of the damages actually suffered by the various class members would instead require a much tighter
 inquiry” into circumstances of individual class members, resulting in “individual issues concerning damages
 predominat[ing] over questions common to the proposed class”).
 202
           See Pls.’ Br. at 19; see also App. 2087 [Lehn Decl. ¶ 21]; Order, SEC v. Stanford Int’l Bank, Ltd., No. 3:09-
 cv-00298-N (N.D. Tex. May 4, 2012), Dkt. No. 1584, at 46-47.
 203
           Here, Plaintiffs define the class as purchasers of SIBL CDs during the class period, not holders. See Pls.’ Br.
 at 17; see also SAC ¶ 420. This definition differs from the way plaintiffs have defined the proposed class in the
 Proskauer, Willis, and Pershing cases. See, e.g., Br. in Supp. of Pls.’ Opposed Mot. for Class Certification, For
 Designation of Class Representatives and Class Counsel at 29-30, Troice v. Proskauer Rose LLP, No. 3:09-cv-01600
 (N.D. Tex. Apr. 20, 2015), Dkt. No. 193; Br. in Supp. Of Pls.’ Opposed Mot. for Class Certification And For
                                                            54
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 winners,” as such investors have not suffered any damages and thus cannot recover funds as part

 of a proposed class. See Janvey v. Brown, 767 F.3d 430, 441 (5th Cir. 2014). Plaintiffs fail to

 explain how any of these categories of investors could be identified and excluded from the

 proposed class, other than Mr. Alexander’s vague claim that he believes there is “sufficient”

 information available from a “warehouse” and “backup tapes” to calculate damages.204 Empty

 “assurances” do not meet Plaintiffs’ burden to demonstrate that damages can be determined on a

 class-wide basis. See Castano, 84 F.3d at 742 (“Given the plaintiffs’ burden, a court cannot rely

 on assurances of counsel that any problems with predominance … can be overcome.”).

         C.       Adjudicating Plaintiffs’ Claims Against Five Banks and One Individual Under
                  the Banking Laws of Four Countries and the Substantive Laws of 106
                  Countries and 47 States Would Be Wholly Unmanageable

         Under Plaintiffs’ vision of this case, the Court and the jury will be required to adjudicate

 the liability of six Defendants under four countries’ banking regulatory regimes and the

 substantive laws of over 150 jurisdictions, taking into account the different timelines and fact

 patterns asserted against each Defendant. No jury in the world could handle such a task. Nor

 should one have to.

         Courts have broad discretion within the Rule 23 framework to determine whether to certify

 a class action, including determining whether a class action is manageable under the factors set

 forth in Rule 23(b)(3)(A) – (D). See Castano, 84 F.3d at 740. When conducting the

 manageability inquiry, “[p]ertinent difficulties encompass [] the whole range of practical problems

 that may render a class action format inappropriate in a particular suit.” Ticknor, 592 F. App’x at


 Designation of Class Representatives and Class Counsel, at 20-21, Troice v. Willis of Colorado Inc., No. 3:09-cv-
 01274-N-BG (N.D. Tex. Apr. 20, 2015), Dkt. No. 227; Pls.’ Mot. for Class Certification, For Designation of Class
 Representatives and Class Counsel at 2-3, Turk v. Pershing, LLC, No. 3:09-cv-02199 (N.D. Tex. Aug. 10, 2015), Dkt.
 No. 156.
 204
          App. 2804-05 [Alexander Decl. ¶ 8]; App. 3029, 3025 [Alexander Dep. Tr. at 64:6-20, 76:5-16]. Mr.
 Alexander has never accessed the warehouse records maintained by the Receiver, nor the backup tapes from the Joint
 Liquidators (tapes that the Receiver’s forensic accountants also have never accessed or even requested). See App.
 2944-47 [Alexander Dep. Tr. at 64:6-20, 72:15-73:14, 74:3-76:16]; App. 3019, 3021-25 [Russell Dep. Tr. at 174:16-
 175:3, 242:5-243:10].
                                                        55
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 278. In particular, Rule 23(b)(3)(D)’s manageability factor requires courts to ascertain whether

 variations in state law make the action unsuitable for class treatment. See Castano, 84 F.3d at

 743-44 (finding that the lower court “failed to perform its duty to determine whether the class

 action would be manageable in light of state law variations”); Lee, 2002 WL 31230803, at *6 n.3

 (citing Castano and noting that “manageability problems arise when the Court must engage in []

 difficult choice-of-law determinations”).

        Plaintiffs highlight that the putative class here is “geographically dispersed” and comprised

 of Stanford investors from countries “around the world”—not to mention nearly all of the U.S.

 states.205 Moreover, according to Plaintiffs’ allegations, the applicable banking and regulatory

 standards that govern each Defendant’s conduct are the laws of the foreign jurisdictions in which

 each Defendant is based—i.e., Canadian standards for TD Bank; U.K. standards for HSBC; Swiss

 standards for SG Suisse; and U.S. standards for Trustmark and IB.206 This means that numerous

 different countries’ and states’ substantive laws will apply to the claims asserted by different

 putative class members, as well as the defenses asserted by each Defendant.

        If the proposed class is certified, the difficulties that this Court and, importantly, a jury will

 face in wading through the variations of applicable, and potentially conflicting, substantive laws

 and determining each of the asserted claims and defenses under the correct standards will be

 extraordinary. Indeed, Defendants’ arguments regarding variations in governing law related to

 “predominance” likewise demonstrate that this class action is unmanageable. See, e.g., In re

 Bridgestone/Firestone, Inc., 288 F.3d 1012, 1015 (7th Cir. 2002) (“Because these claims must be

 adjudicated under the law of so many jurisdictions, a single nationwide class is not manageable.”).

        Plaintiffs recognize that the ultimate focus is how a class action could be tried on the



 205
        See Pls.’ Br. at 7, 42, 50, 55.
 206
        See SAC ¶¶ 39, 45, 65, 70-71, 82-83.
                                                   56
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 merits.207 Instead of grappling with these issues, however, Plaintiffs address manageability in

 cursory fashion, stating that “there are no unusual difficulties to managing this class action”

 because (i) the proposed class is comprised of individuals who have submitted claims to the

 Receiver for determination and (ii) distributions will be made pursuant to the Receiver’s existing

 process.208 This blithe response was never tenable given the individualized legal and factual

 issues in this Action, but now collapses given Plaintiffs’ concession that the Receiver’s claims

 process cannot be used as a proxy for their damages. Forced to confront this problem, Plaintiffs

 lean on Mr. Alexander’s seven-page declaration to say “they’ll figure it out in the future.”209 But

 this does not provide the Court with a workable plan for either adjudicating the liability of five

 Banks or determining damages for 17,000 individuals. By flat-out ignoring the insurmountable

 difficulties that this Court and a jury would face in adjudicating their claims, Plaintiffs fail to meet

 their burden of establishing that a class action is both manageable and superior.

 II.      PLAINTIFFS HAVE NOT SATISFIED THE REQUIREMENTS OF RULE 23(a)

          Under Rule 23(a), a class may only be certified if Plaintiffs show “(1) the class is so

 numerous that joinder of all members is impracticable; (2) there are questions of law or fact

 common to the class; (3) the claims or defenses of the representative parties are typical of the

 claims or defenses of the class; and (4) the representative parties will fairly and adequately protect

 the interests of the class.” FED. R. CIV. P. 23(a). Plaintiffs fail to satisfy these elements.210



 207
           See Pls.’ Br. at 27.
 208
           Id. at 54-55.
 209
           See App. 2807 [Alexander Decl. ¶ 16].
 210
           Defendants disagree with Plaintiffs’ contention that numerosity is satisfied because the Receiver has allowed
 over 17,000 claims in an alternate, non-class proceeding. See Pls.’ Br. at 19. The group of Receiver “allowed”
 claimants is not co-extensive with Plaintiffs’ proposed class because it is not limited by the class period or by the
 purchaser requirement or the necessity of having damages tied to Defendants’ alleged misconduct. It is sheer
 speculation how many investors fit within the class definition. Add to this the large volume of investors that would
 have to be excluded from the class (foreign citizens, accredited investors, net winners, etc.), and Plaintiffs have failed
 to carry their burden on numerosity. See Fleming v. Travenol Labs., Inc., 707 F.2d 829, 833 (5th Cir. 1983) (finding
 certification inappropriate where there is “no factual basis for determining whether the numerosity requirement has
 been met”).
                                                            57
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         A.      Plaintiffs Have Not Established Commonality

         Plaintiffs have failed to show that “there are questions of law or fact common to the class.”

 FED. R. CIV. P. 23(a)(2. To satisfy commonality, there must be a “common contention” such that

 “determination of its truth or falsity will resolve an issue that is central to the validity of each one

 of the [class members’] claims in one stroke.” M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832,

 838 (5th Cir. 2012); see also Wal-Mart Stores, 131 S. Ct. at 2551 (“What matters to class

 certification . . . is not the raising of common ‘questions’—even in droves—but, rather the

 capacity of a classwide proceeding to generate common answers apt to drive the resolution of the

 litigation.”). “Whether a question will drive the resolution of the litigation necessarily depends on

 the nature of the underlying legal claims that the class members have raised.” Jimenez v. Allstate

 Ins. Co., 765 F.3d 1161, 1165 (9th Cir. 2014).

         Plaintiffs claim commonality is satisfied because the putative class members “suffered the

 same injury” based on the Banks “knowingly provid[ing] substantial assistance in furtherance of

 Stanford’s scheme.” Pls.’ Br. at 20-21. This is just a recitation of elements from Plaintiffs’ aiding

 and abetting fraud claim. If commonality required only that class members satisfy the same claim

 elements—which is not the case here given the differences in applicable laws—every putative

 class action would satisfy commonality. The Supreme Court rejected this tautological approach.

 See Wal-Mart, 131 S. Ct. at 2551 (“[T]he mere claim by employees of the same company that they

 have suffered . . . a disparate-impact Title VII injury, gives no cause to believe that all their claims

 can productively be litigated at once. Their claims must depend upon a common contention—for

 example, the assertion of discriminatory bias on the part of the same supervisor.”).

         While Plaintiffs assert that the common driving question is whether “the Bank Defendants

 knowingly provided substantial assistance in furtherance of Stanford’s scheme,” Pls.’ Br. at 21,

 Plaintiffs’ allegations show this is not the case. This Action involves a hodge-podge of facts

 concerning five different Banks and one individual each having a unique set of reasons why it is
                                                58
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 not responsible for Stanford’s secret scheme.211 These separate narratives cannot be globally

 combined into one forced trial. See Suchanek v. Sturm Foods, Inc., 764 F.3d 750, 756 (7th Cir.

 2014) (“Where the defendant’s allegedly injurious conduct differs from plaintiff to plaintiff … no

 common answers are likely to be found.”); Dvorin, 2013 WL 6003433, at *6 (no commonality

 where plaintiffs’ allegations do not address individualized circumstances regarding defendant’s

 alleged duties to potential class members and non-uniform injuries); O’Neill v. The Home Depot

 U.S.A., Inc., 243 F.R.D. 469, 478 (S.D. Fla. 2006) (finding a lack of commonality where there

 were “differences identified in the proposed class members’ individual experiences”).212

          B.       Plaintiffs Have Not Established Typicality

          Plaintiffs must show that “the claims or defenses of the representative parties are typical of

 the claims or defenses of the class.” FED. R. CIV. P. 23(a)(3). “[T]ypicality focuses on the

 similarity between the named plaintiffs’ legal and remedial theories and the theories of those

 whom they purport to represent.” Dvorin, 2013 WL 6003433, at *9. Important to this inquiry is

 “whether the class representative’s claims have the same essential characteristics as those of the

 putative class.” 5 Jerold S. Solovy et al., Moore’s Federal Practice § 23.24 (3d Ed. 2015).

          Here, Plaintiffs assert that the named class representatives’ claims “arise from the same set

 of omissions that defrauded all investors.” Pls.’ Br. at 23. This assertion is belied by Plaintiffs’

 deposition testimony, which shows that Plaintiffs received different information concerning the

 SIBL CDs in varying formats and from disparately-situated financial advisors. These variations

 211
           See SAC ¶¶ 100-01, 168, 238, 261-67, 277, 279, 314, 323, 325, 348-49, 360, 373-75, 388-89, 401-04.
 212
           The cases cited by Plaintiffs do not support a finding of commonality where, as here, the putative class
 members are dissimilar vis-à-vis Defendants. Plaintiffs rely on cases predating Wal-Mart and cases where all class
 members were similarly affected by the same conduct of the defendant(s). See Anwar, 289 F.R.D. at 109,111
 (defendants engaged in a “common course of conduct” involving “similar material misrepresentations and omissions”
 in four feeder funds operated by the same partnership in which the plaintiffs invested); Stott v. Capital Fin. Servs.,
 Inc., 277 F.R.D. 316, 324 (N.D. Tex. 2011) (“[A]ll of the class members invested in Provident through Capital
 Financial, creating at least one major issue of fact in common with all class members.”); Melo v. Gardere Wynne
 Sewell LLP, No. 3-04-cv-2238-BD, 2007 WL 92388, at *1 (N.D. Tex. Jan. 12, 2007) (pre-Wal-Mart case brought by
 investors against single lawyer and his law firm that served as legal counsel to investment company); In re Enron
 Corp. Sec., 529 F. Supp. 2d 644, 672 (S.D. Tex. 2006) (pre-Wal-Mart case applying an “undemanding test” for
 commonality).
                                                          59
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 defeat typicality. See In re Vioxx Prods. Liab. Litig., 239 F.R.D. 450, 459-60 (E.D. La. 2006);

 Newman v. RCN Telecom Servs., Inc., 238 F.R.D. 57, 64 (S.D.N.Y. 2006).

         All of the named Plaintiffs testified that they relied on oral assurances provided by their

 financial advisors in choosing to purchase SIBL CDs.213 Since these oral assurances, coupled with

 the financial advice and information provided to investors, were unique and as idiosyncratic as the

 written materials received, typicality cannot be established. See, e.g., Spencer v. Cent. States, Se.

 and Sw. Areas Pension Fund, 778 F. Supp. 985, 989-91 (N.D. Ill. 1991) (finding that class did not

 meet typicality requirement when there were varied oral representations made to 2,000 employees

 at 27 different meetings).

         The proposed class representatives also fail to satisfy the typicality requirement of Rule

 23(a)(3) as they meaningfully differ from the absent class members with respect to the legal

 claims and defenses available to them. For example, certain putative class members are accredited

 investors who received different materials and are treated legally as sophisticated investors. See

 Warren v. Reserve Fund, Inc., 728 F.2d 741, 747 (5th Cir. 1984) (finding certification was

 properly denied where representative was sophisticated investor, which “might make him a weak

 representative since the Fund could argue that [he] did not exercise due diligence in relying on any

 reckless omissions or misrepresentations”). Mr. Queyrouze, for example, produced different sales

 materials in this case and testified that he is a “sophisticated investor” with the ability to “analyze

 risk somewhat better than a nonaccredited investor.”214 Accredited investors may not bring claims

 for aiding and abetting the sale of an unregistered security under the TSA as a matter of law. See

 7 Tex. Admin. Code. § 139.19 (2015); Tex. Rev. Civ. Stat. Ann. art. 581-33(F)(2) (2015). While

 Plaintiffs allege that all U.S. investors had to be accredited, the same was not required of investors


 213
         See, e.g., App. 1623 [Suarez July 1, 2015 Dep. Tr. at 82:9-20]; App. 1412 [Abbott Dep. Tr. at 37:11-23];
 App. 1683-84 [Estefenn July 2, 2015 Dep. Tr. at 84:19-85:2]; App. 1549 [Penhos Dep. Tr. at 99:10-15] App. 1355
 [Queyrouze Dep. Tr. at 56:4-8].
 214
         See App. 1365-66 [Queyrouze Dep. Tr. at 137:25-138:22]; App. 715-38 [Dep. Ex. 41].
                                                         60
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 residing outside of the United States.215 As a result, Mr. Queyrouze would be barred from

 bringing this claim and is not typical of the broad class. See Consor v. Occidental Life Ins. Co. of

 Cal., 469 F. Supp. 1110, 1115 (N.D. Tex. 1979) (finding named representative plaintiff who did

 not have claim under relevant statute “does not possess the same interest and suffer the same

 injury as other potential class members”). Any other accredited investors would similarly be

 precluded from asserting this claim, placing them in conflict with other members of the class.

         C.       Plaintiffs Have Not Established Adequacy

         Class certification should further be denied because Plaintiffs have not shown that “the

 representative parties will fairly and adequately protect the interests of the class.” FED. R. CIV. P.

 23(a)(4). The adequacy requirement mandates an inquiry into the willingness and ability of the

 putative class representatives to “take an active role in and control the litigation to protect the

 interests of the absentees.” Berger v. Compaq Computer Corp., 257 F.3d 475, 479 (5th Cir.

 2001); Ogden v. AmeriCredit Corp., 225 F.R.D. 529, 532 (N.D. Tex. 2005). In addition, “[t]he

 adequacy inquiry . . . serves to uncover conflicts of interest between the named plaintiffs and the

 class they seek to represent.” Ogden, 225 F.R.D. at 532.

                  1.       There Are Serious Questions About the Integrity, Honesty, Credibility,
                           and Conscientiousness of the Class Representatives

         Courts examine integrity, honesty, conscientiousness, and other affirmative personal

 qualities to determine whether a named individual is an adequate class representative. See Ogden,

 225 F.R.D. at 536; Armour v. City of Anniston, 89 F.R.D. 331, 332 (N.D. Ala. 1997) (same);

 Savino v. Computer Credit, Inc., 164 F.3d 81, 87 (2d Cir. 1998) (same). In addition, “[c]lass

 representatives must satisfy the court that they, and not counsel, are directing the litigation. To do


 215
          Plaintiffs allege that SIBL CDs were sold in the U.S. to accredited investors only. See SAC ¶ 235; see also
 App. 1294 [Aff. of Beverly M. Jacobs, sworn Nov. 13, 2014, at ¶ 56, Marcus Wide and Hugh Dickson v. The Toronto-
 Dominion Bank, Court File No. CV-12-9780-00CL (Can. Ont. Sup. Ct.)] (“[T]here were special rules in place for U.S.
 residents who wished to purchase SIB products. In particular, U.S. residents had to qualify as ‘accredited investors’
 pursuant to Regulation D of the Securities Act of 1933.”).
                                                          61
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 this, class representatives must show themselves sufficiently informed about the litigation to

 manage the litigation effort.” Unger, 401 F.3d at 321; see Ogden, 225 F.R.D. at 535 (class

 representatives “should understand the action in which [they are] involved, and [that]

 understanding should not be limited to derivative knowledge acquired solely from counsel”); In re

 Enron Corp. Secs., 529 F. Supp. 2d at 726; Karnes v. Fleming, No. H-07-0620, 2008 WL

 4528223, at *3 (S.D. Tex. July 31, 2008). In this case, there are troubling issues regarding the

 integrity, honesty, credibility, and conscientiousness of each of the class representatives.

                          a.       Diana Suarez

         Diana Suarez chose to become involved in this Action as a named Plaintiff only in June of

 this year. During discovery, serious questions emerged regarding her trustworthiness and

 reliability. For example,                                   REDACTED



                                                                 .216              REDACTED



                                                  217
                                                                        REDACTED
                                                                  218
                                                                        With respect to her claim form

 submitted to the Joint Liquidators, Ms. Suarez initially said that the signature was hers, then said it

 was not hers, then said it might be hers;                               REDACTED
          219
                                                        REDACTED
                                                          220
                                                                             REDACTED


 216
          See App. 684 [Dep. Ex. 95]; App. 1637-38, 1647-48 [Suarez July 1, 2015 Dep. Tr. at 158:9-21, 159:6-14,
 169:18-170:4].
 217
          See App. 1645-46, 1649-50 [Suarez July 1, 2015 Dep. Tr. at 167:16-168:12, 172:18-173:2].
 218
          See id.
 219
          See App. 1074 [Dep. Ex. 19 at SUAREZ_000160]; App. 1645, 1650 [Suarez July 1, 2015 Dep. Tr. at 170:12-
 17, 173:3-11]; App. 1101-03 [Dep. Ex. 150]; App. 2858-622 [Suarez Aug. 28, 2015 Dep. Tr. at 108:15-109:7, 109:22-
 110:25, 111:20-112:9].
 220
          See App. 1637. 1639-40, 1642 [Suarez July 1, 2015 Dep. Tr. at 158:9-16, 160:10-161:22, 163:4-16].
                                                        62
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                                   REDACTED

         Ms. Suarez also testified that she did not report interest received on her SIBL CDs on her

 U.S. tax returns for at least 2007 and was uncertain whether she reported interest income in other

 years.221                                           REDACTED

                                                       REDACTED
              222
                    Ms. Suarez testified at the start of her deposition that she did not make any

 withdrawals, other than of earned interest, from her Stanford accounts before Stanford entered into

 receivership.223 Later,                                       REDACTED

                                                                                                      she

 admitted that her earlier testimony was incorrect.224 These actions establish that Ms. Suarez is

 willing to misrepresent her circumstances—whether intentionally or inadvertently due to a lack of

 diligence—in order to cement her own recovery, even if doing so comes at the expense of the

 other SIBL CD investors whose interests she now seeks to represent.

         In connection with her role as a putative class representative, Ms. Suarez has demonstrated

 a similar lack of diligence and interest in adequately representing the interests of absent class

 members. For example, Ms. Suarez failed to diligently search for and produce documents in

 advance of her deposition. She ultimately produced documents, many of which were in Spanish,

 on the night before her deposition,225 and also produced certain critical documents after her initial

 deposition took place, requiring the parties to incur the time and expense to continue her

 deposition in Houston two months later. Even then, Ms. Suarez testified at her second deposition

 221
         See App. 2848, 2849-52, 2871 [Suarez Aug. 28, 2015 Dep. Tr. at 60:11-25, 63:22-64:17, 61:13-62:21, 151:6-
 15].
 222
          See App. 1641-42 [Suarez July 1, 2015 Dep. Tr. at 162:11-22, 163:17-21]; App. 710-11 [Dep. Ex. 154]; App.
 2869-70 [Suarez Aug. 28, 2015 Dep. Tr. at 131:1-132:20].
 223
          See App. 1632-33 [Suarez July 1, 2015 Dep. Tr. at 139:23-140:2].
 224
          App. 1653-55 [Suarez July 1, 2015 Dep. Tr. at 227:23-229:22]; App. 766-68 [Dep. Ex. 12 at 28-30]; App.
 828-32 [Dep. Ex. 142]; App. 2853-57, 2864-68 [Suarez Aug. 28, 2015 Dep. Tr. at 65:3-66:14, 67:13-69:4, 116:19-
 118:13, 119:11-120:18]; App. 1105-08 [Dep. Ex. 151].
 225
          See App. 1607-11 [Suarez July 1, 2015 Dep. Tr. at 11:15-15:21].
                                                        63
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 that she still had not searched for requested responsive documents.226 Ms. Suarez repeatedly

 indicated during her deposition that she would defer to her lawyers instead of actively directing

 this litigation227 and she could not articulate the substantive allegations that Plaintiffs have

 asserted against Defendants.228 Ms. Suarez admitted that she has not spent much time on the

 case229 and is not aware of the basic procedural history in the case—for example, that some of the

 original named class representatives have withdrawn230 or that OSIC intervened and is a party to

 this Action.231 Ms. Suarez’s lack of knowledge regarding this case, as well as her own claims,232

 is not surprising in light of her admission that she at one point “gave up” on the Stanford matter

 and assigned a power of attorney for all of her Stanford claims to her son, Gabriel.233 REDACTED
                                                                                                              234
                                               REDACTED

                           b.       Salim Estefenn

         Mr. Estefenn’s credibility and trustworthiness are also in doubt. Like Ms. Suarez, Mr.

 Estefenn submitted a proof of claim form that included misrepresentations concerning his Stanford

 accounts.                                          REDACTED



 226
           App. 2846-47 [Suarez Aug. 28, 2015 Dep. Tr. at 23:1-14, 25:19-25]; see App. 2589-91 [July 16, 2015 Letter
 from L. Neuner to Plaintiffs’ Counsel at 1-3]; App. 3004 [Sept. 16, 2015 Letter from L. Neuner and P. Kazanoff to
 Plaintiffs’ Counsel at 2].
 227
           See, e.g., App. 1615-16 [Suarez July 1, 2015 Dep. Tr. at 65:6-15 (“But, really, we have the lawyers, because
 they are the ones that know more about all this stuff, and I let them to—to do what they should do.”), 66:12-23
 (testifying that she merely skimmed the operative Complaint, explaining that “it was too much to read and I wouldn’t
 understand everything, and that’s why I hired [counsel]”)].
 228
           See App. 1617 [Suarez July 1, 2015 Dep. Tr. at 67:4-68:10].
 229
           See App. 1613 [Suarez July 1, 2015 Dep. Tr. at 53:14-17].
 230
           See App. 1614 [Suarez July 1, 2015 Dep. Tr. at 55:13-19].
 231
           See App. 1618-19 [Suarez July 1, 2015 Dep. Tr. at 68:19-69:3].
 232
           See App. 1634-35 [Suarez July 1, 2015 Dep. Tr. at 152:15-23 (testifying that she was not aware that her son,
 Gabriel Suarez, had filed an objection to the Receiver’s notice of determination of her claim), 154:13-155:24
 (testifying incorrectly that she had only received one check from the Receiver)]; App. 1094-99 [Dep. Ex. 15].
 233
           See App. 2862-63, 2872[Suarez Aug. 28, 2015 Dep. Tr. at 112:18-113:19, 159:13-24]. Plaintiffs initially
 substituted Gabriel Suarez as a class representative in this Action in May 2015, but subsequently sought the Court’s
 permission to withdraw him and substitute Ms. Suarez as a class representative. See Dkt. Nos. 237, 238, 278, 279.
 During his deposition, Mr. Suarez testified that he was only eighteen years old when his mother first bought SIBL
 CDs in 2006. See App. 1332-33 [Gabriel Suarez Dep. Tr. at 40:5-11, 102:24-25].
 234
           See App. 946 [SUAREZ_001522 – SUAREZ_001530 at SUAREZ_00525].
                                                          64
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                                               REDACTED
                                                                                 235
                                                                                       In addition, Mr. Estefenn

 testified that he used his Stanford account for purposes that raise questions concerning his

 credibility,                                            REDACTED



                                      .236 After Stanford went into receivership, Mr. Estefenn solicited

 and received money and confidential investment information from other investors, purportedly to

 help them manage their Stanford-related claims.237                          REDACTED



         238
                                                       REDACTED
                                                               239
                                                                     His receipt of money for assisting other

 claimants is also antithetical to Rule 23.

         In connection with this Action, Mr. Estefenn signed a declaration that included numerous

 false statements regarding his CD purchases; he later admitted that it was inaccurate.240 Although

 Mr. Estefenn signed a revised declaration the night before his deposition that purported to correct

 some of the errors in the original declaration, he testified that even the revised declaration was still

 inaccurate.241 Mr. Estefenn, like Ms. Suarez, failed to diligently search for and produce




 235
          See App. 999-1014 [Dep. Ex. 117]; App. 1676-82 [Estefenn July 2, 2015 Dep. Tr. at 45:21-47:4, 59:4-13,
 62:17-64:14].
 236
          See App. 1714-24 [Estefenn July 2, 2015 Dep. Tr. at 203:6-213:10] (discussing suspicious round-trip and
 currency exchange transactions).
 237
          See App. 2964-65, 2968-71 [Estefenn Sept. 10, 2015 Dep. Tr. at 329:11-330:2, 336:5-339:17 (claiming that
 money was used for expenses he incurred, but stating that he did not keep track of the funds or segregate them from
 his personal savings)].
 238
          See id.; App. 895 [Dep. Ex. 159 at URIBE_009022]; App. 891-93 [Dep. Ex. 160].
 239
          See App. 2972-78 [Estefenn Sept. 10, 2015 Dep. Tr. at 350:23-353:16, 358:15-360:11]; App. 970 [Dep. Ex.
 162 at URIBE_011178].
 240
          See App. 1322-23 [Dep. Ex. 127]; App. 1733-49 [Estefenn July 2, 2015 Dep. Tr. at 274:10-290:15].
 241
          See App. 1661-62 [Dep. Ex. 128]; App. 1747-49 [Estefenn July 2, 2015 Dep. Tr. at 288:11-290:15].
                                                          65
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 documents prior to his first deposition,242 requiring Defendants to depose him a second time two

 months later after forcing a more complete production.

         There are other serious questions concerning Mr. Estefenn’s ability to represent absent

 class members. Although Mr. Estefenn testified that he seeks to recover the interest earned on his

 SIBL CDs, he stated that he does not know if other putative class members should recover their

 interest and, moreover, believes that it is their own responsibility to pursue.243 When asked about

 the amount of time he has spent working on this case, Mr. Estefenn testified that it is class

 counsel’s work, not his.244 Indeed, while Mr. Estefenn quickly tabbed through one of the two

 complaints filed by OSIC,245 he admitted that he has reviewed neither the operative SAC nor

 Plaintiffs’ Motion.246 Mr. Estefenn joined this case only in May of this year and could not

 articulate even a basic understanding about the various Banks’ involvement with Stanford, again

 deferring to counsel.247 Mr. Estefenn’s demonstrated lack of regard for the legal process and the

 interests of the absent class members renders him an inadequate class representative.

                           c.       Sarah Elson-Rogers

         Sarah Elson-Rogers also submitted a false declaration regarding her CD purchases.248

 Although her declaration consists of less than two pages, Ms. Elson-Rogers testified that she

 simply did not review a number of factual statements in the declaration concerning her CD

 purchases before she signed it.249 Furthermore, like other named Plaintiffs, Ms. Elson-Rogers is


 242
           See App. 167-71 [Estefenn July 2, 2015 Dep. Tr. at 9:21-10:13].
 243
           See App. 1729-30 [Estefenn July 2, 2015 Dep. Tr. at 259:16-260:3].
 244
           See App. 1707 [Estefenn July 2, 2015 Dep. Tr. at 171:19-25] (“Not too much. It’s [class counsel’s] work,
 it’s not mine.”).
 245
           See App. 1708-11 [Estefenn July 2, 2015 Dep. Tr. at 172:9-12, 173:6-10, 174:21-175:6].
 246
           See App. 1711 [Estefenn July 2, 2015 Dep. Tr. at 175:2-6].
 247
           See App. 1726-28, 1730-31 [Estefenn July 2, 2015 Dep. Tr. at 245:24-246:13, 247:17-22 (“As I said, it’s
 their investigation, not my responsibility.”), 270:11-17 (“The whole investigation about the bank – has been done by
 lawyers.”), 272:8-17].
 248
           See App. 1319-20 [Dep. Ex. 70]; App. 1483-88, 1518-20 [Elson-Rogers Dep. Tr. at 86:11-91:25, 293:4-
 295:23].
 249
           See id.
                                                          66
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 unsure whether she reviewed key documents, including Plaintiffs’ Motion, and admitted that she

 has not reviewed any of the complaints filed by OSIC or any of the exhibits to the Motion.250 Ms.

 Elson-Rogers has not reviewed her own U.S. tax returns and is unsure whether she reported

 interest earned on her SIBL CDs when she filed her taxes in the United States.251 She confirmed,

 however, that she made a loss claim on her tax returns in connection with her SIBL CDs.252 Ms.

 Elson-Rogers                                             REDACTED

                                                                        ,253 nor has she complied with

 Defendants’ requests that she produce her tax returns in this Action.                        REDACTED



       254
             Ms. Elson-Rogers said she does not have any understanding of how the Receiver

 calculated her allowed claim amount, even though Plaintiffs’ Motion states that they will rely on

 the Receiver’s calculations to make distributions.255 Unsurprisingly, Ms. Elson-Rogers admitted

 that she still has reservations about serving as a class representative.256

                            d.       Ruth Alfille de Penhos

             Ms. Penhos submitted an inaccurate declaration in this Action, which she admitted she did

 not read completely before signing under oath, reasoning that the declaration was sent to her by

 her lawyers and she would not distrust their direction.257 Similarly, Ms. Penhos submitted an

 inaccurate proof of claim form to the Joint Liquidators.                              REDACTED



 250
           See App. 1463-65 [Elson-Rogers Dep. Tr. at 28:14-30:3].
 251
           See App. 1505 [Elson-Rogers Dep. Tr. at 149:1-16].
 252
           See App. 1505-06 [Elson-Rogers Dep. Tr. at 149:23-150:5].
 253
           See App. 1126 [STAN_TDBANK_000649-51 at STAN_TDBANK_000650].
 254
           App. 2605 [Pls.’ Interrog. Resp. at Pl. Elson-Rogers’ Answer to Interrog. No. 7]; App. 1125-27
 [STAN_TDBANK_000649-51].
 255
           See App. 1502 [Elson-Rogers Dep. Tr. at 142:20-23].
 256
           See App. 1516-17 [Elson-Rogers Dep. Tr. at 290:19-291:10].
 257
           See App. 1325 [Dep. Ex. 88]; App. 1559-60, 1562-64 [Penhos Dep. Tr. at 169:14-170:8, 172:23-174:22]
 (“It’s just that I cannot see well. With my glasses and everything, I cannot see well. And I will not distrust whatever
 the lawyers, Blue and Morgenstern [sic], are sending me.”).
                                                           67
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                                                                258
                        REDACTED                                      Ms. Penhos’s omission would increase

 her recovery at the expense of other class members. Given Ms. Penhos’s lack of concern over

 misrepresentations and her acknowledgement that she was not the decision-maker in her family

 with respect to her Stanford investment,259 it is not surprising that she is willing to defer

 completely to her counsel, even if it meant that she provided false information. Indeed, during her

 deposition, Ms. Penhos erroneously testified that she was not a party to any other litigation.260

 Only when confronted with details of three other lawsuits in Mexico did she admit her

 involvement.261 Moreover, Ms. Penhos never testified about her filing of a Stanford-related

 arbitration against the United States under NAFTA. When asked directly whether she has filed

 Stanford-related claims anywhere other than with the Receiver and the Joint Liquidators, Ms.

 Penhos testified that she had not.262 Two months after her deposition, the pending NAFTA claim

 was revealed in her written discovery responses.263

         Ms. Penhos also displayed a remarkable lack of knowledge about this case. For instance,

 she testified that she believed that this Action, which has been pending for nearly six years, was

 filed approximately two months before her July deposition.264 She admitted that she had not

 received or reviewed any documents about this case and had not met with class counsel before

 executing her declaration and agreeing to serve as a class representative.265 In fact, Ms. Penhos

 testified that she has never reviewed any of the filings made by class counsel.266 When handed

 258
         See App. 1566, 1570, 1572-73 [Penhos Dep. Tr. at 180:2-24, 184:1-8, 186:12-187:18]; App. 836 [Dep. Ex.
 90].
 259
          See App. 1533, 1541 [Penhos Dep. Tr. at 39:10-12, 64:5-25] (testifying that her husband and children made
 the decision to invest in Stanford).
 260
          See App. 1590 [Penhos Dep. Tr. at 231:23-234:5].
 261
          See id.
 262
          See App. 1567-68 [Penhos Dep. Tr. at. 181:16-182:17].
 263
          See App. 2611 [Pls.’ Interrog. Resp. at Pl. Penhos’s Answer to Interrog. No. 7] (identifying the NAFTA
 Arbitration Claim).
 264
          See App. 1550, 1553 [Penhos Dep. Tr. at 127:1-10, 153:17-19].
 265
          See App. 1551-52 [Penhos Dep. Tr. at 143:9-144:24].
 266
          See App. 1555 [Penhos Dep. Tr. at 156:11-16].
                                                         68
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 copies of the operative SAC and the Motion, Ms. Penhos was not familiar with either document.267

 Ms. Penhos was unaware that class counsel had designated other class representatives268 and could

 not articulate, even at a basic level, how the class was defined.269 Significantly, Ms. Penhos

 repeatedly threatened to walk out of her deposition when asked basic questions.270 Her

 uncooperative demeanor during her deposition and her other failings demonstrate that she is ill-

 equipped to serve as a class representative. See, e.g., Darvin v. Int’l Harvester Co., 610 F. Supp.

 255, 257-58 (S.D.N.Y. 1985) (holding that plaintiff’s refusal to answer relevant questions at his

 deposition indicated that he was not suitable to fulfill fiduciary obligations of class representative).

                          e.          Steven Queyrouze

         There are also questions concerning Mr. Queyrouze’s truthfulness and adequacy to serve

 as a class representative. Mr. Queyrouze failed to make required disclosures in connection with

 the claim he submitted to the Receiver.                                REDACTED
                                                                                                         271



                                                   REDACTED
                                          272
                                                In addition, Mr. Queyrouze testified that he filed a claim

 with and received an initial distribution of REDACTED from the Joint Liquidators.           REDACTED

                                                  REDACTED
                               273
                                     To date, Mr. Queyrouze still has not produced his claims

 correspondence with the Joint Liquidators showing the amounts of his submitted and allowed

 claim. Moreover, Mr. Queyrouze could not say whether he has reported interest earned on his

 267
           See App. 1557-58, 1565 [Penhos Dep. Tr. at 159:16-160:5, 177:10-17].
 268
           See App. 1553-54 [Penhos Dep. Tr. at 153:20-154:1].
 269
           See App. 1556-57 [Penhos Dep. Tr. at 158:10-159:13].
 270
           See App. 1594-95 [Penhos Dep. Tr. at 239:15-240:3] (“Whenever I want to, I will stop answering.”).
 271
           See App. 678 [Dep. Ex. 44 at QUEYROUZE_003073].
 272
           See App. 1377-79, 1391-92 [Queyrouze Dep. Tr. at 222:3-10, 223:13-225:9, 270:5-271:12]; App. 2617-18
 [Pls.’ Interrog. Resp. at Pl. Queyrouze’s Answer to Interrog. Nos. 7, 8].
 273
           See App. 1385-90 [Queyrouze Dep. Tr. at 233:8-20, 234:11-235:25, 267:5-21, 268:22-269:22].
                                                          69
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 SIBL CDs on his U.S. tax returns, 274 but did confirm that he made a loss claim on his tax returns

 in connection with his SIBL CDs.275                                         REDACTED
                                     276



          Although Mr. Queyrouze has been involved in this litigation as a named Plaintiff since the

 start of this Action in 2009, he lacks knowledge about the basic facts of the case. For example, he

 was unable to articulate what any of the Banks allegedly did wrong in connection with Stanford.277

 He also incorrectly asserted that Credit Suisse is a Defendant, mistakenly asserted that Karyl Van

 Tassel is one of the named Plaintiffs, could not name any of the other named Plaintiffs in this case,

 and could not estimate the number of members in the proposed class—other than to venture a

 guess that it was in the thousands.278 Mr. Queyrouze also has had insufficient contact with class

 counsel to adequately direct this litigation. He testified, for example, that from March 2014 to

 March 2015, he spoke to counsel only “a couple of times” and did not remember reviewing any

 documents.279 During this period, Plaintiffs fully briefed their request for leave to amend their

 Complaint, opposed certain Defendants’ requests for reconsideration of the Court’s dismissal and

 jurisdictional orders, and participated in a status hearing on the Stanford MDL cases.280 This level

 of detachment is inappropriate for a class leader.




 274
           See App. 1374-75[Queyrouze Dep. Tr. at 213:6-214:4].
 275
           See App. 1369-70 [Queyrouze Dep. Tr. at 186:21-187:11].
 276
           See App. 678 [Dep. Ex. 44 at QUEYROUZE_003073].
 277
           See App. 1359-60 [Queyrouze Dep. Tr. at 92:17-93:21] (answering, when asked about the Banks, that, “I’m
 leaving that to my attorneys to pursue”); see also App. 1349-52 [Queyrouze Dep. Tr. at 46:25-49:4].
 278
           See App. 1362-63, 1364, 1381 [Queyrouze Dep. Tr. at 134:10-135:2, 136:13-21, 229:2-10].
 279
           See App. 1347-48 [Queyrouze Dep. Tr. at 44:23-45:19]. Mr. Queyrouze’s lack of diligence as a class
 representative in a related case further calls into question his ability to represent any class in this case. Specifically, he
 testified that he is a named class representative in a lawsuit against the Bank of Antigua related to Stanford, yet he
 could not explain what the Bank of Antigua lawsuit was about (see App. 1346-47 [Queyrouze Dep. Tr. at 43:25-
 44:17]), could not articulate what he had done as a class representative in that case (see App. 1371-72 [Queyrouze
 Dep. Tr. at 195:20-196:1]), did not know the status of the case, including whether a class had been certified (see App.
 1372 [Queyrouze Dep. Tr. at 196:5-25]), and has not discussed that case with counsel for the last two years (see App.
 1373 [Queyrouze Dep. Tr. at 197:1-11]).
 280
           See Dkt. Nos. 182, 192, 210, 219; App. 1273-74 [Excerpt of Aug. 21, 2014 Status Hr’g Tr. at 37:17-38:8].
                                                              70
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                         f.          Guthrie Abbott

        Mr. Abbott failed to provide material information in connection with the claim he

 submitted to the Receiver.281                                  REDACTED




                       282
                              To date, Mr. Abbott has not produced claims correspondence showing

 the amount of his submitted claim to the Joint Liquidators. Mr. Abbott also never reported the

 interest earned on his SIBL CDs on his U.S. tax returns, nor has he corrected his filings to disclose

 this source of income.283 Mr. Abbott did report a loss on his tax returns in connection with his

 SIBL CDs and estimated that, by claiming this loss, he did not have to pay approximately REDACTED

 REDACTED   in taxes that he otherwise would have had to pay. 284                  REDACTED
                               285
        REDACTED                     nor has he produced copies of his requested tax returns.

 Significantly, the Receiver’s representative testified that claimants who received a tax benefit

 related to their Stanford losses are currently being put on a suspense list and are not receiving

 distributions from the Estate.286                             REDACTED



        While Mr. Abbott is a lawyer who was named in the original Petition, he testified that he

 did not meet with counsel about the case until May 27, 2015—the day before his deposition.287

 Moreover, Mr. Abbott has never read OSIC’s complaints and did not know whether the Court




 281
        See App. 673 [Dep. Ex. 53]; App. 1425-27 [Abbott Dep. Tr. at 82:18-84:23].
 282
        See id.
 283
        See App. 1439-41 [Abbott Dep. Tr. 192:8-194:1].
 284
        See App. 1441, 1447-48 [Abbott Dep. Tr. at 194:7-22, 237:24-238:14].
 285
        See App. 673 [Dep. Ex. 53].
 286
        See App. 2916-27, 2918-2920 [Russell Dep. Tr. at 107:11-108:3, 112:16-114:4].
 287
        See App. 1431 [Abbot Dep. Tr. at 131:9-14].
                                                       71
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 allowed Plaintiffs to adopt the allegations therein.288 Mr. Abbott could not recall whether he

 reviewed a draft of the Motion before it was filed.289 He also did not review any of the exhibits to

 the Motion and stated that he does not view it as part of his role as a class representative “unless

 some controversy arose that I needed to be looking at it.”290 His lack of oversight raises serious

 questions about his capacity to direct this case.

         In short, there are serious concerns about the reliability, truthfulness and credibility of the

 putative class representatives. Each has demonstrated a lack of diligence with respect to this

 Action and an improper willingness to defer to counsel on matters of importance instead of

 personally directing the litigation. None qualifies as an adequate representative for the class.

                  2.      Conflicts of Interest Between the Class Representatives and Other
                          Class Members Negate Adequacy

         “Numerous courts have held that intraclass conflicts may negate adequacy under Rule

 23(a)(4).” Langbecker v. Elec. Data Sys., Corp., 476 F.3d 299, 315-16 (5th Cir. 2007) (finding

 “[t]he trial court too readily succumbed to [plaintiffs’] minimization of the intraclass problems”).

 Indeed, class representatives must “possess the same interest and suffer the same injury as the

 class members.” Amchem Prods., 521 U.S. at 625-26 (finding that serious intraclass conflicts

 precluded class from meeting adequacy of representation requirement).

         The named Plaintiffs’ claims differ in substantial and material ways from the claims of

 other class members, creating numerous conflicts of interest among class members:

         •                                          REDACTED


                            291
                                                         REDACTED                                  In total, the

 288
         See App. 1432-33 [Abbott Dep. Tr. at 161:15-162:13].
 289
         See App. 1434 [Abbott Dep. Tr. 173:13-24].
 290
         App. 1435-38 [Abbott Dep. Tr. at 181:24-184:5].
 291
         See App. 1422-25, 1428, 1442-44, 1453-55 [Abbott Dep. Tr. at 79:18-82:7, 104:1-13, 200:18-202:13,
 318:25-320:15]; App. 1164 [Dep. Ex. 52]; App. 1643-44 [Suarez July 1, 2015 Dep. Tr. at 165:17-166:20]; App. 1156
 [Dep. Ex. 20]; App. 740 [Dep. Ex. 12]; App. 1685-87, 1701-04 [Estefenn July 2, 2015 Dep. Tr. at 88:15-90:4,
 158:20-161:5]; App. 1161 [PENHOS_000270]; App. 1575-76 [Penhos Dep. Tr. at 198:9-199:8].
                                                       72
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              Joint Liquidators are seeking approximately $600 million in preferential transfers.292
              The class members who did not receive such payments have a huge vested interest in
              seeing repayment to the estate, creating a significant rift within the class.

         •    Certain class members, including Mr. Queyrouze,293 were accredited investors who had
              a more sophisticated understanding of their investments and received materials
              concerning SIBL that were not provided to class members in foreign jurisdictions who
              were not required to be accredited investors.

         •    Plaintiffs’ claims hinge on an argument that Defendants should have detected
              Stanford’s fraud and ceased doing business with Stanford. But to prove damages,
              Plaintiffs will have to select a date certain on which each Defendant should have
              severed ties with Stanford. Determination of this severance date will have disparate
              implications for the calculation of each class member’s damages—meaning that some
              class members will favor an earlier severance date and others a later severance date to
              maximize their respective damages.294

         •    The assurances, advice and information the putative class members used in deciding
              whether to initially invest in SIBL CDs were unique and as varied as the putative class
              members themselves. For example, Mr. Abbott and Ms. Suarez both decided to invest
              based exclusively on the oral representations of their financial advisors,295 putting them
              in conflict with members of the putative class who may have relied on Stanford’s
              written materials.

         •    Some members of the putative class are able to assert certain claims under the TSA,
              while others are not. For example, putative class members who were not Texas
              residents or were not present in Texas when the offer of sale was made—which
              includes all of the named class representatives—cannot bring claims for violations of
              the TSA based on the sale of unregistered securities. See Tex. State Sec. Bd., Rule
              139.7(a) (2015); SAC ¶ 235. As a result, the named class representatives have neither
              the ability nor the incentive to assert such claims on behalf of absent class members
              who may be able to.

         •    Many putative class members purchased SIBL CDs in foreign jurisdictions that will
              not enforce a U.S. judgment in this Action. These class members have different
              incentives in litigating this case. If they are dissatisfied with the Court’s judgment,
              they could relitigate their claims against Defendants in another jurisdiction, hoping for
              better results.

         In sum, these conflicts divide the members of the putative class and reflect tensions and


 292
          See App. 3047 [Stanford International Bank – In Liquidation (the Bank) Preference Payments to Creditors in
 the run up to insolvency, available at http://www.sibliquidation.com/faq/preference-payments/ (last visited Oct. 1,
 2015)].
 293
          See App. 1365-66 [Queyrouze Dep. Tr. at 137:21-138:2]; see supra, Section II.B.
 294
          See App. 2103-05 [Lehn Decl. ¶¶ 57-63].
 295
          See App. 1408-11, 1414-16, 1449 [Abbott Dep. Tr. at 32:8-33:14, 34:14-35:12, 44:2-46:18, 241:11-13]; App.
 1623 [Suarez July 1, 2015 Dep. Tr. at 82:3-23].
                                                         73
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 divided ambitions among competing class members. Plaintiffs’ failure to address these conflicts

 of interest is fatal to the adequacy requirement.

 III.   THE PROPOSED CLASS IS NOT CLEARLY ASCERTAINABLE

        “It is elementary that in order to maintain a class action, the class sought to be represented

 must be adequately defined and clearly ascertainable.” DeBremaecker v. Short, 433 F.2d 733, 734

 (5th Cir. 1970). Indeed, “[t]he existence of an ascertainable class of persons to be represented by

 the proposed class representative[s] is an implied prerequisite of Federal Rule of Civil Procedure

 23.” John v. Nat’l Sec. Fire & Cas. Co., 501 F.3d 443, 445 (5th Cir. 2007).

        Plaintiffs have not put forth any reliable way of identifying the putative class members

 during the proposed class period, instead punting that responsibility to the Receiver who, in turn,

 has indicated it would be very difficult to decide who fits inside the class.296 Moreover, because

 Plaintiffs have now disavowed using the Receiver’s claim methodology to determine damages,

 there is a fatal conflict between the proposed class and their legal theories.

                                                    REDACTED



                          297
                                                               REDACTED



        298
                                                     REDACTED
                                                                     299
                                                                           The Receiver’s representative

 testified that he does not have the information required to identify class members and would have

 to go through a series of queries and decision-points in order to try to generate a potential list.300


 296
        See App. 2948-56 [Russell Dep. Tr. at 248:9-256:12].
 297
        See App. 7253 [Spreadsheet from Receiver].
 298
        See id.
 299
        See id.
 300
        See App. 2948-56 [Russell Dep. Tr. at 248:9-256:12].
                                                       74
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 Even then, the Receiver’s representative stated that class members could not be identified as

 individuals, but only as the “groups” that the Receiver has constructed for calculating claims.301

        Plaintiffs’ failure to address this issue, which makes it wholly impossible for Defendants

 and the Court to determine which claimants are arguably members of the class, should doom their

 proposed class. See Carrera v. Bayer Corp., 727 F.3d at 308; Martin v. Pac. Parking Sys. Inc.,

 583 F. App’x 803, 804 (9th Cir. 2014) (“Given these difficulties identifying the members of the

 proposed class, and the fact that [plaintiff] proposed no plan to the district court for manageably

 determining which individuals are members, we conclude that the court did not abuse its

 discretion in denying class certification.”).

        Moreover, excluding the claimants from foreign countries that would not enforce this

 Court’s judgment would likely be impossible. The Receiver testified that the geographic data he

 has about most investors is meaningless because his claim “groups” may aggregate the claims of

 multiple, geographically-dispersed individuals; people’s addresses have changed; and many

 claimants used mailing addresses outside their countries of residence.302 Likewise, parsing out

 class members who are “accredited investors” and therefore unable to pursue a TSA claim under

 Article 581-33(A)(1) would involve highly individualized inquiries—as would elimination of

 class members based on the statute of limitations, lack of reliance, and lack of causally-connected

 damages. “If class members are impossible to identify without extensive and individualized fact-

 finding or ‘mini-trials,’ then a class action is inappropriate.” Marcus v. BMW of N. Am., LLC, 687

 F.3d 583, 593 (3d Cir. 2012).

                                              CONCLUSION

        For all of the reasons stated above, Defendants respectfully request that the Court deny the

 Motion.

 301
        See App. 2948-50 [Russell Dep. Tr. at 248:9-250:17].
 302
        See App. 2911-12, 2921-25, 2933-34 [Russell Dep. Tr. at 38:10-39:24, 115:19-119:14, 130:1-131:19].
                                                      75
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                                                   Attorneys for Defendant Independent Bank,
                                                   successor by merger to Bank of Houston




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    Attorneys for Defendant Blaise Friedli




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                                                                                   APPENDIX A

                                                                      CLAIMANTS BY CONTINENT




                                                                   Europe
                                                                  $285 M
                                                                679 claimants




                                                                                                                                                                      Asia
      North America
                                                                                                                                                                     $44 M
          $4.8 B
                                                                                                                                                                  81 claimants
     11,209 claimants
                                                                                                                                                                                          Case 3:09-cv-02384-N-BQ Document 351 Filed 11/02/15




                                                                              Africa
             South America                                                                                              Australia
                                                                              $76 M
                  $2 B                                                                                                    $25 M
                                                                           70 claimants
             9,683 claimants                                                                                           15 claimants
                                                                  Antarctica
                                                                      $56
                                                                  1 claimant


Source: Data taken from information provided by the Joint Liquidators and produced by investor-Plaintiffs in Troice v. Proskauer regarding the country of citizenship for claimants who
submitted claims to the Joint Liquidators. See App. 2926-27, 2928-32 [Russell Dep. Tr. at 122:17-123:22, 125:17-129:21]; App. 651-52 [“Stanford International Bank – In Liquidation:
Summary of Claims by Country and Status”]; Troice v. Proskauer Rose LLP, et al., No. 09-cv-01600-N-BG, Dkt. No. 198-8 at 105-06, Dkt. No. 197 at 55, Dkt. No. 193 at 45-46.
                                                                                                                                                                                          Page 91 of 113 PageID 19913
                                                                                   APPENDIX B

                                                                 CLAIMANTS IN TOP 6 COUNTRIES




                                                          United States
                                                             $1.6 B
                                                         3,438 claimants



                                                                                  Haiti
         Mexico
                                                                                $234 M
         $976 M
                                                                              294 claimants
     3,077 claimants

             Venezuela                                                          Antigua &
                                                                                                                                                                                          Case 3:09-cv-02384-N-BQ Document 351 Filed 11/02/15




               $1.6 B                                                            Barbuda
          8,313 claimants                                                         $1.5 B
                                                                             3,176 claimants
                     Peru
                   $122 M
                 378 claimants



Source: Data taken from information provided by the Joint Liquidators and produced by investor-Plaintiffs in Troice v. Proskauer regarding the country of citizenship for claimants who
submitted claims to the Joint Liquidators. See App. 2926-27, 2928-32 [Russell Dep. Tr. at 122:17-123:22, 125:17-129:21]; App. 651-52 [“Stanford International Bank – In Liquidation:
Summary of Claims by Country and Status”]; Troice v. Proskauer Rose LLP, et al., No. 09-cv-01600-N-BG, Dkt. No. 198-8 at 105-06, Dkt. No. 197 at 55, Dkt. No. 193 at 45-46.
                                                                                                                                                                                          Page 92 of 113 PageID 19914
                                                                                   APPENDIX C

                                                             CLASS COMPOSITION—106 COUNTRIES


                             Total Value                                       Percentage of                               Total Value                                         Percentage of
                           of Claimants in   Percentage of                         Total                                 of Claimants in    Percentage of                          Total
          Country            US Dollars      Total Dollars No. of Claimants     Claimants                  Country         US Dollars       Total Dollars No. of Claimants      Claimants
Venezuela                             1.6B              22%            8313              38%    Nicaragua                            15M               .2%              30                .1%
United States                         1.6B              22%            3438              16%    New Zealand                          14M               .2%              11                .5%
Antigua and Barbuda                   1.5B              20%            3176              15%    Jamaica                              12M               .2%              14               .06%
Mex ico                              976M               13%            3071              14%    Guy ana                              11M               .1%              22                .1%
Haiti                                234M                3%             294               1%    Russian Federation                   11M               .1%              21               .09%
Peru                                 122M                2%             378               2%    Brazil                               10M               .1%              32                .1%
Colombia                             105M                1%             384               2%    Boliv ia                              9M               .1%              24                .1%
Virgin Islands (British)               91M               1%             102              .4%    Cay man Islands                       9M               .1%               6               .03%
Panama                                 90M               1%              99              .4%    Costa Rica                            9M               .1%              16               .07%
Aruba                                  76M               1%             268              .1%    Egy pt                                9M               .1%              42                .1%
The Netherlands                        75M               1%             116              .5%    Latv ia                               9M               .1%               6               .03%
Ecuador                                65M               1%             378              .2%    Portugal                              8M               .1%              17               .08%
El Salv ador                           63M              .9%              77              .4%    Belgium                               7M               .1%              24                .1%
Netherlands Antilles                   63M              .8%             235               1%    Sw itzerland                          7M               .1%              28                .1%
Liby an Arab Jamahiriy a               58M              .8%               2            .009%    Dominican Republic                    6M              .08%              36                .2%
United Kingdom                         56M              .7%             158              .7%    United Arab Emirates                  6M              .09%               6               .02%
                                                                                                                                                                                            Case 3:09-cv-02384-N-BQ Document 351 Filed 11/02/15




Canada                                 45M              .6%             159              .7%    Barbados                              5M              .08%              14               .06%
France                                 34M              .4%              37              .2%    Trinidad and Tobago                   5M              .07%              30                .1%
Argentina                              29M              .4%             122              .5%    Ireland                               3M              .05%               6               .03%
Spain                                  29M              .5%             106              .5%    Isle of Man                           3M              .05%               3               .01%
Guatemala                              27M              .4%              87              .4%    Saint Kitts and Nev is                3M              .05%               7               .03%
Germany                                21M              .3%              29              .1%    Virgin Islands (U.S.)                 3M              .04%               4               .02%
Singapore                              17M              .2%              11              .5%    Chile                                 2M              .03%              12               .05%
Israel                                 16M              .2%              40              .1%    Guadeloupe                            2M              .03%               2               .01%
Bahamas                                15M              .2%               4              .2%    Keny a                                2M              .04%               8               .04%
Italy                                  15M              .2%              49              .2%    Liberia                               2M              .03%               2               .01%

Source: Data taken from information provided by the Joint Liquidators and produced by investor-Plaintiffs in Troice v. Proskauer regarding the country of citizenship for claimants who
submitted claims to the Joint Liquidators. See App. 2926-27, 2928-32 [Russell Dep. Tr. at 122:17-123:22, 125:17-129:21]; App. 651-52 [“Stanford International Bank – In Liquidation:
Summary of Claims by Country and Status”]; Troice v. Proskauer Rose LLP, et al., No. 09-cv-01600-N-BG, Dkt. No. 198-8 at 105-06, Dkt. No. 197 at 55, Dkt. No. 193 at 45-46.
                                                                                                                                                                                            Page 93 of 113 PageID 19915
                             Total Value                                      Percentage of                                  Total Value                                       Percentage of
                           of Claimants in   Percentage of                        Total                                   of Claimants in     Percentage of                        Total
          Country            US Dollars      Total Dollars No. of Claimants    Claimants                 Country             US Dollars       Total Dollars No. of Claimants    Claimants
Senegal                                 2M             .03%               1           .001%    Taiw an                                331K             .005%               1             .01%
Australia                               1M             .02%               4             .02%   Bosnia and Herzegov ina                305K             .004%               1             .01%
Bahrain                                 1M             .02%               2             .01%   Grenada                                257K             .004%               3             .01%
Bermuda                                 1M             .03%               4             .02%   Ghana                                  238K             .003%               2             .01%
Greece                                  1M             .01%               8             .03%   Poland                                 239K             .003%               2             .01%
Honduras                                1M             .02%               4             .02%   Saudi Arabia                           266K             .004%               1             .01%
Lebanon                                 1M             .03%               5             .02%   Sy rian Arab Republic                  235K             .003%               4             .02%
Montserrat                              1M             .01%               2             .01%   Macedonia                              212K             .003%               3             .01%
Namibia                                 1M             .02%               4             .02%   Kuw ait                                197K             .003%               1             .01%
People’s Republic of China              1M             .01%               3             .01%   Anguilla                               158K             .002%               4             .02%
Puerto Rico                             1M             .03%               8             .03%   Turkey                                 116K             .002%               2             .01%
Sw eden                                 1M             .02%              18             .08%   Iceland                                101K             .001%               1             .01%
Suriname                                1M             .02%               5             .02%   Angola                                  96K             .001%               1             .01%
Ukraine                                 1M             .03%               6             .03%   Croatia (Hrv atska)                     56K             .001%               1             .01%
Uruguay                                 1M             .02%               6             .03%   Norw ay                                 53K             .001%               1             .01%
Paraguay                              917K             .01%               7             .03%   Nigeria                                 49K             .001%               1             .01%
Austria                               873K             .01%              14             .06%   Serbia                                  43K             .001%               1           .005%
Tanzania                              828K             .01%               1             .01%
                                                                                                                                                                                            Case 3:09-cv-02384-N-BQ Document 351 Filed 11/02/15




                                                                                               Saint Vincent and The Grenadines        34K             .000%               1           .005%
Denmark                               767K             .01%               7             .03%   Hungary                                 26K             .000%               1           .005%
India                                 752K             .01%               6             .03%   Congo (Democratic Republic)             25K             .000%               1           .005%
Belize                                721K             .01%               4             .02%   Uganda                                  20K             .000%               1           .005%
Martinique                            572K            .008%               2             .01%   Chad                                    19K             .000%               1           .005%
South Africa                          572K            .008%               3             .01%   Malta                                   18K             .000%               1           .001%
Bulgaria                              507K            .007%               3             .01%   Azerbaijan                              13K             .000%               1           .005%
Cy prus                               448K            .006%               6             .03%   Bouv et Island                         55.78            .000%               1           .005%
Saint Lucia                           447K            .006%               5             .02%   Yemen                                  52.11            .000%               1           .005%
Cuba                                  354K            .005%               3             .01%
                                                                                                              TOTAL                 7.2B                            21,738
Romania                               345K            .005%               2             .01%
                                                                                                                                                                                            Page 94 of 113 PageID 19916
                                                                                      APPENDIX D

                                                                  CLASS COMPOSITION—47 STATES


                          % of        # of      % of                                       % of        # of      % of                                      % of        # of      % of
State      Dollars        Dollars     Claimants Claimants       State       Dollars        Dollars     Claimants Claimants      State       Dollars        Dollars     Claimants Claimants
FL             857M          33.26%       2,409    34.02%       OK                    5M       0.19%          26     0.37%      SD               254K          0.01%           1     0.01%
TX             582M          22.59%       1,290    18.22%       OH                    4M       0.16%          14     0.20%      D.C.             128K          0.00%           1     0.01%
LA             561M          21.77%       1,810    25.56%       NV                    4M       0.16%           9     0.13%      DE                66K          0.00%           2     0.03%
TN               83M          3.22%        196      2.77%       MO                    3M       0.12%          14     0.20%      IA                56K          0.00%           1     0.01%
MS               64M          2.48%        125      1.77%       NM                    2M       0.08%          14     0.20%      WY                50K          0.00%           1     0.01%
GA               62M          2.41%        160      2.26%       AL                    2M       0.08%          12     0.17%      Unkown            37K          0.00%          71     1.00%
CA               60M          2.33%        177      2.50%       DC                    2M       0.08%           9     0.13%      MN                25K          0.00%           1     0.01%
NC               59M          2.29%        125      1.77%       UT                    2M       0.08%           5     0.07%      IL                23K          0.00%          33     0.47%
CO               44M          1.71%          72     1.02%       OR                    2M       0.08%           4     0.06%      PA                    7K       0.00%          31     0.44%
AR               35M          1.36%          88     1.24%       KY                    2M       0.08%           2     0.03%      MT                     0       0.00%           2     0.03%
AZ               35M          1.36%          28     0.40%       WA                    1M       0.04%          22     0.31%      ID                     0       0.00%           1     0.01%
SC               25M          0.97%          20     0.28%       WI                    1M       0.04%           6     0.08%
NY               16M          0.62%          71     1.00%       IN                    1M       0.04%           5     0.07%
                                                                                                                                                                                             Case 3:09-cv-02384-N-BQ Document 351 Filed 11/02/15




MD               13M          0.50%          26     0.37%       HI                    1M       0.04%           3     0.04%
NJ                   8M       0.31%          45     0.64%       KS                    1M       0.04%           3     0.04%
PR                   8M       0.31%          39     0.55%       AK               546K          0.02%           2     0.03%
MI                   8M       0.31%          24     0.34%       NH               501K          0.02%           4     0.06%             47 States            $2.6B          7,082
CT                   8M       0.31%          11     0.16%       WV               352K          0.01%           1     0.01%
MA                   7M       0.27%          30     0.42%       VT               323K          0.01%           2     0.03%
VA                   6M       0.23%          31     0.44%       VI               286K          0.01%           3     0.04%




 Source: Data taken from chart produced by the U.S. Receiver providing the allowed claimants’ state of residence for the allowed claims in the United States. See App. 2936-39 [Russell
 Dep. Tr. at 137:18-140:2]; App. 649 [ABBOTT_000006].
                                                                                                                                                                                             Page 95 of 113 PageID 19917
                                                  APPENDIX E
                  OVERVIEW OF PROPOSED CLASS REPRESENTATIVES

GUTHRIE ABBOTT                                                 STEVEN QUEYROUZE
U.S.citizen;M ississippiresid ent                              U.S.citizen;L ou isianaresid ent
• Filed lawsu itagainstfinancialad visorin                               REDACTED
   M ississippi
                REDACTED                                                      REDACTED

                                                                             REDACTED
                 REDACTED
                                                                             REDACTED
• D id notreportinterestfrom Stanford C D s
  on tax retu rns                                              DIANA SUAREZ
                                                               V enezu elacitizen;Florid aresid ent
 RUTH ALFILLE DE PENHOS
                                                                                 REDACTED
 M ex ican citizen and resid ent
 • A d mitted herclass representative                          • Gave P owerof A ttorney forallStanford -related
    d eclaration is wrong                                        matters to herson
 • W rongly testified she is notparty to any                   • P u tmoney in U. S.to avoid H u go C havez
    otherlawsu it,bu tis partof three su its in                  A d ministration
    M ex ico and aN A FTA arbitration                                           REDACTED
 • Repeated ly threatened to walkou tof
                                                                                                                      Case 3:09-cv-02384-N-BQ Document 351 Filed 11/02/15




    d eposition                                                                 REDACTED
                REDACTED                                       • D id notd eclare intereston Stanford C D s on U.S.
                                                                 tax retu rns


SARAH ELSON-ROGERS                                              SALIM ESTEFENN URIBE
U.K.citizen;N orthC arolinaresid ent                            C olombian citizen and resid ent
• Su bmitted inaccu rate information in                         • Su bmitted erroneou s class representative
  d eclaration to be class representative                          d eclaration regard ingTru sts thatpu rchased
           REDACTED                                                C Ds
                                                                                  REDACTED
              REDACTED
                                                                • Used his Stanford accou nts forsu spiciou s
                                                                  rou nd -tripand cu rrency ex change transfers
                                                                                                                      Page 96 of 113 PageID 19918
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                                          A P P E N D IX F

                    D E FE N D A N TS ’C L A S S C E RTIFIC A TIO N E X P E RTS


 S u bjectM atter
                          E x pert                      N otable Q u alifications/A ffiliations
of L egalO pinion
C anad ian L aw        Janet Walker           Professor of Law and past Associate Dean of
                                               Osgoode Hall Law School in Toronto and former
                                               visiting professor at universities across the globe
                                               focused on private international and comparative law
                                              Author of leading authoritative treatise, Castel &
                                               Walker: Canadian Conflict of Laws, 6th Edition




C olombian L aw       Eduardo Zuleta          Named Senior Partner at a Bogotá law firm with 25+
                                               years of practice
                                              Vice President of the International Court of
                                               Arbitration of the International Chamber of
                                               Commerce, active arbitrator across numerous foreign
                                               jurisdictions
                                              Former Professor of International Law at two
                                               Colombian law schools

E nglish L aw         Adrian Briggs           Barrister at the bar of England and Wales
                                              Professor of Private International Law at the
                                               University of Oxford
                                              Author of authoritative texts on Civil Jurisdiction
                                               and Judgments; Private International Law in
                                               English Courts; Agreements on Jurisdiction and
                                               Choice of Law; and section editor for Dicey, Morris
                                               & Collins, The Conflict of Law

French L aw         George A. Bermann         Professor of Law and of European Union law at
                                               Columbia Law School, focus includes comparative
                                               and international law
                                              Distinguished Chair holder and Affiliated Professor
                                               of Law at the Institut des Sciences Politiques (Paris,
                                               France)
                                              Council Member of the European Law Institute
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German L aw             Stephan Wilske          Partner at German law firm with specialized practice
                                                 in international disputes and cross-border litigation,
                                                 including the recognition and enforcement of foreign
                                                 judgments
                                                Dual U.S. and German licensed, multi-lingual
                                                 practitioner of private international law



L atin A merican         Antonio Gidi           Drafter of model class action code for Latin America
L aw,withfocu s                                  / Civil Law countries and of comprehensive class
on:E cu ad or,E l                                action legislation for Mexico and Brazil
S alvad or,                                     Visiting Professor of International Law at
M ex ico,                                        universities throughout the U.S., Brazil, Italy,
P anama,P eru ,                                  Belgium, France
and V enezu ela                                 Reputed scholar on the recognition and enforcement
                                                 of U.S. class actions abroad

M ex ican L aw         Eduardo Siqueiros        Partner at Hogan Lovells LLP in Mexico City and
                                                 former founding partner of prominent Mexican law
                                                 firm with 30+ years of practice
                                                Professor of Law at two Mexican law schools on
                                                 matters of private international commercial law
                                                Chairman of the Board of Arbitration before the
                                                 International Court of Arbitration of the International
                                                 Chamber of Commerce

Form er             Rogier F. van den Heuvel    Attorney at a Curaçao law firm, specializing in
N etherland s                                    corporate litigation, international disputes and the
A ntillean L aw                                  recognition and enforcement of foreign awards
(inclu d ing                                    Visiting lecturer in Private International Law at the
A ru ba)                                         University of Curaçao School of Law




P anamanian              Arturo Hoyos           Former Chief Justice of the Supreme Court of Justice
L aw                                             of Panama, with longest tenure in Panamanian
                                                 history (16 years)
                                                Eight years sitting on Fourth Chamber of Supreme
                                                 Court that governs recognition of foreign judgments
                                                40 years’ experience in Panamanian courts and
                                                 abroad
                                                Current law firm founder and practitioner at Hoyos
                                                 & Associates


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P eru vian L aw     J. Domingo Rivarola    Drafter of Peruvian legislation concerning class
                           Reisz            action litigation for consumer protection issues
                                           Partner at a Lima law firm, Fulbright Scholar with
                                            extensive experience in international commercial
                                            litigation
                                           Professor at Law at Pontificia Universidad Católica
                                            del Perú



S panish L aw          David Arias         Founding partner of Madrid law firm Arias SLP,
                                            head of international dispute resolution practice
                                           Professor of Law at Universidad Francisco de
                                            Vitoria
                                           Drafter of model rules for international dispute
                                            resolution, arbitrator and counsel in international
                                            conflicts


S wiss L aw           Isabelle Romy        Former Deputy Judge at Swiss Federal Supreme
                                            Court
                                           Partner at Zurich law firm
                                           Associate Professor of Law at the University of
                                            Fribourg and the Federal Institute of Technology in
                                            Lausanne, focus includes Swiss and European
                                            Private International Law


V enezu elan L aw   James Otis Rodner      Founding partner of highly-ranked Venezuelan law
                                            firm Rodner Martínez & Asociados
                                           Harvard J.D. and M.B.A., former professor of law at
                                            numerous universities in Caracas
                                           Former principal member of International Court of
                                            Arbitration of the International Chamber of
                                            Commerce




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D amages          Kenneth M. Lehn     Former Chief Economist of the U.S. Securities and
                                       Exchange Commission
                                      Samuel A. McCullough Professor of Finance at the
                                       University of Pittsburgh, Joseph M. Katz Graduate
                                       School of Business
                                      Former Director of the Center for Research on
                                       Contracts and the Structure of Enterprise, University
                                       of Pittsburgh




                                        4
                                                                                         APPENDIX G

                                           PROPOSED CLASS REPRESENTATIVES’ ALLOWED CLAIM AMOUNTS
                                                                                                                                                                                                        Case 3:09-cv-02384-N-BQ Document 351 Filed 11/02/15



                                                                                                                                                                                     REDACTED




Source: Data taken from documents produced by the six plaintiffs and the U.S. Receiver, and plaintiffs’ deposition testimony. See App. 675 [ABBOTT_000433]; App. 1059 [STAN_TDBANK_000383]; App. 1051
[STAN_TDBANK_000553]; App. 1055 [STAN_TDBANK_000654]; App. 1165 [ABBOTT_000011]; App. 1111 [PENHOS_000095]; App. 1574-75 [June 10, 2015 Penhos Dep. Tr. at 195:18-25, 198:9-11]; App. 671
[ELSON-ROGERS_000790]; App. 903-04 [ELSON-ROGERS_000639-40]; App. 1087, 1090 [URIBE_000013, URIBE_000016]; App. 1113 [URIBE_000083]; App. 1121 [URIBE_000090]; [STAN_TDBANK_000089];
App. 1137 [STAN_TDBANK_000210]; App. 1063 [STAN_TDBANK_000657]; App. 1381-84 [May 27, 2015 Queyrouze Dep. Tr. at 229:18-232:18]; App. 1071 [SUAREZ_000158]; App. 1156 [SUAREZ_000167]; App.
1083 [SUAREZ_000204].
                                                                                                                                                                                                        Page 101 of 113 PageID 19923
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                                            APPENDIX H

                   EXECUTIVE SUMMARY OF STATE LAW DIFFERENCES

           This Executive Summary provides examples of state law variations regarding the
   common law claims in this Action, which involve aiding and abetting tort liability; aiding and
   abetting a fraud; aiding and abetting conversion; aiding and abetting a breach of fiduciary duty;
   and civil conspiracy. The complete analysis of the state laws on these claims is set forth in
   Exhibits 9 to 12 in the Appendix.



   I.     STATE VARIATIONS IN THE LAW OF AIDING AND ABETTING TORTS

          A.      Examples of States that Do Not Recognize Aiding and Abetting Tort Liability

   Alabama – Continental Casualty Co. v. Compass Bank, No. CIV.A. 04-0766-KD-C, 2006 WL
   566900, at *11 (S.D. Ala. Mar. 6, 2006) (noting “it does not appear that Alabama recognizes the
   claim of aiding and abetting common law torts” and commenting that “[w]hen aiding and
   abetting is discussed in Alabama cases it is almost exclusively in the context of a criminal case
   or in reference to a specific civil statutory provision”).

   Louisiana – Guidry v. Bank of LaPlace, 661 So. 2d 1052, 1057 (La. Ct. App. 1995) (“In the
   absence of a conspiracy, there is no distinct cause of action for aiding and abetting under
   Louisiana law.”).

   Ohio – Wells Fargo v. Smith, No. 2012-04-006, 2013 WL 938069, at *7 (Ohio Ct. App. Mar. 11,
   2013) (“Ohio does not recognize a cause of action for aiding and abetting a tortious act.”);
   DeVries Dairy, L.L.C. v. White Eagle Coop. Assn., Inc., 974 N.E.2d 1194 (Ohio 2012) (holding
   that Ohio has never recognized an action for tortious acts in concert under the Restatement
   (Second) of Torts § 876).

          B.      Examples of States that Recognize Aiding and Abetting Tort Liability

   Alaska – Beal v. McGuire, 216 P.3d 1154, 1174 (Alaska 2009) (“aiding and abetting liability
   occurs when the actor knows that the other’s conduct constitutes a breach of duty and gives
   substantial assistance or encouragement to the other”).

   California – Casey v. U.S. Bank Nat’l Ass’n, 26 Cal. Rptr. 3d 401, 405 (Ct. App. 2005)
   (“California has adopted the common law rule for subjecting a defendant to liability for aiding
   and abetting a tort.”).

   Maine – Barnes v. McGough, 623 A.2d 144, 145 (Me. 1993) (the claim of aiding and abetting a
   tort is recognized in Maine).

   New Mexico – GCM, Inc. v. Kentucky Cent. Life Ins. Co., 947 P.2d 143, 147 (N.M. 1997) (“New
   Mexico recognizes tort liability for aiding and abetting another’s tortious conduct.”).
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          C.      Examples of States That Have Not Explicitly Addressed Aiding and Abetting
                  Tort Liability

   Missouri – Jo Ann Howard & Assocs., P.C. v. Cassity, No. 09 CV 1252, 2012 WL 3984486, at
   *6 (E.D. Mo. Sept. 11, 2012) (“[T]he Missouri Supreme Court has not squarely decided whether
   to recognize the tort of aiding and abetting.”).

   II.    STATE VARIATIONS IN THE LAW OF AIDING AND ABETTING FRAUD

          A.      Examples of State Law Variations With Respect to States’ Recognition of a
                  Cause of Action for Aiding and Abetting Fraud

   Ohio – Fed. Mgt. Co. v. Coopers & Lybrand, 738 N.E.2d 842, 853 (Ohio Ct. App. 2000) (“Ohio
   does not recognize a claim for aiding and abetting common-law fraud.”).

   New Jersey – State, Dep’t of Treasury, Div. of Inv. ex rel. McCormac v. Qwest Commc’ns Int’l,
   Inc., 904 A.2d 775, 782 (N.J. Super Ct. App. Div. 2006) (“[A]iding and abetting fraud is a
   cognizable civil cause of action under New Jersey law.” )

   Hawaii – Television Events & Mktg., Inc. v. Amcon Distrib. Co., 488 F. Supp. 2d 1071, 1077 (D.
   Haw. 2006) (“the courts recognized that Hawaii had not indicated whether a cause of action for
   aiding and abetting fraud existed, but neither court reached the issue because the respective
   plaintiffs failed to make any allegations to support such a claim”).

          B.      Examples of State Law Variations With Respect to the Injured Party’s
                  Reliance on the Fraudulent Statement

   Texas – Miller Global Props., LLC v. Marriott Int’l, Inc., 418 S.W.3d 342, 347-48 (Tex. App.—
   Dallas 2013, pet. denied) (plaintiffs “must have both actually and justifiably relied on the alleged
   misrepresentation to suffer a compensable injury”).

   Kansas – Slaymaker v. Westgate State Bank, 241 Kan. 525, 532 (1987) (“The injured party’s
   reliance on a fraudulent misrepresentation must be reasonable, justifiable and detrimental.”).

   Massachusetts – Mass. v. Mylan Labs., 608 F. Supp. 2d 127, 156-57 (D. Mass 2008) (a plaintiff
   “must also prove that it relied upon the representation as true” and that reliance was reasonable).

   Iowa – Spreitzer v. Hawkeye State Bank, 779 N.W.2d 726, 736 (Iowa 2009) (noting that
   “justifiable reliance is an essential element of a claim for fraud”).

   New Mexico – Papatheofanis v. Allen, 242 P.3d 358, 361 (N.M. Ct. App. 2010) (noting there
   must be detrimental reliance).

   Oregon – Or. Pub. Emples. Ret. Bd. v. Simat, Helliesen & Eichner, 83 P.3d 350, 361 (Or. Ct.
   App. 2009) (to prevail on a fraud claim, “reliance in fact must be reasonable, but such
   reasonableness is measured in the totality of the parties’ circumstances and conduct”).
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   North Dakota – Phoenix Assurance Co. v. Runck, 366 N.W.2d 788, 792 (N.D. 1985) (“In
   actions for fraud it is not required that a defendant’s representations be the sole cause of the
   damage. If they are a substantial factor in inducing the plaintiff to act, even though he also relies
   in part upon the advice of others, reliance is sufficiently shown.”).

          C.      Examples of State Law Variations Regarding Required Level of Knowledge
                  and Intent of Party Making the Fraudulent Statement

                  1.      Example of States Requiring Actual Knowledge of Falsity

   Alaska – Lightle v. State, Real Estate Comm’n, 146 P.3d 980, 983-84 (Alaska 2006) (“To be
   ‘fraudulent,’ then, a representation need only be made with ‘scienter,’ in other words, the
   necessary ‘knowledge of the untrue character.’”).

   Connecticut – Alliance Grp. Servs., Inc. v. Grassi & Co., 406 F. Supp. 2d 157, 167 (D. Conn.
   2005) (“[A] defendant must know what he or she represents as true is not true. A reckless
   allegation will not suffice.”).

                  2.      Example of States Requiring Only Recklessness

   Minnesota – Florenzano v. Olson, 387 N.W.2d 168, 173 (Minn. 1986) (“even if a
   misrepresentation is made without purpose to deceive or without knowledge of its falseness, ‘the
   fraud is as great as if the party knew his statement to be untrue’”).

   Tennessee – Davis v. McGuigan, 325 S.W.3d 149, 154 (Tenn. 2010) (statement needs to have
   been made with knowledge of falsity or recklessness or without belief that it was true).

   West Virginia – State v. Berkeley, 23 S.E. 608, 609 (W. Va. 1985) (“[A] false representation
   may be made [with] scienter, in contemplation of law, in any of the following ways: (1) With
   actual knowledge of its falsity; (2) without knowledge either of its truth or falsity; or (3) under
   circumstances in which the person making it ought to have known, if he did not know, of its
   falsity.”)

                  3.      Example of States Requiring Actual Knowledge Plus Intent to Deceive

   New Jersey – Desi, poLink Court Reporting & Litig. Support Servs. v. Rochman, 64 A.3d 579,
   586 (App. Div. 2013) (plaintiff must demonstrate “defendant’s knowledge of the falsity and
   intent to obtain an undue advantage”).

   North Carolina – Latta v. Rainey, 689 S.E.2d 898, 909 (N.C. Ct. App. 2010) (“required scienter
   is not present without both knowledge and an intent to deceive, manipulate, or defraud”).

                  4.      Example of States Requiring Actual Knowledge or Recklessness, Plus
                          Intent to Deceive

   Kentucky – United Parcel Serv. Co. v. Rickert, 996 S.W.2d 464, 468 (Ky. 1999) (knowledge or
   recklessness, coupled with intent to induce reliance is required for fraud claims).
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   Louisiana – Sys. Eng’g and Sec., Inc. v. Sci. & Eng’s Ass’ns, Inc., 962 So. 2d 1089, 1091 (La.
   Ct. App. 2007) (knowing misrepresentation and intent to deceive required).

   New Mexico – Papatheofanis v. Allen, 242 P.3d 358, 361 (N.M. Ct. App. 2010) (there must be
   knowledge of the falsity of the representation or recklessness in making the representation and
   intent to deceive and to induce reliance).

          D.      Examples of State Law Variations With Respect to the Required Standard of
                  Proof for Fraud

                  1.     Examples of States That Require Clear and Convincing Evidence

   Connecticut – Stuart v. Freiberg, 116 A.3d 1195, 1203-04 (Conn. 2015) (noting that the
   elements of fraud must be “show[n] by clear and convincing evidence”).

   Delaware – In re Estate of Dugger, No. 224629, 2000 WL 1528710, at *4 (Del. Ch. Sep. 29,
   2000 (same)

   Florida – Ibarra v. Izaguirre, 985 So.2d 1117, 1119 (Fla. Dist. Ct. App. 2008) (same).

   Mississippi – Moore v. Bailey, 46 So. 3d 375, 383-384 (Miss. Ct. App. 2010) (“To demonstrate
   a prima facie case of fraud, otherwise known as intentional misrepresentation, a plaintiff must
   demonstrate by clear and convincing evidence the following nine elements [of fraud].”).

                  2.     Examples of States That Require Proof by a Preponderance of the
                         Evidence

   Arkansas – Tyson Foods v. Davis, 66 S.W.3d 568, 577 (Ark. 2002) (“The tort of fraud or deceit
   consists of five elements that the plaintiff must prove by a preponderance of the evidence.”).

   Montana – In re Estate of Kindsfather, 108 P.3d 487, 490 (Mont. 2005) (“A mere suspicion of
   fraud is not sufficient, fraud must be proven by a preponderance of the evidence.”).

   Rhode Island – Ostalkiewicz v. Guardian Alarm, Div. of Colbert’s Sec. Servs., Inc., 520 A.2d
   563, 569 (R.I. 1987) (“[F]raud in a civil suit need only be proven by a fair preponderance of the
   evidence.”).

                  3.     Examples of States That Apply Other Standards of Proof

   Alabama – Hunt Petroleum Corp. v. State, 901 So. 2d 1, 17 (Ala. 2004) (“[A] party can prove
   fraud by ‘substantial evidence’ without having the “clear and convincing evidence” described in
   the statute as necessary to justify punitive damages in a fraud action.”).

   Iowa – Hoelscher v. Sandage, 462 N.W.2d 289, 291 (Iowa Ct. App. 1990) (each element of
   fraud must be proved “by a preponderance of clear, satisfactory, and convincing evidence”).
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   South Carolina – Moseley v. All Things Possible, Inc., 694 S.E.2d 43, 45 (S.C. Ct. App. 2010)
   (“To prevail on a cause of action for fraud, a Plaintiff must prove [the elements] by clear, cogent
   and convincing evidence.”).

          E.      Examples of State Law Variations With Respect to the Applicable Statute of
                  Limitations for Fraud

   Louisiana – Winn Fuel Serv., Inc. v. Booth, 34 So.3d 515, 519 (La. Ct. App. 2010) (one-year
   statute of limitations for fraud).

   Ohio – Bennett v. McKibben, 915 P.2d 400, 405 (Okla. Civ. App. 1996 (two-year statute of
   limitations for fraud).

   Georgia – Hamburger v. PFM Capital Mgmt., Inc., 286 Ga. App. 382, 387 (2007) (four-year
   statute of limitations for fraud claims).

   Indiana – Orem v. Ivy Tech State Coll., 711 N.E.2d 864, 870 n.7 (Ind. Ct. App. 1999) (six years
   for fraud).

   III.   STATE VARIATIONS IN THE LAW OF AIDING AND ABETTING
          CONVERSION

          A.      Examples of State Law Variations With Respect to Recognition of a Cause of
                  Action for Aiding and Abetting Conversion

   Kentucky – Budsgunshop.com, LLC v. Security Safe Outlet, Inc., No. 10-cv-00390-KSF, 2012
   WL 1899851, at *18-19 (E.D. Ky. May 23, 2012) (noting that the court was unable to find a
   Kentucky state court case recognizing a civil action for aiding and abetting conversion).

   New York – Dickinson v. Igoni, 76 A.D.3d 943, 945 (N.Y. App. Div. 2010) (New York law
   “permits a claim for aiding and abetting conversion”).

   Utah – Albright v. Attorney’s Title Ins. Fund, No. 2:03-cv-517, 2008 WL 2952260, at *12 (D.
   Utah July 28, 2008) (“Although Utah appears to recognize aiding and abetting liability for
   intentional torts . . . Utah courts have not specifically recognized a cause of action for aiding and
   abetting conversion.”).

          B.      Examples of State Law Variations With Respect to Required Intent for
                  Conversion

   Hawaii – Brooks v. Dana Nance & Co., 153 P.3d 1091, 1100 (Haw. 2007) (plaintiff must prove
   that defendant had “a constructive or actual intent to injure”); accord. Newcomb v. Cambridge
   Home Loans, Inc., 861 F. Supp. 2d 1153, 1164 (D. Haw. 2012).

   Colorado – Harris Grp., Inc. v. Robinson, 209 P.3d 1188, 1199 (Colo. App. 2009) (for
   conversion claim, a plaintiff must show a defendant “intentionally exercised dominion or control
   over a chattel”); but see Holmes v. Young, 885 P.2d 305, 310 (Colo. App. 1994) (“There is a
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   divergence of authority [in Colorado] as to whether actual knowledge is required or whether
   constructive knowledge of the breach will suffice.”).

   Delaware – Segovia v. Equities First Holdings, LLC, No. CIV.A.06C09-149-JRS, 2008 WL
   2251218, at *19 (Del. Super. May 30, 2008) (“Conversion need not be accompanied by a
   subjectively wrongful intent to be actionable . . . . A person who mistakenly believes that his or
   her conduct is legal may nonetheless commit conversion.”).

          C.      Examples of State Law Variations in Rules Governing Claims for Conversion
                  of Money

   Delaware – AM Gen. Holdings LLC ex rel. Ilshar Capital LLC v. Renco Grp., Inc., No. CV
   7639-VCN, 2013 WL 5863010, at *16 (Del. Ch. Oct. 31, 2013) (“Under Delaware law, an action
   in conversion will not lie to enforce a claim for the payment of money.”).

   California – Sanowicz v. Bacal, 184 Cal. Rptr. 3d 517, 529 (Ct. App. 2015) (money cannot be
   the subject of a conversion action “unless there is a specific, identifiable sum involved”).

   Wyoming – Ferguson v. Coronado Oil Co., 884 P.2d 971, 978 (Wyo. 1994) (money may be the
   subject of a conversion action, but the money needs to be “identifiable” and “there must also be
   an obligation to deliver that money in a specific manner”).

   Alaska – Burseth v. Weyerhaeuser Mortgage Co., No. S-5075, 1993 WL 13563649, at *5
   (Alaska Oct. 13, 1993) (the Supreme Court of Alaska has recognized “an action for conversion
   where the allegedly converted property is money”).

          D.      Examples of State Law Variations With Respect to the Required Interest in
                  the Allegedly Converted Property

   Vermont – Miller v. Merchants Bank, 415 A.2d 196, 199 (Vt. 1980) (“To make out a claim for
   conversion . . . plaintiff must show an immediate right to possession.”).

   Connecticut – Devitt v. Manulik, 410 A.2d 465, 467 (Conn. 1979) (in an action for conversion,
   plaintiff must prove “an immediate right to possession at the time of conversion”).

   Alaska – McKibben v. Mohawk Oil Co., 667 P.2d 1223, 1229 (Alaska 1983) (“A future
   possessory interest is sufficient for a plaintiff to maintain an action for conversion.”).

          E.      Examples of State Law Variations With Respect to the Applicable Statute of
                  Limitations for Conversion

   Louisiana – La. Rev. Stat. Ann. 10:3-420 (one-year statute of limitations for conversion of an
   instrument).

   Mississippi, Texas, Tennessee, Washington – Tex. Bus. & Com. Code Ann. § 3.118(g) (West)
   (three-year statute of limitations); Tenn. Code Ann. § 47-3-118(g) (West) (same); Wash. Rev.
   Code Ann. § 62A.3-118 (g) (West) (same); Miss. Code. Ann. § 75-3-118 (g)(West) (same).
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   New York – Doukas v. Ballard, 972 N.Y.S.2d 143 (N.Y. Sup. Ct. 2013) (three-year statute of
   limitations for conversion under N.Y. C.P.L.R. § 214(3)).

   Florida – Feingold v. Am. Rack & Stack, Inc., 734 So.2d 479, 480 (Fla. Dist. Ct. App. 1999)
   (applying Fla. Stat. Ann. § 95.11(3)(h)’s four-year statute of limitations for conversion).

   Iowa, Virginia – Husker News Co. v. Mahaska State Bank, 460 N.W.2d 476, 477 (Iowa 1990)
   (applying five-year statute of limitations to claim for conversion of an instrument); Willard v.
   Moneta Bldg. Supply, Inc., 551 S.E.2d 596, 599 (Va. 2001) (noting that it is “well-established”
   that conversion actions constitute claims of injury to property and applying the five-year statute
   of limitations under Va. Code. Ann. § 8.01-243(B)).

   Oregon – Or. Rev. Stat. Ann. § 73.0118(7)(a) (West) (six-year statute of limitations for
   conversion of an instrument).

   IV.    STATE VARIATIONS IN THE LAW OF AIDING AND ABETTING BREACH
          OF FIDUCIARY DUTY

          A.      Examples of State Law Variations With Respect to States’ Recognition of a
                  Claim for Aiding and Abetting Breach of Fiduciary Duty

                  1.      Examples of States That Do Not Recognize This Cause of Action

   Louisiana – Broyles v. Cantor Fitzgerald & Co., No. 10-854-JJB, 2014 WL 6886158, at *5
   (M.D. La. Dec. 8, 2014) (“This Court has ruled before that aiding and abetting the breach of a
   fiduciary duty is not a cause of action recognized in Louisiana.”).

   Indiana – Crystal Valley Sales, Inc. v. Anderson, 22 N.E.3d 646, 656 (Ind. Ct. App. 2014)
   (noting that “Indiana does not recognize . . . a cause of action” for aiding and abetting a breach of
   fiduciary duty).

   Kentucky – Peoples Bank of N. Ky., Inc. v. Crowe Chizek & Co. LLC, 277 S.W.3d 255, 260
   (Ky. Ct. App. 2008) (“Kentucky law has never recognized a civil cause of action for aiding and
   abetting a breach of fiduciary duty.”).

                  2.      Examples of States That Recognize This Cause of Action

   Oregon – Granewich v. Harding, 985 P.2d 788, 793 n.3 (Or. 1999) (recognizing claim for aiding
   and abetting a breach of a fiduciary duty as a “subcategory of a broader theory of vicarious tort
   liability”).

   South Carolina – Vortex Sports & Entm’t, Inc. v. Ware, 662 S.E.2d 444, 448 (S.C. Ct. App.
   2008) (setting out elements for aiding and abetting a breach of fiduciary duty).

   Washington – Vanguard Int’l, Inc. v. Guangdong Fully, Ltd., No. 57396-9-I, 2008 WL 116268,
   at *4 (Wash. Ct. App. 2008) (describing “well settled” rule that a person who “knowingly assists
   another in violating his fiduciary” obligation is “liable as an aider and abettor”).
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                  3.      Examples of States Where This Is an Open Question

   Connecticut – Flannery v. Signer Asset Fin. Co., 94 A.3d 553, 560 n.12 (Conn. 2014) (noting
   that this issue is an open question in Connecticut and commenting that “[t]he Appellate Court
   assumed, without deciding, ‘that Connecticut recognizes an action for aiding and abetting in the
   breach of a fiduciary duty’”).

   New Hampshire – In re Felt Mfg. Co., Inc., 371 B.R. 589, 615 (Bankr. D.N.H. 2007) (noting
   that New Hampshire has not addressed whether a claim for aiding and abetting a breach of
   fiduciary duty exists under New Hampshire law).

          B.      Examples of State Law Variations With Respect to the Required Level of
                  Knowledge and Intent by an Alleged Aider and Abettor

   Georgia – Wright v. Apartment Inv. & Mgmt. Co., 726 S.E.2d 779, 788 (Ga. Ct. App. 2012)
   (plaintiff must establish that defendant had knowledge of fiduciary duty owed between primary
   wrongdoer and plaintiff and that “the defendant acted purposely and with malice and the intent to
   injure”).

   New Jersey – Wiatt v. Winston & Strawn LLP, 838 F. Supp. 2d 296, 307 (D.N.J. 2012) (New
   Jersey law requires that a defendant had “actual knowledge” of the breach of fiduciary duty).

   Minnesota – Park Midway Bank, N.A. v. R.O.A., Inc., No. A11-2092, 2012 WL 3263866, at *4
   (Minn. Ct. App. Aug. 13, 2012) (requiring plaintiff demonstrate that defendant had “actual
   knowledge that the [primary tortfeasor was] engaging in tortious conduct”).

   Connecticut – Katcher v. 3V Capital Partners LP, No. 05CV085008383S, 2011 WL 1105724,
   at *13 (Conn. Super. Ct. Feb. 1, 2011) (in a claim for aiding and abetting breach of fiduciary
   duty, “the defendant must be generally aware of his role as part of an overall illegal or tortious
   activity at the time that he provides the assistance”).

   South Dakota – Chem-Age Indus., Inc. v. Glover, 652 N.W.2d 756, 775 (S.D. 2007) (“Although
   in some instances actual knowledge may be required, constructive knowledge will often suffice.
   Constructive knowledge is adequate when the aider and abettor has maintained a long-term or in-
   depth relationship with the fiduciary.”)

          C.      Examples of State Law Variations With Respect to the Applicable Statute of
                  Limitations for Breach of Fiduciary Duty

   Tennessee – Tenn. Code Ann. § 48-18-601 (one-year statute of limitations applies to breach of
   fiduciary duty claims).

   Arizona, Pennsylvania – Serrano v. Serrano, No. 1 CA-CV 10-0649, 2012 WL 75639, at *3, 6
   (Ariz. Ct. App. Jan. 10, 2012) (two-year statute of limitations for breach of fiduciary duty
   claims); Pierce v. Rossetta Corp., No. 88-5873, 1992 WL 165817, at *10 (E.D. Pa. June 12,
   1992) (same).
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   California, Massachusetts – Cal Code Civ Proc § 338; William L. Lyon & Associates, Inc. v.
   Superior Court, 204 Cal. App. 4th 1294, 1313 (Cal. App. 3d Dist. 2012) (three-year statute of
   limitations for aiding and abetting breach of fiduciary duty); M.G.L.A. 260 § 2A; O’Connor v.
   Redstone, 452 Mass. 537, 551 (Mass. 2008) (same).

   Georgia, Utah – O.C.G.A. § 9-3-25; Hendry v. Wells, 650 S.E.2d 338, 343-44 (four-year statute
   of limitations applicable to breach of fiduciary duty claims); United Park City Mines Co. v.
   Greater Park City Co., 870 P.2d 880, 890 (Utah 1993) (citing Utah Code Ann. § 78B-2-307)
   (same).

   Colorado, Missouri – Johnston v. CIGNA Corp., 916 P.2d 643, 652 (Colo. App. 1996) (five
   years for breach of fiduciary duty); Cmty. Title Co. v. U.S. Title Guar. Co., 965 S.W.2d 245, 253
   (Mo. Ct. App. 1998) (same).

   Minnesota, New Jersey – O’Leary ex rel. Lakeland Printing Co., Inc. v. Carefree Living of Am.
   (Minnetoka), No. C5-00-2072, 2001 WL 1083757, at *3 (Minn. Ct. App. Sep. 18, 2001)
   (Minnesota imposes a six-year statute of limitations for “allegations of breach of fiduciary duty
   based on” fraud claims); Balliet v. Fennell, 845 A.2d 168, 170, 172 (N.J. Super. Ct. App. Div.
   2004) (six-year statute of limitations for breach of fiduciary duty causing purely economic loss).

   V.     STATE VARIATIONS IN THE LAW OF CIVIL CONSPIRACY

          A.      Examples of State Law Variations With Respect to Civil Conspiracy as an
                  Independent Cause of Action

                  1.      Examples of States that Do Not View Civil Conspiracy as a Stand-
                          Alone Cause of Action

   Michigan – Early Detection Ctr., P.C., v. New York Life Ins. Co., 403 N.W.2d 830, 836 (Mich.
   Ct. App. 1986) (“[A] claim for civil conspiracy may not exist in the air; rather, it is necessary to
   prove a separate, actionable, tort.”).

   Mississippi – Bradley v. Kelley Bros. Contractors, 117 So.3d 331, 339 (Miss. Ct. App. 2013)
   (“A conspiracy standing alone, without the commission of acts causing damage is not
   actionable.”).

   North Carolina – New Bar P’ship v. Martin, 729 S.E.2d 675, 682 (N.C. Ct. App. 2012) (“[I]t is
   well established that there is not a separate civil action for civil conspiracy in North Carolina.
   Instead, civil conspiracy is premised on the underlying act. Thus, where a plaintiff’s underlying
   claims fail, its claim for civil conspiracy must also fail.”).

   Pennsylvania – McKeeman v. Corestates Bank, N.A., 751 A.2d 655, 660 (Pa. Super. Ct. 2000)
   (“[A]bsent a civil cause of action for a particular act, there can be no cause of action for civil
   conspiracy to commit that act.”).
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                  2.      Examples of States That May View Civil Conspiracy as an
                          Independent Cause of Action

   Delaware – In re Am. Int’l Grp., Inc., 965 A.2d 763, 805 n. 149 (Del. Ch. 2009) (stating that
   “civil conspiracy is an independent wrong,” and noting that that while “[s]ome jurisdictions have
   abandoned the independent tort of conspiracy,” “Delaware has never done so”).

   Florida – Churruca v. Miami Jai-Alai, Inc., 353 So.2d 547, 550 (Fla. 1977) (in specific
   circumstances, Florida law does not require an independent, underlying tort for a claim for civil
   conspiracy to be maintained: “[I]f the plaintiff can show some peculiar power of coercion
   possessed by the conspirators by virtue of their combination, which power an individual would
   not possess, then conspiracy itself becomes an independent tort.”).

          B.      Examples of State Law Variations With Respect to the Required Level of
                  Knowledge and Intent

                  1.      Examples of States That Require Specific Intent

   Alabama – First Bank of Childersburg v. Florey, 676 So.2d 324, 327 (Ala. Civ. App. 1996) (to
   establish an agreement, “[t]he plaintiff must allege and prove that the claimed conspirators had
   actual knowledge of, and the intent to bring about, the object of the claimed conspiracy”);

   Arkansas – Faulkner v. Arkansas Children’s Hosp., 69 S.W.3d 393, 406 (Ark. 2002) (civil
   conspiracy in Arkansas is an “intentional tort which requires specific intent to accomplish the
   contemplated wrong”).

   Minnesota – Tremco, Inc. v. Holman, No. C8-96-2139, 1997 WL 423575, at *4 (Minn. Ct. App.
   July 29, 1997 (plaintiff must demonstrate that defendants had a “specific intent to achieve an
   unlawful purpose”).

   Mississippi – S. Health Corp. of Houston v. Crausby, No. 2014-CA-00603-COA, 2015 WL
   3541907, at *3 (Miss. Ct. App. May 26, 2015) (a meeting of the minds requires not just an
   agreement, but an agreement “to accomplish an unlawful purpose or to accomplish a lawful
   purpose unlawfully”).

                  2.      Example of States That Require Malice

   Florida – Churruca v. Miami Jai-Alai, Inc., 353 So.2d 547, 550 (Fla. 1977) (for species of
   conspiracy claim not requiring an underlying tort, conspiracy requires “malicious motive”).

   Ohio – Cook v. Kudlacz, 974 N.E.2d 706, 725 (Ohio Ct. App. 2012) (civil conspiracy requires a
   “malicious combination”); Gosden v. Louis, 687 N.E.2d 481, 496 (Ohio Ct. App. 1996) (“The
   ‘malice’ in ‘malicious combination’ is legal or implied malice . . . and is defined as ‘that state of
   mind under which a person does a wrongful act purposely, without a reasonable or lawful
   excuse, to the injury of another.’”).
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   Pennsylvania – Rutherford v. Presbyterian-Univ. Hosp., 612 A.2d 500, 508 (Pa. Super. Ct.
   1992) (“Proof of malice, i.e., an intent to injure, is an essential part of a conspiracy cause of
   action; this unlawful intent must also be without justification.”).

          C.      Examples of State Law Variations With Respect to the Standard of Proof

                  1.      Examples of States That Require Proof by Clear and Convincing
                          Evidence

   Arizona – Law Corp. of Brian Finander, P.C. v. Alexander, No. 1 CA-CV 08-0290, 2009 WL
   449233, at *4 (Ariz. Ct. App. Feb. 24, 2009) (“The agreement to commit a tort must be proven
   by clear and convincing evidence.” ).

   Illinois – McClure v. Owens Corning Fiberglas Corp., 720 N.E.2d 242, 258 (Ill. 1999) (“If a
   conspiracy is shown by circumstantial evidence, however, that evidence must be clear and
   convincing.”).

   Missouri – Chmieleski v. City Prods. Corp., 660 S.W.2d 275, 289-90 (Mo. Ct. App. 1983)
   (proof of a civil conspiracy must be “supported by clear and convincing evidence”)

   Oklahoma – Shadid v. Monsour, 746 P.2d 685, 688 (Okla. Civ. App. 1987) (proof of a
   conspiracy must be with clear and convincing evidence).

   Utah – Crane Co. v. Dahle, 576 P.2d 870, 872 (Utah 1978) (the burden of proof for conspiracy
   “is higher than mere preponderance,” as a plaintiff must establish civil conspiracy “by clear and
   convincing evidence”).

   Virginia – Waytec Elec. Corp. v. Rohm & Haas Elec. Materials, LLC, 459 F. Supp. 2d 480, 492
   (W.D. Va. 2006) (“[A] civil conspiracy must be shown by clear and convincing evidence.”).

                  2.      Example of States That Require Proof by a Preponderance of the
                          Evidence

   Rhode Island – Stubbs v. Taft, 149 A.2d 706, 708-09 (R.I. 1959) (“[T]he doctrine of reasonable
   doubt has no place in a civil suit for damages where it is sufficient if the evidence is full, clear
   and satisfactory, and the conspiracy established by a preponderance of the evidence. This degree
   of proof, however, is necessary. The evidence must do more than raise a suspicion. It must lead
   to belief.”).

   Washington – Sterling Bus. Forms, Inc. v. Thorpe, 918 P.2d 531, 533 (Wash. Ct. App. 1996)
   (“A plaintiff in a civil conspiracy action has the burden of proving the case by a preponderance
   of the evidence, and must establish the existence of the conspiracy by clear, cogent and
   convincing evidence.”).
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 1, 2015, the foregoing document was delivered
 electronically to all counsel of record who have consented to electronic service.


                                             /s/ James V. Leito IV
                                             James V. Leito IV
